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               IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT

 SIERRA CLUB, CENTER FOR
 BIOLOGICAL DIVERSITY, CLEAN AIR
 COUNCIL, DELAWARE RIVERKEEPER
 NETWORK, ENVIRONMENTAL
 CONFEDERATION OF SOUTHWEST
 FLORIDA, AND MOUNTAIN WATERSHED
 ASSOCIATION
                 Petitioners,

          v.

 UNITED STATES DEPARTMENT OF
 TRANSPORTATION; ELAINE CHAO, in her                              1317
                                                      Case No. 20-________
 official capacity as SECRETARY OF U.S.
 DEPARTMENT OF TRANSPORTATION;
 PIPELINE AND HAZARDOUS MATERIALS
 SAFETY ADMINISTRATION; HOWARD R.
 ELLIOTT, in his official capacity as
 ADMINISTRATOR OF PIPELINE AND
 HAZARDOUS MATERIALS SAFETY
 ADMINISTRATION; and the UNITED
 STATES OF AMERICA

                        Respondents.




                           PETITION FOR REVIEW

      The Sierra Club, Center for Biological Diversity, Clean Air Council,

Delaware Riverkeeper Network, Environmental Confederation of Southwest

Florida, and Mountain Watershed Association hereby petition the United States

Court of Appeals for the D.C. Circuit for review of the final rule issued by

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Respondent Administrator of Pipeline and Hazardous Materials Safety

Administration entitled, “Hazardous Materials: Liquefied Natural Gas by Rail.”

The final rule was published in the Federal Register on July 24, 2020, at 85 Fed.

Reg. 44,994 (July 24, 2020), and is attached hereto as Attachment A.

      This Petition for Review is filed pursuant to Federal Rule of Appellate

Procedure 15, D.C. Circuit Rule 15, 28 U.S.C. §§ 2342(7) and 2344, and 49 U.S.C.

§§ 5127(a) and 20114(c). Venue is appropriate in this Circuit. 28 U.S.C. § 2343;

49 U.S.C. § 5127(a). Petitioners ask the Court to vacate the final rule pursuant to

the Hazardous Materials Transportation Act, 49 U.S.C. § 5101 et seq., the

Administrative Procedure Act, 5 U.S.C. § 706, and the National Environmental

Policy Act, 42 U.S.C. § 4321 et seq.

      Respectfully submitted this 18th day of August, 2020.


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                                 Counsel for Sierra Club, Center for
                                 Biological Diversity, Clean Air Council,
                                 Delaware Riverkeeper Network,
                                 Environmental Confederation of Southwest
                                 Florida, and Mountain Watershed
                                 Association.

                                 *Counsel is not yet admitted to this Court.




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                          DISCLOSURE STATEMENTS

      In accordance with Rule 26.1 of the Federal Rules of Appellate Procedure

and D.C. Circuit Rule 26.1, the Petitioners make the following disclosures:

      The Sierra Club, Center for Biological Diversity, Clean Air Council,

Delaware Riverkeeper Network, Environmental Confederation of Southwest

Florida, and the Mountain Watershed Association are non-profit organizations

and have no parent corporations and no outstanding stock shares or other parent,

subsidiary, or affiliate that has issued stock shares or other securities to the public.



                                         Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that pursuant to D.C. Circuit Rule 15(a), a true and correct

copy of the foregoing Petition for Review was served on August 18, 2020 by first

class mail, postage prepaid on the following:

Elaine Chao, Secretary
United States Department of Transportation
Office of the Secretary
1200 New Jersey Ave., SE
Washington, DC 20590

Howard R. Elliott, Administrator
Pipeline and Hazardous Materials Safety Administration
Office of the Administrator
1200 New Jersey Ave., SE
Washington, DC 20590

William Barr
Attorney General of the United States
U.S. Department of Justice
950 Pennsylvania Ave., NW
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                                                /s/Aaron Stemplewicz
                                                Aaron Stemplewicz
                                                Attorney




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                     ATTACHMENT A
                  Pipeline and Hazardous Materials
                        Safety Administration
                 Final Rule on Hazardous Materials:
                    Liquefied Natural Gas by Rail

              49 CFR Parts 172, 173, 174, 179, and 180
                  Docket No. PHMSA–2018–0025
                   (HM–264) RIN 2137–AF40
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                                           DEPARTMENT OF TRANSPORTATION                             CPUC California Public Utilities                      UN United Nations
                                                                                                      Commission                                          U.S.C. United States Code
                                           Pipeline and Hazardous Materials                         CTMV Cargo Tank Motor Vehicle                         VCE Vapor Cloud Explosion
                                           Safety Administration                                    DOT Department of Transportation
                                                                                                    DOT–SP Department of Transportation                   Table of Contents
                                                                                                      Special Permit                                      I. Overview
                                           49 CFR Parts 172, 173, 174, 179, and                     DP Distributed Power                                  II. NPRM and Background
                                           180                                                      EA Environmental Assessment                              A. Petition for Rulemaking (P–1697)
                                           [Docket No. PHMSA–2018–0025 (HM–264)]                    ECP Electronically Controlled Pneumatic                  B. Regulatory Review
                                                                                                    EIS Environmental Impact Statement                       C. DOT Special Permit 20534
                                           RIN 2137–AF40                                            E.O. Executive Order                                  III. Amendments to the HMR Adopted in
                                                                                                    EOT End of Train                                            This Final Rule
                                           Hazardous Materials: Liquefied Natural                   ERG Emergency Response Guidebook                         A. Existing HMR Requirements for Rail
                                           Gas by Rail                                              ETS Energy Transport Solutions, LLC                         Transport of Flammable Cryogenic
                                                                                                    FEMA Federal Emergency Management                           Material
                                           AGENCY: Pipeline and Hazardous                             Agency                                                 B. The DOT–113C120W Specification Tank
                                           Materials Safety Administration                          FRA Federal Railroad Administration                         Car
                                           (PHMSA), Department of Transportation                    FRSA Federal Railroad Safety Act                         C. Additional Operational Controls for
                                           (DOT).                                                   GHG Greenhouse Gas                                          LNG Transportation
                                                                                                    GRL Gross Rail Load                                   IV. Summary and Discussion of Comments to
                                           ACTION: Final rule.
                                                                                                    HHFT High-Hazard Flammable Train                            the Rulemaking Docket
                                           SUMMARY: PHMSA, in coordination with                     HLRW High Level Radioactive Waste                        A. Tank Car Design
                                                                                                    HMEP Hazardous Materials Emergency                       B. Operational Controls
                                           the Federal Railroad Administration
                                                                                                      Preparedness                                           C. Environmental Impacts
                                           (FRA), is amending the Hazardous                         HMT Hazardous Materials Table                            D. Economic Analysis
                                           Materials Regulations (HMR) to allow                     HMTA Hazardous Materials Transportation                  E. Emergency Response
                                           for the bulk transport of ‘‘Methane,                       Act                                                    F. Comments of General Opposition
                                           refrigerated liquid,’’ commonly known                    HMR Hazardous Materials Regulations                      G. Comments From the Puyallup Tribe
                                           as liquefied natural gas (LNG), in rail                  IAFC International Association of Fire                   H. Comments Beyond the Scope of This
                                           tank cars. This rulemaking authorizes                      Chiefs                                                    Rulemaking
                                           the transportation of LNG by rail in                     IAFF International Association of Fire                V. Section-by-Section Review
                                                                                                      Fighters                                            VI. Regulatory Analyses and Notices
                                           DOT–113C120W specification rail tank
                                                                                                    IBR Incorporation by Reference                           A. Statutory/Legal Authority for This
                                           cars with enhanced outer tank                                                                                        Rulemaking
                                                                                                    IFR Interim Final Rule
                                           requirements, subject to all applicable                  LNG Liquefied Natural Gas                                B. Executive Order 12866 and DOT
                                           requirements and certain additional                      LPG Liquefied Petroleum Gas                                 Regulatory Policies and Procedures
                                           operational controls. The enhancements                   MLI Multi-Layer Insulation                               C. Executive Order 13771
                                           to the outer tank are indicated by the                   NASFM National Association of State Fire                 D. Executive Order 13132
                                           new specification suffix ‘‘9’’ (DOT–                       Marshals                                               E. Executive Order 13175
                                           113C120W9).                                              NEPA National Environmental Policy Act                   F. Regulatory Flexibility Act, Executive
                                                                                                    NFPA National Fire Protection Association                   Order 13272, and DOT Policies and
                                           DATES:                                                   NGO Non-Governmental Organization                           Procedures
                                             Effective date: This rule is effective                 NJDEP New Jersey Department of                           G. Paperwork Reduction Act
                                           August 24, 2020.                                           Environmental Protection                               H. Regulation Identifier Number (RIN)
                                             Voluntary compliance date:                             NPRM Notice of Proposed Rulemaking                       I. Unfunded Mandates Reform Act
                                           Voluntary compliance is authorized July                  NTSB National Transportation Safety Board                J. Environmental Assessment
                                           24, 2020.                                                NYDEC New York State Department of                       K. Privacy Act
                                                                                                      Environmental Conservation                             L. Executive Order 13609 and International
                                           FOR FURTHER INFORMATION CONTACT:                                                                                     Trade Analysis
                                           Michael Ciccarone, Standards and                         NYDHSES New York State Division of
                                                                                                      Homeland Security and Emergency                        M. Executive Order 13211
                                           Rulemaking Division, (202) 366–8553,                       Services                                            List of Subjects
                                           Pipeline and Hazardous Materials Safety                  NYDOT New York State Department of
                                           Administration, or Mark Maday, Federal                                                                         I. Overview
                                                                                                      Transportation
                                           Railroad Administration, (202) 366–                      OIRA Office of Information and Regulatory                In this final rule, PHMSA is
                                           2535, U.S. Department of                                   Affairs                                             authorizing the transportation of LNG
                                           Transportation, 1200 New Jersey                          OMB Office of Management and Budget                   by rail tank car, pursuant to Federal
                                           Avenue SE, Washington, DC 20590–                         PHMSA Pipeline and Hazardous Materials                Hazardous Materials Transportation law
                                           0001.                                                      Safety Administration                               (Federal hazmat law; 49 U.S.C. 5101 et
                                                                                                    PRD Pressure Relief Device                            seq.), because we have determined that
                                           SUPPLEMENTARY INFORMATION:                               PRV Pressure Relief Valve
                                                                                                                                                          bulk rail transport is a safe alternative
                                                                                                    PSR Physicians for Social Responsibility
                                           Abbreviations and Terms                                                                                        for this energy product. The final rule
                                                                                                    RSI Railway Supply Institute
                                           AAR Association of American Railroads                    RFA Regulatory Flexibility Act                        authorizes the transportation of LNG by
                                           APA Administrative Procedure Act                         RIA Regulatory Impact Analysis                        rail in DOT–113 tank cars, which have
                                           ASNT American Society of Non-destructive                 RIN Regulatory Identifier Number                      an established track record of safety in
                                             Testing                                                RSI–CTC Railway Supply Institute                      transporting other cryogenic flammable
                                           ASTM American Society of Testing and                       Committee on Tank Cars                              materials. The DOT–113 tank car
                                             Materials                                              SNF Spent Nuclear Fuel                                authorized for LNG service will be
                                           AWS American Welding Society                             SI Super Insulation                                   enhanced with an outer tank that is
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                                           BLET Brotherhood of Locomotive Engineers                 TTD Transportation Trades Department,
                                                                                                                                                          thicker and made of steel with a greater
                                             and Trainmen                                             AFL–CIO
                                           BLEVE Boiling Liquid Expanding Vapor                     The Center The Center for Biological                  puncture resistance to provide an added
                                             Explosion                                                Diversity                                           measure of safety and crashworthiness.
                                           BNSF Burlington Northern Santa Fe                        TC Transport Canada                                   Additionally, there will be operational
                                           CEQ Council on Environmental Quality                     TDG Transportation of Dangerous Goods                 controls in the form of enhanced
                                           CFR Code of Federal Regulations                          UMRA Unfunded Mandates Reform Act                     braking requirements, remote


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                                           monitoring, and route analysis, which                    other unconventional formations.1                      leading role that the United States plays
                                           are intended to exceed current safety                    Transportation of natural gas, however,                in producing natural gas, the
                                           requirements for other flammable                         can be constrained by the capacity of                  importance of improving the United
                                           cryogenic materials.                                     existing transportation infrastructure,                States’ capacity to supply natural gas,
                                              PHMSA’s mission is to protect people                  which negatively affects regions with                  including LNG, to domestic and
                                           and the environment by advancing the                     insufficient access to pipelines or ports.             international markets, and the need to
                                           safe transportation of energy products                   This constraint on capacity, coupled                   continue to transport this energy
                                           and other hazardous materials that are                   with increased natural gas production in               product in a safe and efficient manner.
                                           essential to our daily lives. To do this,                the United States, has resulted in the                 In issuing this final rule, PHMSA
                                           the agency establishes national policy,                  consideration of using rail transport to               furthers the purposes and policies set
                                                                                                    help efficiently deliver natural gas to                forth in E.O. 13868 by enabling an
                                           sets and enforces standards, conducts
                                                                                                    domestic U.S. and international                        additional safe, reliable, and efficient
                                           research to prevent incidents, and
                                                                                                    markets.                                               transportation alternative for bringing
                                           prepares the public and first responders                    Authorizing the use of proven DOT–                  domestically produced natural gas to
                                           to reduce consequences if an incident                    113C120W-specification tank cars to                    existing, and potentially new, markets.
                                           does occur. PHMSA and FRA share                          transport LNG will allow the rail                         The present action is based on a
                                           responsibility for regulating the                        industry to play a role in the safe,                   longstanding understanding of the
                                           transportation of hazardous materials by                 efficient transport of this important                  properties of LNG and an evidence-
                                           rail and take a system-wide,                             energy product for the 21st century.                   based approach to the safety of the
                                           comprehensive approach that focuses                      LNG—referred to as ‘‘Methane,                          DOT–113 tank cars designed and used
                                           on prevention, mitigation, and response                  refrigerated liquid’’ 2 within the HMR—                to transport flammable cryogenic
                                           to manage and reduce the risk posed to                   has been transported safely by trucks on               materials. At the same time, in
                                           people and the environment. In line                      highways and by marine vessels for over                promulgating this final rule, and as it
                                           with PHMSA’s mission and shared                          40 years in the United States, and over                does with other hazardous materials,
                                           responsibility with FRA for oversight of                 50 years internationally. However, the                 PHMSA recognizes that there is ongoing
                                           the rail transport of hazardous materials,               HMR did not authorize the bulk                         and potential future research related to
                                           PHMSA is issuing this final rule to                      transport of LNG in rail tank cars prior               the transportation of LNG by all modes.
                                           authorize the transportation of LNG by                   to this rulemaking action, instead                     The Agency will continue to use this
                                           rail in DOT–113C120W specification                       permitting rail transport of LNG only on               research to inform potential future
                                           rail tank cars with enhanced outer tank                  an ad hoc basis as authorized by the                   regulatory activity, as appropriate.
                                           material and thickness (those                            conditions of a PHMSA special permit                      In the following table, PHMSA
                                           enhancements to be indicated by the                      (49 CFR 107.105) or in a portable tank                 provides an overview of: (1) The
                                           specification suffix ‘‘9’’), subject to                  secured to a rail car pursuant to the                  requirements for LNG transportation in
                                           operational controls for braking,                        conditions of an FRA approval. The                     tank cars pursuant to DOT Special
                                           monitoring, and route analysis.                          recent expansion in U.S. natural gas                   Permit 20534 (DOT–SP 20534),4 issued
                                              This authorization conforms to the                    production has increased interest in a                 to Energy Transport Solutions, LLC
                                           intent and purpose of the HMR (49 CFR                    programmatic approach to using                         (ETS) during the Notice of Proposed
                                           parts 171–180), which are designed to                    appropriately the nation’s rail                        Rulemaking (NPRM) 5 comment period
                                           ensure the safe transportation of all                    infrastructure to facilitate efficient                 to authorize ETS’s rail transportation of
                                           hazardous materials packagings                           transportation of LNG. In response to                  LNG along specific routes; (2) the
                                           (including tank cars). Collectively, the                 that interest, PHMSA, in coordination                  requirements proposed in the October
                                           HMR combine packaging design and                         with the FRA, issues this final rule to                24, 2019 NPRM; and (3) the
                                           maintenance, operational controls,                       amend the HMR to permit the bulk                       requirements adopted in this final rule.
                                           package handling, employee training,                     transport of LNG in DOT–113C120W                       Requirements related to the thermal
                                           hazard communication, emergency                          specification rail tank cars with                      performance of the DOT–113C120W
                                           response information, and security plan                  enhanced outer tank requirements                       tank car are unchanged from the NPRM
                                           requirements to safeguard                                (those enhancements to be indicated by                 (75 psig maximum start to discharge
                                           transportation. These measures help                      the specification suffix ‘‘9’’), subject to            pressure; maximum pressure when
                                           ensure that hazardous contents safely                    operational controls for braking,                      offered; and design service
                                           remain within a package during the                       monitoring, and routing.                               temperature). But this final rule, after
                                           course of transportation while also                         In addition, this final rule satisfies the          consideration of comments received in
                                           providing for public awareness and                       directive in Executive Order (E.O.)                    the docket and to provide additional
                                           appropriate response mechanisms.                         13868 [84 FR 15495, April 19, 2019] to                 operational controls and
                                           Supplemental to the HMR, PHMSA                           propose, consistent with applicable law,               crashworthiness for LNG tank cars,
                                           oversees a Hazardous Materials                           regulations that ‘‘treat LNG the same as               adopts supplemental requirements to
                                           Emergency Preparedness (HMEP) grant                      other cryogenic liquids and permit LNG                 those initially proposed in the NPRM:
                                           program that provides funding to the                     to be transported in approved rail tank                Remote monitoring of pressure and
                                           emergency response community for                         cars.’’ 3 E.O. 13868 recognizes the                    location for LNG tank cars in
                                           training and planning purposes,                             1 CRS, ‘‘An Overview of Unconventional Oil and      an NPRM in the ‘‘Fall 2018 Regulatory Plan and the
                                           furthering appropriate response efforts.                 Natural Gas: Resources and Federal Actions,’’ 7–       Unified Agenda of Federal Regulatory and
                                              The United States leverages domestic                  5700, Summary, (2015).                                 Deregulatory Actions’’ [83 FR 57803]. While these
                                                                                                       2 Use of this description in quotes and with        actions notified the public of PHMSA’s intention to
                                           technology improvements to transform                                                                            develop propose a regulatory framework for the safe
                                                                                                    methane capitalized reflects the proper shipping
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                                           American life through increased natural                  name as listed in the § 172.101 Hazardous Materials    rail transportation of LNG, PHMSA had not
                                           gas production and energy                                Table.                                                 published a proposed rulemaking by the time the
                                           independence. As a result, the United                       3 PHMSA notes that it first announced in the        President issued E.O. 13868 on April 10, 2018.
                                                                                                                                                             4 https://www.regulations.gov/document?
                                           States is today the world’s largest                      ‘‘Spring 2018 Unified Agenda of Federal Regulatory
                                                                                                    and Deregulatory Actions’’ [83 FR 27085] that it had   D=PHMSA-2019-0100-3006.
                                           natural gas producer through                             initiated a ‘‘pre-rule’’ action on LNG by Rail, and      5 Hazardous Materials: Liquefied Natural Gas by
                                           economical production from shale and                     subsequently announced that it would proceed with      Rail NPRM [84 FR 56964].



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                                           transportation; two-way end-of-train                              addition, to account properly for the                                  113C120W-specification tank cars,
                                           (EOT) or distributed power (DP) system                            properties of LNG, this final rule raises                              including a thicker 9/16th inch outer
                                           for trains transporting 20 or more loaded                         the maximal filling density limit to                                   tank made from high quality TC–128B
                                           tank cars of LNG in a continuous block,                           37.3% from the proposed 32.5%.                                         normalized steel. Compliance with
                                           or 35 or more loaded tank cars of LNG                             Finally, in this final rule PHMSA is also                              these enhanced outer tank requirements
                                           throughout the train; and a requirement                           adopting enhanced outer tank                                           will be indicated by the new
                                           that railroads comply with § 172.820                              requirements compared with the                                         specification suffix ‘‘9’’ (DOT–
                                           route planning requirements. In                                   requirements that apply to other DOT–                                  113C120W9).

                                                                TABLE 1—SUMMARY OF DOT–SP 20534, NPRM PROPOSALS, AND FINAL RULE COMPONENTS
                                                                                                                                LNG requirements

                                                             Topics                               DOT special permit 20534                                           NPRM                                          Final rule

                                           Approval of LNG ............................     Permitted between Wyalusing, PA                      Permitted Nationwide ...................             Permitted Nationwide.
                                                                                              and Gibbstown, NJ, with no in-
                                                                                              termediate stops.
                                           Remote Monitoring .........................      Required as a condition of the                       Not Required ................................        Required as a Special Provision
                                                                                              DOT–SP.                                                                                                   for LNG.
                                           Maximum Start to Discharge Pres-                 Not Specified ................................       75 psig ..........................................   75 psig.
                                             sure.
                                           Maximum Pressure when Offered                    15 psig ..........................................   15 psig ..........................................   15 psig.
                                             for Transportation.
                                           Design Service Temperature .........             Not Specified ................................       Minus 260 °F ................................        Minus 260 °F.
                                           Maximum Permitted Filling Density                32.5% ............................................   32.5% ............................................   37.3%.
                                             (percent by weight).
                                           When is a two-way end-of-train                   Required when a train is trans-                      Not Proposed ................................        Required when a train is trans-
                                             (EOT) or a distributed power                     porting 20 or more tank cars                                                                              porting 20 or more loaded tank
                                             (DP) system required.                            authorized under this special                                                                             cars of LNG in a continuous
                                                                                              permit.                                                                                                   block or 35 or more loaded tank
                                                                                                                                                                                                        cars of LNG throughout the
                                                                                                                                                                                                        train.
                                           Route Controls ...............................   Authorized only on one route .......                 Not Proposed ................................        Must comply with 172.820.
                                           Minimum Wall Thickness of the                    Shell: 7⁄16″ .....................................   Shell: 7⁄16″ .....................................   Shell and Tank Head: Enhanced
                                             Outer Tank Shell and the Outer                 Tank Head: 1⁄2″ .............................        Tank Head: 1⁄2″ .............................          9⁄16″.

                                             Tank Heads.
                                           Required Outer Tank Steel Type(s)                As specified in AAR Specifica-                       As specified in AAR Specifica-                       AAR TC 128, Grade B normalized
                                                                                              tions for Tank Cars, Appendix                        tions for Tank Cars, Appendix                       steel plate.
                                                                                              M.                                                   M.



                                           II. NPRM and Background                                           a design service temperature of minus                                  transported by rail, PHMSA specifically
                                              PHMSA on October 24, 2019, in                                  260 degrees Fahrenheit. The maximum                                    referenced train length and
                                           consultation with the FRA, published                              offering pressure of 15 psig proposed in                               composition, speed restrictions, braking
                                           the NPRM proposing to authorize the                               the NPRM is consistent with the 20-day                                 requirements, and routing requirements
                                           transport of LNG by rail. PHMSA issued                            transportation requirement for cryogenic                               as potential areas of interest to provide
                                           the NPRM in response to a petition for                            materials and the allowable average                                    for enhanced operational control
                                           rulemaking (P–1697) 6 from the                                    daily pressure rise of 3 psig per day                                  requirements. PHMSA also encouraged
                                           Association of American Railroads                                 during transportation.                                                 commenters to provide data on the
                                                                                                                In the NPRM, PHMSA also proposed
                                           (AAR) and a review of existing                                                                                                           safety or economic impacts associated
                                                                                                             operational controls consistent with the
                                           regulations.                                                                                                                             with any additional operational
                                                                                                             existing requirements of the HMR, and
                                              The NPRM proposed a framework for                                                                                                     controls, including analysis of the safety
                                                                                                             invited comment on whether existing
                                           transporting LNG by rail safely by                                                                                                       justification or cost impact of their
                                                                                                             regulations and the operational controls
                                           designating an authorized packaging,                                                                                                     implementation.
                                                                                                             in AAR’s Circular OT–55 entitled
                                           and by determining how the packaging
                                                                                                             ‘‘Recommended Railroad Operating                                          PHMSA also received a request from
                                           would be filled safely. PHMSA chose                               Practices For Transportation of                                        the Offices of the Attorneys General of
                                           the DOT–113C120W specification tank                               Hazardous Materials’’ 7 are sufficient.
                                           car packaging designed for flammable                                                                                                     New York and Maryland to extend the
                                                                                                             The NPRM also sought comment on the                                    60-day comment period for the NPRM
                                           cryogenic material. This packaging has                            potential need for additional operating
                                           been transporting similar flammable                                                                                                      an additional 30 days. PHMSA issued a
                                                                                                             controls. Beyond the operational                                       notice 8 on December 23, 2019,
                                           cryogenic materials for decades with no                           controls already included for other
                                           fatalities or serious injuries. As for the                                                                                               extending the comment period until
                                                                                                             flammable cryogenic materials                                          January 13, 2020.
                                           filling/loading controls, PHMSA
                                           proposed a maximum start-to-discharge                               7 The freight rail industry developed the first
jbell on DSKJLSW7X2PROD with RULES3




                                           pressure of 75 psig, a maximum                                    edition of OT–55, which details railroad operating
                                           permitted filling density of 32.5 percent                         practices for hazardous materials, in the late 1980s,                    8 Hazardous Materials: Liquefied Natural Gas by
                                           by weight, a maximum pressure when                                as part of an inter-industry hazardous materials rail
                                                                                                             safety task force that also included the Chemical                      Rail; Extension of Comment Period [84 FR 70491],
                                           offered for transportation of 15 psig, and                        Manufacturers Association (now the American                            https://www.federalregister.gov/documents/2019/
                                                                                                             Chemistry Council) and the Railway Progress                            12/23/2019-27656/hazardous-materials-liquefied-
                                             6 PHMSA–2017–0020–0002.                                         Institute (now the Railway Supply Institute).                          natural-gas-by-rail-extension-of-comment-period.



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                                           A. Petition for Rulemaking (P–1697)                       between the U.S. and Mexico. Authorizing              responding to P–1697. This decision
                                                                                                     transportation of LNG by rail likely would            was made with the knowledge that
                                           1. AAR’s Petition for Rulemaking and                      stimulate more interest. In addition, several         PHMSA would be required to conduct
                                           the NPRM                                                  railroads are actively exploring LNG as a
                                                                                                                                                           a NEPA analysis as part of a potential
                                              On January 17, 2017, AAR submitted                     locomotive fuel. If railroads are to use LNG-
                                                                                                     powered locomotives, they would need to               rulemaking.
                                           a petition for rulemaking to PHMSA,                       supply LNG along their networks.                         When PHMSA published the NPRM,
                                           entitled ‘‘Petition for Rulemaking to                     Transporting LNG in tank cars would be an             it prepared a draft EA, see Section V. J.
                                           Allow Methane, Refrigerated Liquid to                     optimal, if not essential, way to transport           ‘‘Environmental Assessment’’ of the
                                           be Transported in Rail Tank Cars’’ (P–                    LNG to those locations.                               NPRM. A final EA for the rulemaking is
                                           1697), requesting revisions to the                          Furthermore, with respect to rail as a              included in the rulemaking docket as
                                           Hazardous Materials Table (HMT;                           safe method of transportation, AAR                    part of the analysis for the final rule.
                                           § 172.101) and § 173.319 of the HMR                       noted:
                                           that would permit the transportation of                                                                         B. Regulatory Review
                                           LNG by rail in DOT–113 tank cars. The                        Rail is undeniably safer than over-the-road          On October 2, 2017, DOT published a
                                           Administrative Procedure Act (APA), 5                     transportation of LNG, and transport via that         notice 11 in the Federal Register
                                                                                                     mode should be facilitated. The reason the
                                           U.S.C. 551, et seq. requires Federal                                                                            expressing Department-wide plans to
                                                                                                     hazardous materials regulations do not
                                           agencies to give interested persons the                   currently authorize the transportation of LNG         review existing regulations and other
                                           right to petition an agency to issue,                     by rail is simply that there was a lack of            agency actions to evaluate their
                                           amend, or repeal a rule. 5 U.S.C. 553(e).                 demand for rail transport of LNG when                 continued necessity, determine whether
                                           PHMSA’s rulemaking procedures at                          PHMSA authorized DOT–113 tank cars for                they are crafted effectively to solve
                                           § 106.95 allow interested persons to ask                  the transportation of cryogenic liquids and           current problems, and evaluate whether
                                           PHMSA to add, amend, or repeal a                          listed the cryogenic liquids that could be            they potentially burden the
                                           regulation by filing a petition for                       transported in those cars. There was no               development or use of domestically
                                                                                                     determination that rail was an unsuitable             produced energy resources. As part of
                                           rulemaking along with information and                     mode of transporting LNG.
                                           arguments supporting the requested                                                                              this review process, DOT invited the
                                           action. In May 2018, PHMSA accepted                          In the NPRM, PHMSA noted that                      public to provide input on existing rules
                                           P–1697 in accordance with § 106.105 by                    AAR’s requested action fits generally                 and other agency actions that have
                                           notifying AAR that the request merited                    into the existing structure of the HMR,               potential for repeal, replacement,
                                           consideration in a future rulemaking.9                    which combines packaging design and                   suspension, or modification.
                                              In its petition, AAR proposed that                     maintenance, operational controls,                      The Interested Parties for Hazardous
                                           PHMSA amend the entry for ‘‘United                        package handling, employee training,                  Materials Transportation (Interested
                                           Nations (UN) 1972, Methane,                               hazard communication, emergency                       Parties) submitted a comment 12
                                           refrigerated liquid’’ in the HMT to add                   response information, and security plan               supporting the authorization of LNG for
                                           a reference to § 173.319 in Column (8C)                   requirements to ensure safe                           rail tank car transport. Specifically, the
                                           authorizing transport in rail tank cars.                  transportation of hazardous materials. In             Interested Parties noted in its comment
                                           Additionally, AAR proposed that                           the NPRM, PHMSA also requested                        that LNG shares similar properties to
                                           PHMSA amend § 173.319 to include                          public comment on the proposals                       other flammable cryogenic materials
                                           specific requirements for DOT–113 tank                    present in AAR’s petition, including                  currently authorized by rail tank car and
                                           cars used for the transportation of LNG,                  their potential to reduce regulatory
                                           and suggest that the authorized tank car                  burdens, enhance domestic energy                         11 Notification of Regulatory Review, Docket No.

                                                                                                     production, and impact safety.                        DOT–OST–2017–0069 [82 FR 45750].
                                           specifications be DOT–113C120W and                                                                                 12 Comment from Interested Parties for Hazardous
                                           DOT–113C140W.10 AAR further                               2. The Center for Biological Diversity’s              Materials Transportation, Document No. DOT–
                                           proposed amending § 173.319(d)(2) to                      Response to P–1697                                    OST–2017–0069–2591, at: https://
                                           include maximum filling densities                                                                               www.regulations.gov/document?D=DOT-OST-2017-
                                           comparable to those specified for cargo                      On May 15, 2017, the Center for                    0069-2591. The Interested Parties is a volunteer-run
                                                                                                     Biological Diversity (the Center)                     coalition of organizations that share an interest in
                                           tanks containing LNG in § 173.318(f)(3).                                                                        legislative and regulatory issues related to the safe
                                           AAR argued that ‘‘LNG should be                           submitted a comment to P–1697,                        and secure domestic and international
                                           authorized for rail transportation                        recommending that PHMSA deny                          transportation of hazardous materials. Interested
                                           because it is a safe method of                            AAR’s petition for rulemaking because                 Parties members include associations representing
                                                                                                     of potential environmental impacts of                 hazardous materials shippers, carriers, packaging
                                           transporting this commodity, LNG                                                                                manufacturers and other related groups, including
                                           shippers have indicated a desire to use                   transporting LNG. The Center                          the Agricultural Retailers Association; American
                                           rail to transport it, and because railroads               commented that PHMSA should not                       Chemistry Council; American Fuel & Petrochemical
                                           potentially will need to transport LNG                    proceed in evaluating the petition                    Manufacturers; American Trucking Associations;
                                                                                                     request until the Agency has conducted                American Pyrotechnics Association; Association of
                                           for their own use as a locomotive fuel.’’                                                                       HazMat Shippers; The Chlorine Institute;
                                           With respect to shipper demand, AAR                       a National Environmental Policy Act                   Compressed Gas Association; Council on the Safe
                                           contended the following:                                  (NEPA) evaluation, prepared an                        Transportation of Hazardous Articles; Dangerous
                                                                                                     Environmental Impact Statement (EIS)                  Goods Advisory Council; The Fertilizer Institute;
                                             The only way to transport LNG is by                     or Environmental Assessment (EA), and                 Gases and Welding Distributors Association;
                                           obtaining special approval from PHMSA for                                                                       Institute of Makers of Explosives; International
                                           rail transport, or by transporting it via
                                                                                                     provided opportunity for public review                Liquid Terminals Association; International Vessel
                                           highway; and that notwithstanding the                     and comment in accordance with                        Operators Dangerous Goods Association; Medical
                                           requirement for a special approval, customers             Federal hazmat law, as applicable.                    Device Battery Transport Council; National
                                           have expressed interest in shipping LNG by                PHMSA regulations do not require                      Association of Chemical Distributors; National
                                                                                                                                                           Private Truck Council; National Tank Truck
                                           rail from Pennsylvania to New England, and                PHMSA to conduct a NEPA evaluation                    Carriers; Plastics Industry Association; Petroleum
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                                                                                                     at the time it responds to a petition, and            Marketers Association of America;
                                             9 PHMSA–2017–0020–0005.
                                                                                                     PHMSA has not taken such actions                      Radiopharmaceutical Shippers & Carriers
                                             10 The HMR do not authorize the DOT–                                                                          Conference; Railway Supply Institute, Inc.;
                                                                                                     historically as part of its decision
                                           113C140W specification tank car for hazardous                                                                   Reusable Industrial Packaging Association; Sporting
                                           materials transportation. See section ‘‘III. A. Tank
                                                                                                     whether to accept or deny a petition for              Arms Ammunition Manufacturers Institute; The
                                           Car Specification’’ of the NPRM for further               rulemaking. As result, PHMSA did not                  Sulphur Institute; and the Utility Solid Waste
                                           discussion.                                               prepare an EA or EIS prior to                         Activities Group.



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                                           has already been moved in the United                     special permit had not been proposed in               decision—the Special Permit Evaluation
                                           States under a special permit.                           the draft special permit; PHMSA                       Form and Final Environmental
                                           Additionally, they noted that Transport                  introduced those additional operational               Assessment—to the docket for the HM–
                                           Canada authorizes LNG for                                controls in response to comments                      264 NPRM (Docket No. PHMSA–2018–
                                           transportation by rail in DOT–113-                       received and additional documentation                 0025) for consideration by the public
                                           equivalent rail cars and that there is                   provided by the applicant, as well as to              because of the overlapping subject
                                           increased commercial demand for rail                     further reduce risk by supplementing                  matter. PHMSA invited comments on
                                           transport of LNG within the United                       the robust safety regime established by               DOT–SP 20534 operational controls to
                                           States and between the United States                     the HMR. Those information requests                   be submitted to the HM–264 rulemaking
                                           and Mexico.                                              also were intended to increase PHMSA                  docket by December 23, 2019.15 PHMSA
                                              After consideration of the issues,                    and FRA’s knowledge of ETS’s                          noted it would consider any additional
                                           PHMSA is acting on the comment from                      operations to inform later decisions on               comments on the operational controls
                                           the Interested Parties by amending the                   DOT–SP 20534 and the HMR.                             included in DOT–SP 20534, which was
                                           HMR to allow for bulk transport of LNG                   Specifically, PHMSA added the                         posted to the HM–264 rulemaking
                                           by rail in a DOT–113 specification tank                  following requirements to the special                 docket to aid in determining appropriate
                                           car. Additionally, this action supports                  permit:                                               operational controls for this final rule.
                                           the objectives of the Notification of                       (1) Each tank car must be operated in              PHMSA encouraged commenters to
                                           Regulatory Review because it is                          accordance with § 173.319 except for                  provide data on the safety or economic
                                           expected to ‘‘promote [the] clean and                    the identified maximum permitting                     impacts associated with operational
                                           safe development of our Nation’s vast                    filling density, maximum operating                    controls in the special permit, including
                                           energy resources, while avoiding                         pressure, and remote sensing equipment                analysis of the safety benefits and the
                                           regulatory burdens that unnecessarily                    as specified in the special permit;                   potential cost-benefit impact of
                                           encumber energy production, constrain                       (2) Shipments are authorized between               implementing those or other operational
                                           economic growth, and prevent job                         Wyalusing, Pennsylvania, and                          controls.
                                           creation.’’                                              Gibbstown, New Jersey, with no                        III. Amendments to the HMR Adopted
                                                                                                    intermediate stops.                                   in This Final Rule
                                           C. DOT Special Permit 20534                                 (3) Within 90 days after issuance, the
                                              On August 21, 2017, PHMSA received                    grantee shall prepare and submit a plan                  In this final rule, PHMSA is
                                           an application for a special permit from                 providing per shipment quantities,                    authorizing LNG, a well characterized
                                           ETS to authorize the transportation in                   timelines, and other actions to be taken              and understood material, for
                                           commerce of ‘‘Methane, refrigerated                      for moving from single car shipments to               transportation in a specific rail car
                                           liquid’’ in DOT–113C120W tank cars.                      multi-car shipments, and subsequently                 packaging that has a long, safe record
                                              Upon completion of its preliminary                    to unit trains (20 or more tank cars).                carrying similar cryogenic materials,
                                           evaluation of the application, PHMSA                        (4) Trains transporting 20 or more                 including flammable materials.
                                           published for public comment a Notice                    tank cars authorized under this special               Additionally, to provide an additional
                                           of Draft Environmental Assessment for a                  permit must be equipped and operated                  level of safety and in response to
                                           Special Permit Request for Liquefied                     with a two-way end of train device as                 comments, PHMSA is adopting certain
                                           Natural Gas by Rail in the Federal                       defined in 49 CFR 232.5 or distributed                supplemental packaging integrity
                                           Register on June 6, 2019.13 The notice                   power as defined in 49 CFR 229.5.                     enhancements and operational controls.
                                           requested comment on potential safety,                      (5) Prior to the initial shipment of a             A. Existing HMR Requirements for Rail
                                           environmental, and any additional                        tank car under this special permit, the               Transport of Flammable Cryogenic
                                           impacts that should be considered as                     grantee must provide training to                      Material
                                           part of the special permit evaluation                    emergency response agencies that could
                                                                                                                                                             Federal hazmat law, 49 U.S.C. 5103,
                                           process. The docket for the draft                        be affected between the authorized
                                                                                                                                                          requires PHMSA 16 to designate material
                                           Environmental Assessment enclosed a                      origin and destination. The training
                                                                                                                                                          or a group or class of material as
                                           draft special permit. The notice was                     shall conform to NFPA–472, a voluntary
                                                                                                                                                          hazardous when it determines that
                                           initially published with a 30-day                        consensus standard developed by the                   transporting the material in commerce
                                           comment period and was extended an                       National Fire Protection Association                  in a particular amount and form may
                                           additional 30 days after requests from                   (NFPA) establishing minimum                           pose an unreasonable risk to health and
                                           numerous stakeholders, including non-                    competencies for responding to                        safety or property, and to prescribe
                                           governmental organizations (NGOs) and                    hazardous materials emergencies,                      regulations for the safe transportation of
                                           private individuals. The extended                        including known hazards in                            hazardous material in commerce.
                                           comment period closed on August 7,                       emergencies involving the release of                  Transportation includes the movement
                                           2019 and PHMSA received 2,994                            LNG, and emergency response methods                   of that hazardous material and any
                                           comments.                                                to address an incident involving a train              loading, unloading, or storage incidental
                                              On December 5, 2019, PHMSA                            transporting LNG.                                     to the movement.17 These statutory
                                           granted DOT–SP 20534 to ETS                                 (6) While in transportation, the                   provisions are implemented within
                                           authorizing the transportation of LNG in                 grantee must remotely monitor each                    PHMSA regulations at 49 CFR parts 171
                                           DOT–113C120W tank cars between                           tank car for pressure, location, and                  to 180 (i.e., the HMR).
                                           Wyalusing, Pennsylvania, and                             leaks.                                                   The HMR prescribe a comprehensive
                                           Gibbstown, New Jersey, with no                              Following issuance of DOT–SP 20534,                suite of requirements for hazardous
                                           intermediate stops, and subject to                       PHMSA published a notice 14 in the                    material classification, hazard
                                                                                                    Federal Register that PHMSA had
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                                           certain operational controls. Some of the                                                                      communication, emergency response
                                           operational controls required by the                     added DOT–SP 20534 and documents
                                                                                                    supporting the special permit                           15 On December 23, 2019, PHMSA extended the

                                             13 Hazardous Materials Safety: Notice of                                                                     comment period to January 13, 2020 [84 FR 70491].
                                                                                                                                                            16 The authority was delegated by the Secretary of
                                           Availability of the Draft Environmental Assessment         14 Hazardous Materials: Notice of Issuance of

                                           for a Special Permit Request for Liquefied Natural       Special Permit Regarding Liquefied Natural Gas [84    Transportation in 49 CFR 1.97.
                                           Gas by Rail [84 FR 26507].                               FR 67768].                                              17 49 U.S.C. 5102(13).




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                                           information, training, packaging, and                    maintenance of the lading prevents                    prescribe minimum thicknesses
                                           material handling. These requirements                    expansion and overpressure conditions,                requirements for both tanks. American
                                           are designed to prevent the release of                   or possible activation of the                         Welding Society (AWS) standards are
                                           hazardous materials in transportation,                   transportation vessel’s pressure relief               used during manufacturing to ensure
                                           and in the event of a release, to provide                device. To help ensure that neither                   that the welding performed has quality
                                           emergency responders and the public                      scenario occurs during transportation,                control systems and is performed by
                                           with necessary information to protect                    all bulk packagings authorized in the                 qualified personnel. The DOT–113 tank
                                           themselves and mitigate the                              HMR for transportation of flammable                   car requirements in the HMR
                                           consequences of the release to the                       cryogenic materials (e.g., DOT–113 tank               incorporate elements of rigorous
                                           greatest extent possible. The HMR are a                  cars, MC–338 cargo tanks, and UN T75                  engineering standards, including the
                                           proven hazardous material regulatory                     portable tanks) are built as a ‘‘tank-                ASME BPVC as well as the AAR
                                           system well suited to manage the risks                   within-a-tank’’ design. The inner tank                Specifications for Tank Cars, M–1002.
                                           of LNG transportation in rail tank cars.                 contains the cryogenic material. The                  M–1002 in turn draws on well-
                                           The robust requirements already in                       space between the inner and outer tanks               established industry standards of the
                                           place in the HMR for packaging, rail car                 is evacuated to a high degree of vacuum               AWS, ASTM, American Society of Non-
                                           handling, hazard communication and                       (absolute pressure less than 75 microns               destructive Testing (ASNT) as well as
                                           training address many of the safety                      of mercury or 0.0001 atmospheres). The                ASME, for design, materials, fabrication,
                                           concerns related to the transportation of                outer surface of the inner tank is                    testing and inspection requirements.
                                           LNG by rail. Moreover, PHMSA works                       wrapped with a high-grade insulation                  The ASME BPVC, Section VIII, Division
                                           closely with other Federal and State                     consisting of multiple layers of a thin               1, has become the international
                                           partners to enforce the requirements of                  reflecting material such as an aluminum               benchmark standard for pressure vessel
                                           the HMR.                                                 foil sandwiched between a thin non-                   design for a multitude of industries,
                                                                                                    conducting paper type material.                       including transportation. These
                                           1. Packaging
                                                                                                    Alternately, the physical insulation may              standards impose criteria for forming,
                                              Selecting proper packaging for a                      also be made of fine grained perlite                  fabricating, inspecting, and testing
                                           hazardous material is a critical step in                 particles filling the void space between              pressure vessels and their components
                                           the HMR safety system. Hazardous                         the inner and outer tanks. The                        and for qualifying welders, welding
                                           materials packaging must be chemically                   combined effect of vacuum in the                      operators, and welding procedures to
                                           and physically compatible with the                       annular space between the inner and                   ensure the soundness of pressure
                                           material contained in the package, also                                                                        vessels. Starting from these rigorous
                                                                                                    outer tanks together with the physical
                                           known as the lading. The packaging                                                                             design principles, the specification
                                                                                                    insulation substantially reduces the heat
                                           must be able to withstand all conditions                                                                       requirements in part 179 of the HMR
                                                                                                    transfer from the atmosphere to the
                                           normally encountered during                                                                                    add design requirements to address
                                                                                                    lading, thus effectively maintaining the
                                           transportation, which include humidity                                                                         conditions encountered in
                                                                                                    lading temperature within safe limits
                                           and pressure changes, shocks, and                                                                              transportation and not necessarily
                                                                                                    during transportation. Furthermore, the
                                           vibrations. The HMR authorize many                                                                             applicable to stationary storage. For
                                                                                                    outer tank shields the inner tank from
                                           types of packagings for hazardous                                                                              example, the HMR require the use of
                                                                                                    physical damage, exposure to the
                                           materials, ranging in size from 1                                                                              specific steels that balance toughness,
                                                                                                    elements, and in-train forces, while
                                           milliliter glass sample tubes, to 30,000-                                                                      strength, and weldability with being
                                           gallon railroad tank cars. Different                     providing structural support to the
                                                                                                    packaging.                                            able to withstand extremely low
                                           modes of transportation (highway, air,                                                                         temperatures.
                                           rail, and vessel) and varying volumes of                    Tank car design is a mature field, and                Like other bulk packagings, cryogenic
                                           hazardous materials present different                    the requirements for designing and                    packagings authorized in the HMR,
                                           challenges, and require a variety of                     building a tank car able to withstand the             including DOT–113 tank cars, have
                                           packaging designs to account for                         conditions encountered during                         requirements for safety relief devices,
                                           different conditions encountered in                      transportation are codified in part 179 of            also referred to as pressure relief devices
                                           transportation. Tank cars used for rail                  the HMR. An industry publication, AAR                 (PRDs). PRDs are designed to vent the
                                           transportation must be designed to                       Manual of Standards and Recommended                   contents of the tank in a controlled
                                           withstand exposure to weather, in-train                  Practices, Section C—III, Specifications              manner to prevent the inner tank from
                                           forces and switching, vibrations,                        for Tank Cars, Specification M–1002                   suffering a catastrophic failure or
                                           dynamic forces, and exposure to the                      (AAR Specifications for Tank Cars), is                explosion due to pressure-increasing
                                           lading they transport.                                   incorporated by reference into the HMR.               events, such as exposure to fire. DOT–
                                              Cryogenic materials pose unique                       HMR tank specifications and standards                 113 tank cars have two different PRDs:
                                           challenges for selecting appropriate                     are aligned with authoritative design                 (1) A pair of reclosing pressure relief
                                           transportation packaging. The lading’s                   and construction standards found in the               valves (PRVs), which operate on a
                                           extreme cold properties render most                      ASME Boiler & Pressure Vessel Code                    temporary basis to relieve inner tank
                                           types of packaging material too brittle to               (BPVC), Section VIII, Division 1 Rules                pressure and bring it back to safe levels;
                                           maintain containment during                              for Construction of Pressure Vessels,                 and (2) a pair of non-reclosing safety
                                           transportation. Therefore, all cryogenic                 and welding requirements found in                     vents (rupture disk) that open at a
                                           packagings in the HMR are required to                    ASME BPVC Section IX, Welding and                     pressure higher than the start to
                                           be constructed from specific steel alloys                Brazing Qualifications. The inner and                 discharge pressure of the PRVs and
                                           with physical properties that enable                     outer tanks are designed to ASME BPVC                 remain open once the disk ruptures. The
                                           them to retain their strength and                        Section VIII Division 1 using the design              latter devices are a failsafe in the event
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                                           ductility at the lading’s extreme low                    margins and loading conditions for                    the primary PRVs fail to perform as
                                           temperatures.                                            pressure vessels. The ASME BPVC                       intended.
                                              Another challenge that must be                        Section VIII Division 1 design margin                    The HMR explicitly authorize LNG for
                                           considered is ensuring that the lading                   and loading conditions determine the                  transportation in UN T75 insulated
                                           remains at these cold temperatures                       design thickness of both the inner and                portable tanks that are loaded onto
                                           during transportation. Temperature                       outer tanks. However, the HMR                         railroad flat cars and MC–338 cargo


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                                           tanks, which are both tank-within-a-                     determined by measuring the pressure                     The HMR require that a tank car
                                           tank designs. Both bulk packagings have                  the lading exerts on the inner tank at the            containing a hazardous material
                                           an established safety record for LNG and                 time the material is offered, and after               conspicuously display placards on each
                                           other flammable cryogenic materials                      the material arrives at its destination. If           side and each end of the car. The
                                           over many years of transportation,                       the average daily pressure rise during                diamond-shaped placards are designed
                                           demonstrating the high level of safety                   transportation exceeds 3 psig, the                    to be instantly recognizable to any
                                           provided by the tank-within-a-tank                       thermal integrity of the tank must be                 trained emergency responder or
                                           design. On May 4, 1963, the Interstate                   tested. This testing involves measuring               transportation employee. Placards allow
                                           Commerce Commission Safety and                           either pressure rise or calculated heat               for quick identification of the DOT
                                           Service Board published final rule                       transfer over a 24-hour period. When                  hazard class or division of the material
                                           Order 57 [28 FR 4495], which                             the pressure rise test is performed, the              being transported by their color, symbol,
                                           authorized the transportation of                         absolute pressure in the annular space                and the numeral entered in the bottom
                                           liquefied hydrogen in a DOT–113 tank                     of the loaded tank car may not exceed                 corner of the placard. Specifically, for
                                           car. The DOT–113 specification itself                    75 microns of mercury at the beginning                DOT–113 tank cars transporting
                                           was adopted into the HMR on December                     of the test and may not increase more                 flammable gases such as LNG, the
                                           1, 1962 in final rule Order 56 [27 FR                    than 25 microns during the 24-hour                    placard must also be placed on a white
                                           11849]. Prior to adoption, the DOT–113                   period. If the tank fails the thermal                 square background to increase the
                                           design had been authorized to transport                  integrity test, it must be removed from               contrast and visibility of the placard in
                                           liquefied hydrogen by special permits,                   hazardous material transportation                     accordance with § 172.510(a)(3), and as
                                           documents issued by PHMSA and its                        service until it has been repaired and                a visual signal of the special handling
                                           predecessor agencies that permit a                       passes the required thermal integrity                 procedures for DOT–113 tank cars
                                           variance from the requirements of the                    tests. This system of thermal integrity               transporting flammable gases. Tank cars
                                           HMR provided an equivalent level of                      management has proven to be an                        must additionally be marked on each
                                           safety is maintained. PHMSA and its                      effective way of preventing unsafe                    side and each end with the UN ID
                                           predecessor agencies have used special                   pressure increases during transportation              number of the hazardous material being
                                           permits to evaluate new transportation                   for the existing DOT–113 fleet, and                   carried. This marking is typically
                                           technologies and practices prior to                      PHMSA expects that it will continue to                displayed on a white rectangle in the
                                           authorizing them for broader use.                        be effective for DOT–113s used in LNG                 center of the placard. Moreover, tank
                                           Liquefied ethylene, a flammable                          service.                                              cars loaded with flammable gases, like
                                           cryogenic material with physical                            The flammability and low-                          LNG, are required to be marked on two
                                           properties (including flammability range                 temperature hazards presented by LNG                  sides with the key words of the proper
                                           and cryogenic state) similar to LNG, has                 in transportation are well understood.                shipping name, or the common name of
                                           been authorized for transportation in                    The DOT–113C120W tank car has a                       the material being transported.
                                           DOT–113C120W tank cars since the                         well-established safety record                        Therefore, a tank car transporting LNG
                                           publication of final rule HM–115,                        transporting similar cryogenic                        will be marked with the words
                                           Cryogenic Liquids [48 FR 27674, June                     flammable materials. The construction                 ‘‘Methane, refrigerated liquid’’ or
                                           16, 1983]. The DOT–113C120W tank car                     specifications for the steel used for                 ‘‘Natural gas, refrigerated liquid’’ on two
                                           was authorized by special permit prior                   fabricating the inner tank of the DOT–                sides of the tank car.
                                           to adoption in the HMR.                                  113C120W tank car requires it to                         The train crew is required to maintain
                                              It is essential to ensure that cryogenic              withstand a (design) service temperature              a document which identifies the
                                           lading remains below a maximum                           of ¥260 °F, which is also the                         position in the train of each rail car
                                           temperature during transportation. The                   temperature of LNG at atmospheric                     containing a hazardous material. The
                                           HMR address this currently by requiring                  pressure (i.e., LNG is not cooled below               crew is also required to maintain
                                           tank car owners to ensure the thermal                    this temperature). The austenitic steel               emergency response information for
                                           integrity of DOT–113 packages through                    required for the inner tank retains all               each hazardous material carried in the
                                           measurement of thermal performance                       necessary strength and ductility at                   train. This emergency response
                                           throughout the life of the tank.                         ¥260 °F, and is suitable for use to ¥423              information must include specific
                                           Specifically, the HMR prohibit the                       °F the shipping temperature of liquefied              information related to the material being
                                           transportation of a DOT–113 if the                       hydrogen, a far lower temperature than                transported, including:
                                           average daily pressure rise in the tank                  it would be exposed to in LNG service.                   Æ Immediate hazards to health;
                                           exceeded 3 psig during the prior                                                                                  Æ Risks of fire or explosion;
                                                                                                    2. Hazard Communication                                  Æ Immediate precautions to be taken
                                           shipment. The insulation located in the
                                                                                                                                                          in the event of an accident or incident;
                                           annular space between the outer and                         Once the lading has been properly                     Æ Immediate methods for handling
                                           inner tanks can lose its effectiveness                   packaged, the HMR prescribe an                        fires;
                                           over time due to conditions encountered                  extensive system of multi-layered                        Æ Initial methods for handling spills
                                           during transportation, through settling                  hazard communication tools designed to                or leaks in the absence of fire; and
                                           of the insulation or through the                         provide information on the type and                      Æ Preliminary first aid measures.
                                           development of micro vacuum leaks.                       location of hazardous materials present                  As one method of compliance with
                                           New multi-layer insulation systems do                    to transportation employees, emergency                these requirements, train crews often
                                           not suffer settling problems, but are still              responders, and the public. The                       carry the DOT Emergency Response
                                           susceptible to the degradation of                        discussion below will focus on hazard                 Guidebook (ERG),18 a joint publication
                                           vacuum and therefore must be                             communication requirements specific to                of PHMSA, Transport Canada, the
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                                           monitored in the same way as older                       rail transportation, but similar                      Secretariat of Communication and
                                           insulation systems. As the effectiveness                 requirements exist for highway, vessel,               Transport of Mexico, and interested
                                           of the insulation system lessens, more                   and air transport, with variations to                 parties from government and industry,
                                           thermal energy can be transmitted to the                 account for specific challenges
                                           inner tank and the lading. The rate of                   applicable to each mode of                              18 https://www.phmsa.dot.gov/sites/

                                           thermal energy transfer can be                           transportation.                                       phmsa.dot.gov/files/docs/ERG2016.pdf.



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                                           to supplement emergency response                         detailed information about the type and               specific risks associated with facilities
                                           information provided by the person                       location of all cars carrying hazardous               at which the hazardous materials listed
                                           shipping the hazardous material. The                     materials in a train including emergency              in § 172.800 are prepared for
                                           ERG is intended for use by emergency                     response guidance.                                    transportation, stored, or unloaded
                                           services personnel to provide guidance                      This existing system of hazard                     incidental to movement, and
                                           for initial response to hazardous                        communication under the HMR,                          appropriate measures to address the
                                           materials transportation incidents. The                  supplemented by industry efforts such                 assessed risks. Specifically, security
                                           ERG cross-references specific materials                  as AskRail, accurately communicates                   plans must address three elements:
                                           with incident response information,                      the hazards presented by hazardous                       Æ Personnel security. Measures to
                                           including firefighting instructions and                  materials to emergency responders,                    confirm information provided by job
                                           evacuation distances. The ERG is made                    transportation employees, and the                     applicants hired for positions that
                                           widely available, as PHMSA provides                      public and contributes to proper                      involve access to and handling of the
                                           millions of free copies of the ERG to                    emergency response when accidents                     hazardous materials covered by the
                                           emergency responders in every State,                     occur in transportation.                              security plan.
                                           and several commercial publishers have                                                                            Æ Unauthorized access. Measures to
                                           copies available for purchase.                           3. Training                                           address the assessed risk that
                                           Smartphone applications of the ERG are                      The HMR requirements for safe                      unauthorized persons may gain access
                                           also available. The ERG includes                         transportation of hazardous materials                 to the hazardous materials covered by
                                           instruction to handle incidents                          also encompass training for all hazmat                the security plan or transport
                                           involving flammable cryogenic                            employees involved in the                             conveyances being prepared for
                                           materials such as LNG.                                   transportation of hazardous material.                 transportation of the hazardous
                                              Finally, the document carried by the                  See part 172 subpart H. Training is the               materials covered by the security plan.
                                           train crew is required to display clearly                cornerstone of compliance with the                       Æ En route security. Measures to
                                           the emergency response telephone                         HMR, because only properly trained                    address the assessed security risks of
                                           number for each hazardous material                       employees can ensure the applicable                   shipments of hazardous materials
                                           transported in the train. The phone                      HMR requirements are followed                         covered by the security plan en route
                                           number must be easily recognizable to                    appropriately. All hazmat employees                   from origin to destination, including
                                           the train crew, or any other person using                must be trained and tested by their                   shipments stored incidental to
                                           the train document in an emergency.                      employer to perform their HMR-related                 movement.
                                           The telephone number must be of a                        functions correctly and safely. This                     Properly implemented security plans
                                           person who either: (1) Is knowledgeable                  includes employees who prepare a                      decrease the risk that a shipment of
                                           of the hazardous material being                          hazardous material package for                        hazardous material, including LNG, can
                                           shipped, and has comprehensive                           transportation, transport hazardous                   be used in an attack against persons or
                                           emergency response and incident                          materials (e.g., the train crew), or unload           critical infrastructure within the United
                                           mitigation information for that material;                hazardous material. See § 171.8. In                   States.
                                           or (2) has immediate access to a person                  accordance with § 172.704, training
                                           who possesses such knowledge and                                                                               5. Preparing a Packaging for
                                                                                                    must cover:
                                                                                                                                                          Transportation
                                           information. The emergency response                         Æ General awareness of HMR
                                           telephone number must be monitored at                    requirements;                                            Hazardous materials packages must be
                                           all times the material is in                                Æ Function-specific training                       prepared and filled in such a way to
                                           transportation. A telephone number that                  applicable to the particular functions                ensure that there can be no detectable
                                           requires a call back (such as an                         performed by the employee (e.g., proper               release of hazardous materials to the
                                           answering service, answering machine,                    loading procedures for flammable                      environment during conditions
                                           or beeper device) does not meet this                     cryogenic material);                                  normally incident to transportation.
                                           requirement. The emergency response                         Æ Safety;                                          Specifically, for LNG, there are several
                                           telephone number may be monitored by                        Æ Security awareness; and                          existing requirements in the HMR that
                                           the person offering the hazardous                           Æ In-depth security training, when                 address the proper filling of a DOT–113
                                           material, or an agency or organization                   applicable.                                           tank car to ensure safe transportation of
                                           capable of, and accepting responsibility                    Training must be documented in                     the commodity. These package
                                           for, providing the comprehensive                         accordance with § 172.704(d), and                     preparation requirements include:
                                           emergency response and incident                          repeated at least every 3 years.                         • As provided in § 173.31, when the
                                           mitigation information.                                  4. Security Plans                                     car is offered into transportation, the
                                              The railroad industry has also                                                                              offeror must inspect the tank car and all
                                           developed its own electronic hazard                         The HMR also address security                      closures prior to movement (i.e., the
                                           communication aids, beyond the                           requirements for certain high-risk                    pre-trip inspection); and
                                           requirements of the HMR. Specifically,                   hazardous materials. Offerors and                        • Filling density restrictions and
                                           the AAR, in conjunction with its                         carriers of materials listed in § 172.800             loading pressure restrictions in
                                           members and Railinc (an AAR                              must develop and adhere to a                          § 173.319 for cryogenic material.
                                           technology subsidiary), has developed                    transportation security plan for                         The filling and loading restrictions in
                                           and deployed an application called                       hazardous materials. Security plans are               § 173.319 are based on the physical
                                           AskRail.19 The AskRail app links to the                  required of any offeror or carrier of                 properties of each flammable cryogenic
                                           freight railroad industry’s train and                    flammable gas in a quantity over 792                  material and are designed to ensure that
                                           railcar information database maintained                  gallons, which is far below the volume                during transportation, the inner tank
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                                           by Railinc. AskRail provides an                          of a single tank car of LNG or similar                will not experience a pressure rise that
                                           emergency responder who has                              flammable cryogenic material. Security                triggers the PRVs to activate.
                                           registered to use the service with                       plans must include an assessment of
                                                                                                    transportation security risks for                     6. Route Planning
                                             19 https://public.railinc.com/products-services/       shipments of the hazardous materials,                    The HMR address requirements for
                                           askrail.                                                 including site-specific or location-                  rail route planning in § 172.820. Trains


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                                           meeting the following criteria are                       proposed. Commenters generally did                    including loading and unloading
                                           required to assess the safety and                        not support enhanced security measures                requirements for tank cars in §§ 173.31
                                           security risks along transportation                      for a broader list of materials than were             and 174.67, which help prevent
                                           routes (§ 172.820(c)) and perform an                     proposed in the NPRM.                                 movement of tank cars during loading/
                                           alternative route analysis (§ 172.820(d)):                  PHMSA adopted the NPRM’s                           unloading operations, help prevent
                                              (1) More than 2,268 kg (5,000 lbs.) in                proposed security measures in an April                other rail equipment from approaching
                                           a single carload of a Division 1.1, 1.2 or               16, 2008 Interim Final Rule (IFR) (73 FR              tank cars during loading/unloading
                                           1.3 explosive;                                           20752) which was subsequently                         through use of derails, bumpers, or
                                              (2) A quantity of a material poisonous                amended by a November 26, 2008 final                  lining switches to prevent entry, and
                                           by inhalation in a single bulk packaging;                rule (73 FR 72182). The 2008 IFR and                  include specific instructions that tank
                                              (3) A highway route-controlled                        final rule imposed a series of rail                   car unloading personnel are required to
                                           quantity of a Class 7 (radioactive)                      routing requirements in § 172.820.                    follow, such as attendance of the
                                           material, as defined in § 173.403 of this                Carriers must compile annual data on                  unloading operation and care of tools
                                           subchapter; or                                           certain shipments of explosive, PIH, and              used for unloading.
                                              (4) A high-hazard flammable train                     radioactive materials; use the data to                   Other operational controls include an
                                           (HHFT) as defined in § 171.8 of this                     analyze safety and security risks along               unloading requirement in § 174.204 that
                                           subchapter.                                              rail routes where those materials are                 requires that tank cars containing a
                                              Historically, there has been                          transported; assess alternative routing               flammable cryogenic material must be
                                           considerable public and Congressional                    options; and make routing decisions                   unloaded directly from the car to
                                           interest in the safe and secure rail                     based on those assessments. In                        permanent storage tanks of sufficient
                                           routing of security-sensitive hazardous                  accordance with § 172.820(e), the carrier             capacity to receive the entire contents of
                                           materials (such as chlorine and                          must select the route posing the least                the car. Finally, switching restrictions in
                                           anhydrous ammonia). The                                  overall safety and security risk. The                 § 174.83(b) prohibit a DOT–113
                                           Implementing Recommendations of the                      carrier must retain in writing all route              specification tank car displaying a
                                           9/11 Commission Act of 2007 20                           review and selection decision                         Division 2.1 (flammable gas) placard,
                                           directed the Secretary, in consultation                  documentation. Additionally, the rail                 including a DOT–113 specification tank
                                           with the Secretary of Homeland                           carrier must identify a point of contact              car containing a residue of a Division
                                           Security, to publish a rule governing the                on routing issues involving the                       2.1 material (e.g., LNG), from being cut
                                           rail routing of security-sensitive                       movement of covered materials and                     off while in motion, coupled into with
                                           hazardous materials. On December 21,                     provide that contact information to the               more force than is necessary to complete
                                           2006, PHMSA, in coordination with                        appropriate State, local, and tribal                  the coupling, or struck by any car
                                           FRA and the Transportation Security                      personnel.                                            moving under its own momentum.
                                           Administration (TSA) of the U.S.                            PHMSA proposed in the August 1,                    These special handling requirements
                                           Department of Homeland Security                          2014 NPRM, in § 174.310(a)(1), to                     protect DOT–113 tank cars from
                                           (DHS), published an NPRM under                           modify the rail routing requirements                  experiencing unnecessary impact forces
                                           Docket HM–232E (71 FR 76834), which                      specified in § 172.820 to apply to any                during switching. Compliance with
                                           proposed to revise the current                           HHFT. The routing requirements                        these switching restrictions is
                                           requirements in the HMR applicable to                    discussed in the NPRM reflect the                     highlighted by the special white
                                           the safe and secure transportation of                    practices recommended by the NTSB in                  background for the flammable gas
                                           hazardous materials by rail.                             recommendation R–14–4,21 and are in                   placard required by § 172.510 for DOT–
                                           Specifically, the HM–232E NPRM                           widespread use across the rail industry               113, and a marking requirement for the
                                           proposed to require rail carriers to                     for security-sensitive hazardous                      tank car which indicates that the cars
                                           compile annual data on specified                         materials. An overwhelming majority of                may not be humped or cut off while in
                                           shipments of hazardous materials, use                    commenters expressed support for                      motion (see § 179.400–25).
                                           the data to analyze safety and security                                                                           Additionally, three operational
                                                                                                    additional routing requirements for
                                           risks along rail routes where those                                                                            controls currently address the expedited
                                                                                                    HHFTs and thus, PHMSA finalized the
                                           materials are transported, assess                                                                              movement of a tank car transporting
                                                                                                    proposed requirements.22
                                           alternative routing options, and make                                                                          hazardous materials, delivery of tank
                                                                                                       In this final rule, PHMSA makes any
                                           routing decisions based on those                                                                               cars containing gases and cryogenic
                                                                                                    railroad that transports a quantity of
                                           assessments.                                                                                                   material, and notification of delays in
                                                                                                    LNG in a tank car subject to the route
                                              In the HM–232E NPRM, PHMSA                                                                                  transit. First, § 174.14 requires that a
                                                                                                    planning requirements in § 172.820.
                                           solicited comments on whether the                                                                              carrier must forward each shipment of
                                           proposed requirements should also                        7. Operational Controls                               hazardous materials promptly and
                                           apply to flammable gases, flammable                         In addition to requirements for                    within 48 hours (Saturdays, Sundays,
                                           liquids, or other materials that could be                packaging, hazard communication,                      and holidays excluded), after
                                           weaponized, as well as hazardous                         training, and security plans that must be             acceptance at the originating point or
                                           materials that could cause serious                                                                             receipt at any yard, transfer station, or
                                                                                                    met before the hazardous material is
                                           environmental damage if released into                                                                          interchange point, except that where
                                                                                                    offered for transportation, the HMR
                                           rivers or lakes. Commenters who                                                                                biweekly or weekly service only is
                                                                                                    contain operational controls
                                           addressed this issue indicated that rail                                                                       performed, a shipment of hazardous
                                                                                                    requirements for the safe transportation
                                           shipments of Division 1.1, 1.2, and 1.3                                                                        materials must be forwarded on the first
                                                                                                    of hazardous materials in tank cars.
                                           explosives; PIH materials; and highway-                                                                        available train. Furthermore, § 174.14(b)
                                                                                                    These requirements include specific
                                           route controlled quantities of                                                                                 states that a tank car loaded with any
                                                                                                    provisions for handling flammable
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                                           radioactive materials pose significant                                                                         Division 2.1 material (which would
                                                                                                    cryogenic materials similar to LNG,
                                           rail safety and security risks warranting                                                                      include LNG), may not be received and
                                           the enhanced security measures                             21 https://www.ntsb.gov/publications/_layouts/
                                                                                                                                                          held at any point, subject to forwarding
                                                                                                    ntsb.recsearch/Recommendation.aspx?Rec=R-14-          orders, to defeat the purpose of this
                                             20 https://www.congress.gov/110/plaws/publ53/          004.                                                  requirement for the expedited
                                           PLAW-110publ53.pdf.                                        22 80 FR 26644.                                     movement of a hazardous material, or to


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                                           defeat the requirements of § 174.204 for                 that the thicker outer tank in DOT–117A               including transportation. Starting from
                                           tank car delivery of gases such as                       and PIH/TIH tank cars improved                        these rigorous design principles, the
                                           cryogenic liquids. Section 174.204                       crashworthiness. The DOT–117A                         specification requirements in part 179 of
                                           prohibits tank cars containing Class 2                   crashworthiness improvement results                   the HMR add design requirements to
                                           materials from being unloaded unless                     are discussed below. Additionally,                    address conditions encountered in
                                           the shipment is consigned for delivery                   PHMSA is adopting the proposals for                   transportation and not necessarily
                                           to an unloading facility on private                      maximum offering pressure as proposed                 applicable to stationary storage. For
                                           tracks, and prohibits the storage of                     in the NPRM, but is amending the                      example, the HMR require the use of
                                           Division 2.1 (flammable) cryogenic                       maximum filling density to 37.3%.                     specific steels that balance toughness,
                                           material. If a tank car containing Class                                                                       strength, and weldability with being
                                                                                                    1. Suitability of the DOT–113C120W
                                           2 material cannot be delivered to a                                                                            able to withstand extremely low
                                                                                                    Tank Car for LNG
                                           private track for unloading, the                                                                               temperatures.
                                           regulation does allow the car to be                         The DOT–113C120W tank car has a
                                           unloaded on a rail carriers tracks                       long history of safe transportation of                   When cryogenic ethylene is
                                           provided the lading is piped directly                    flammable cryogenic material similar to               transported in DOT–113C120W
                                           from the tank car to permanent storage                   LNG. The safe history of DOT–                         specification tank cars, it is offered at
                                           tanks. Finally, in accordance with                       113C120W tank cars used for the                       cryogenic service temperature (defined
                                           § 173.319, the shipper must notify FRA                   transportation of other cryogenic                     in § 173.115(g) as colder than ¥90 °C),
                                           whenever a tank car containing any                       materials such as ethylene since 1983                 as LNG would be in this final rule. The
                                           flammable cryogenic material is not                      (and earlier under special permits) is a              delimiter letter ‘‘C’’—as used in ‘‘DOT–
                                           received by the consignee within 20                      key factor in determining that this tank              113C120W’’—indicates the car is
                                           days from the date of shipment.                          car design is appropriate for the                     designed for a loading and shipping
                                                                                                    transportation of LNG. Please see our                 temperature as low as ¥260 °F (¥162
                                           8. Risk Based Framework                                  discussion of the history of the DOT–                 °C) (see the specification requirements
                                              The HMR address the risks inherent                    113 specification in ‘‘Section III.A.                 in § 179.401–1 for DOT–113C120W tank
                                           in the transportation of hazardous                       Existing HMR Requirements for Rail                    cars). Negative 260 °F corresponds to the
                                           materials through comprehensive                          Transport of Flammable Cryogenic Gas’’                temperature at which LNG converts
                                           packaging, hazard communication,                         for further details.                                  from a gas to a liquid. The HMR do not
                                           training, security planning, and                            DOT–113C120W rail tank cars are                    permit the filling of a tank car below its
                                           material- and mode-specific operational                  vacuum-insulated tank-within-a-tank                   service temperature (see
                                           controls.                                                designs (similar to a thermos bottle)                 § 173.319(a)(4)(ii)). However, should the
                                              The HMR regulate 435 million                          consisting of an inner alloy stainless                inner tank experience colder
                                           shipments of hazardous materials every                   steel tank enclosed within a carbon steel             temperatures, the 300-grade austenitic
                                           year and by all modes of transportation,                 outer tank specifically designed for the              stainless steels, 304/304L, permitted for
                                           with an average of 20 hazardous                          transportation of cryogenic material,                 the inner tank, are authorized to
                                           material incidents resulting in death                    such as liquid hydrogen, oxygen,                      withstand the much lower service
                                           and serious injury each year, most of                    ethylene, nitrogen, and argon.                        temperature of cryogenic hydrogen, 423
                                           which occur in the highway mode. The                     Additionally, the design and use of the               °F.
                                           existing HMR requirements are robust                     DOT–113 specification tank car
                                                                                                                                                             Similarly, the standard heat transfer
                                           and will adequately address the risks                    includes added safety features—such as
                                                                                                                                                          rate assigned to the DOT–113C120W
                                           posed by transportation of LNG in DOT–                   protection systems for piping between
                                                                                                                                                          tank car in § 179.401–1, a maximum of
                                           113C120W tank cars. However, in this                     the inner and outer tanks, multiple
                                                                                                    PRDs (pressure relief valves and vents),              0.4121 Btu per day per pound of water
                                           final rule, PHMSA is adopting certain
                                                                                                    and insulation—that contribute to an                  capacity, is consistent with the
                                           additional safety measures designed to
                                                                                                    excellent safety record throughout its 50             requirements for the other bulk
                                           further reduce those risks. These safety
                                                                                                    years of service. The HMR currently                   packages authorized for LNG in the
                                           measures are discussed in detail in the
                                                                                                    authorize the DOT–113C120W                            HMR (MC 338 cargo tanks and UN T75
                                           following section.
                                                                                                    specification tank car, the same                      portable tanks), and packages
                                           B. The DOT–113C120W Specification                        specification being authorized for LNG                authorized by DOT Special Permits. The
                                           Tank Car                                                 in this rule, for another flammable                   specific design properties of the DOT–
                                             PHMSA considers the existing DOT–                      cryogenic material, ethylene, which has               113C120W, including service
                                           113C120W tank car a suitable packaging                   chemical properties similar to those of               temperature and thermal performance,
                                           for transportation of LNG by rail. The                   LNG.                                                  make it an appropriate packaging for
                                           inner tank is capable of withstanding                       The DOT–113 tank car requirements                  safe transportation of LNG, in the same
                                           the cryogenic temperatures and                           in the HMR incorporate elements of                    way that the packaging is currently used
                                           chemical properties of LNG, and the                      rigorous engineering standards,                       to transport cryogenic ethylene.
                                           thermal protection system is capable of                  including the ASME BPVC as well as                    2. Materials of Construction for DOT–
                                           maintaining LNG at a safe pressure and                   the AAR Specifications for Tank Cars,                 113 Tank Cars
                                           temperature throughout transportation.                   M–1002. M–1002 in turn draws on well-
                                           However, in this final rule, to improve                  established industry standards of the                   In the United States, storage vessels
                                           crashworthiness and in response to                       American Society for Testing and                      for LNG are designed and constructed in
                                           comments received, PHMSA requires                        Materials (ASTM), American Society of                 accordance with ASME BPVC Section
                                           that DOT–113C120W tank cars used for                     Non-destructive Testing (ASNT), as well               VIII Rules for Construction of Pressure
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                                           LNG transportation must be constructed                   as ASME, for design, materials,                       Vessels, Division 1. To maintain the low
                                           with a thicker outer tank, and that the                  fabrication, testing and inspection                   temperature, LNG storage tanks are
                                           outer tank be constructed of a higher                    requirements. The ASME BPVC, Section                  usually made with an inner and outer
                                           quality steel currently required for                     VIII, Division 1, is the international                tank with insulating material between
                                           construction of DOT–117A and PIH/TIH                     benchmark standard for pressure vessel                and a vacuum applied to the annular
                                           tank car tanks. PHMSA has determined                     design for a multitude of industries,                 space.


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                                           a. Inner Tank                                            calculations used to determine the                    resistant to cryogenic temperatures, and
                                              ASTM A240/240M 300-grade                              thickness of the inner tank are aligned               has been used safely in the outer tank
                                           austenitic stainless steels, 304/304L, are               with the ASME BPVC Section VIII                       of DOT–113C120W tank cars for
                                           the only steels authorized in the HMR                    Division 1 and align with all other tanks             decades. Similarly, the steel used to
                                           for constructing the inner tank of a                     used for cryogenic materials. Typically,              construct the outer tanks of other ‘‘tank-
                                           DOT–113 tank car. The major elements                     DOT–113 inner tanks exceed the                        within-a-tank’’ cryogenic packagings,
                                           in these steels are: Carbon—0.08%                        minimum value of 3/16th inch                          including MC–338 cargo tanks, UN T75
                                           (0.03%); manganese—2.00% (both);                         thickness to conform to ASME                          portable tanks, and ocean-going LNG
                                           chromium—18.0–20.00% (both);                             calculations and to avoid localized                   tanker ships, is not resistant to
                                           nickel—8.00–11.00% (8.00–12.00%);                        thinning arising from manufacturing                   cryogenic temperature.
                                                                                                    processes and the variation in the                       LNG in these packagings is contained
                                           and the remainder iron. The role of
                                                                                                    thickness of steel sourced from steel                 during transportation in an inner
                                           chromium and nickel in the 304/304L
                                                                                                    mills. Therefore, in this final rule,                 stainless-steel tank or tank lined with
                                           grade steels is to: (1) Retain the Face
                                                                                                    PHMSA maintains the current                           cryogenic compatible liners, which
                                           Centered Cubic (FCC) atomic structure
                                                                                                    requirements for inner tanks.                         maintains strength and ductility at
                                           which gives 304/304L its strength,                                                                             cryogenic temperatures, while the outer
                                           ductility and toughness down to                          b. Outer Tank                                         tank provides accident protection and
                                           cryogenic temperatures and (2) provide                      For DOT–113 tank cars, plate                       structural support to the packaging. The
                                           a corrosion resistant passive layer. The                 materials listed in M–1002 Appendix M                 only way LNG can be released from the
                                           tensile strength of 304/304L steel is                    must be used for the outer tank.                      inner tank of a rail tank car to the void
                                           70,000–75,000 psi with Charpy V-notch                    Industry practice has been to fabricate               space between the inner and outer tanks
                                           toughness (resistance to brittle failure)                the external tank from ASTM A516–70                   is if the inner tank is compromised. In
                                           values in the range of 80–130 ft. lbs. at                steel. A516–70 steel has provided                     a rail accident, a puncture of the inner
                                           ¥320 °F (minimum Charpy V-notch                          reliable performance in the service                   tank can occur only after the outer tank
                                           failure value is 60 ft. lbs.), below the                 history of DOT–113 tank cars. However,                is breached. In such a scenario, any LNG
                                           temperature range encountered during                     PHMSA in this final rule is authorizing               released from the breach of the inner
                                           LNG transportation. The service                          rail transport of LNG in DOT–                         tank will also be released into the
                                           environment of a railroad tank car is                    113C120W-specification tank cars with                 environment and not be contained in
                                           dynamic and severe and can result in                     enhanced outer tank thickness and                     the space between the two tanks even if
                                           the accumulation of impact and fatigue                   materials (with a specification suffix                the outer tank is made of stainless steel
                                           damage. Austenitic stainless steels,                     ‘‘9’’ added to denote those                           that maintains strength and ductility at
                                           which are readily weldable using                         enhancements). Specifically, this final               cryogenic temperatures. Therefore, there
                                           qualified welders and welding                            rule requires DOT–113C120W9-                          is no safety advantage in making the
                                           procedures, are therefore well-suited for                specification tank cars carrying LNG to               outer tank of stainless steel. On other
                                           use in the construction and repair of                    have a minimum outer tank thickness of                hand, making the outer tank of stainless
                                           tank cars.                                               9/16’’ (compared to 7/16’’ for other                  steel able to withstand cryogenic
                                              For storage tanks, ASME design                        DOT–113C120W-specification tank                       temperatures in addition to
                                           criteria allow for the use of 300-grade                  cars). Further, those thicker outer tanks             withstanding the in-train forces during
                                           stainless steels or ASTM A553 Standard                   must be made of TC–128 Grade B (TC–                   transportation, providing puncture
                                           Specification for Pressure Vessel Plates,                128B) normalized steel. TC–128B                       resistance, and ensuring structural
                                           Alloy Steel, Quenched and Tempered 7,                    normalized steel is currently used for                support for the tank car would be
                                           8, and 9% Nickel. Both the 304/304L                      TIH and flammable liquid tank car                     prohibitively expensive (especially if
                                           and A553 steels have similar nickel                      designs and its manufacturing process                 the thickness is the same as or thicker
                                           content limits, but utilize the nickel to                produces a more puncture resistant steel              than the adopted 9/16th inch TC–128
                                           achieve strength and toughness in                        as compared to A516–70 steel. AAR TC–                 Grade B normalized carbon steel
                                           different ways. The A553 steel is a heat                 128 Grade B normalized steel is a high-               design).
                                           treatable, ‘‘quench and tempered’’ type                  strength, fine-grained carbon-                           As explained further below, PHMSA
                                           of steel with the nickel helping to form                 manganese-silicon steel intended for                  expects that each of the enhancements
                                           martensite, a strong but brittle                         fusion-welded tank car tanks in service               provided for in the final rule will
                                           metallurgical product. The quench and                    at moderate and lower temperatures. By                improve tank car crashworthiness.
                                           tempering treatment makes welding                        normalizing (heating the steel to 1600 °F
                                           A553 difficult, requiring expertise in                   and air cooling) TC–128 steel and                     c. Determination of Inner and Outer
                                           welding procedure development and                        controlling its chemistry, the outer tank             Tank Requirements
                                           operator skill which adds risk to its use                of an LNG tank car made from TC–128                      PHMSA is maintaining the
                                           for tank cars. By contrast, the nickel                   Grade B steel has a reduced probability               requirements for the inner tank. ASTM
                                           content in 304/304L stainless steels                     of tank failure due to cracking and an                A 240/A 240M, Type 304 or 304L steel
                                           facilitates the formation of austenite, a                increased resistance to puncture                      has the correct balance of strength,
                                           strong, tough and ductile form of steel,                 compared to ASTM A516–70 steel.                       durability, and weldability for use in
                                           which maintains its physical properties                     The TC–128 Grade B normalized                      transportation applications for
                                           at cryogenic temperatures. This,                         carbon steel used to construct the outer              cryogenic materials, as demonstrated
                                           coupled with its excellent weldability,                  tank for DOT–113C120W9 tank cars                      over many years of use. However, due
                                           make it the clear choice for cryogenic                   does not maintain the same strength and               to the possibility of LNG being
                                           tank cars.                                               ductility at the cryogenic temperatures               transported in blocks of tank cars within
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                                              The inner tank has a minimum                          of the lading. However, this is not a                 each train that are larger than the blocks
                                           thickness requirement of 3/16th inch                     safety concern for DOT–113 tank cars.                 of tank cars that are typically used for
                                           (after forming) unless increased through                 Existing DOT–113C120W tank cars used                  rail transportation of other flammable
                                           a calculated formula in 179.400–8,                       in cryogenic ethylene service have outer              cryogenic liquids, and in response to
                                           which increases thickness based on                       tanks constructed of ASTM A516–70                     comments, PHMSA is authorizing in
                                           inner diameter of the tank. The                          carbon steel. ASTM A516–70 is also not                this final rule rail transportation of LNG


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                                           in DOT–113C120W-specification tank                       have determined that applying                         4. Crashworthiness Assessment/Field
                                           cars with enhanced outer tank thickness                  improved outer tank requirements is                   Tests
                                           and materials (those enhancements to be                  feasible from a manufacturing and
                                           indicated by the specification suffix                    economic perspective. Given the                          PHMSA and FRA are confident, based
                                           ‘‘9’’) to obtain improved                                feasibility of securing a more robust                 on rigorous modeling, testing, and
                                           crashworthiness.                                         tank car design within prevailing                     experience (described in detail in
                                              The inner tank design of DOT–                         manufacturing processes across North                  below), that the DOT specification tank
                                           113C120W9 tank cars will be identical                    America, PHMSA determined that the                    cars, enhanced with a 9/16th inch outer
                                           to other DOT–113C120W-specification                      authorization for transporting LNG by                 tank made of TC–128 Grade B
                                           tank cars, and will have the same safety                 rail can achieve an additional safety                 normalized steel, will provide sufficient
                                           features to vent the contents in the event               margin by employing the more robust                   crashworthiness in accident scenarios
                                           of an unsafe pressure increase. In                       car design described herein.                          compared to tank cars manufactured
                                           essence, the lading retention capabilities                 If a tank car containing LNG is                     from 7/16th inch A516–70 steel outer
                                           of the DOT–113C120W9 and other                           breached during a derailment, the LNG                 tanks. As part of the analysis conducted
                                           DOT–113C120W-specification tank cars                     will behave largely the same way as                   for the Enhanced Tank Car Standards
                                           are identical, with specific                             crude oil or ethanol. The LNG lading                  and Operational Controls for High-
                                           enhancements to the outer tank of the                    will be released as a very cold liquid,               Hazard Flammable Trains, (HM–251; 80
                                           tank car design being employed to                        creating an LNG pool that could catch                 FR 26643, May 8, 2015) along with the
                                           increase crashworthiness.                                on fire. Employing a thicker outer shell              final rule RIA, PHMSA determined that
                                              The outer tank enhancements for the                   will reduce the puncture probability of               there was a reduction in the number of
                                           DOT–113C120W9 incorporate the best                       the inner tank, and thus mitigate the                 tank cars punctured when increasing
                                           available technology for the outer tank                  consequences of the derailment.                       the outer tank thickness from 7/16th
                                           of a tank car with little additional                     Moreover, a tank car is estimated to                  inch to 9/16th inch of TC–128 Grade B
                                           manufacturing costs. Increasing wall                     have a service life of approximately 50               normalized steel with a train traveling at
                                           thickness and the use of normalized                      years. DOT–113 tank cars compliant                    40 mph.
                                           steel (which increases the ductility of                  with the enhanced outer shell
                                                                                                                                                             This final rule will require the same
                                           the steel) of the outer tank wall together               requirements are projected to cost 3%
                                                                                                                                                          increase in thickness of the same type
                                           provide enhanced crashworthiness for                     more to manufacture. When divided by
                                                                                                                                                          of steel as was required in the HM–251
                                           the tank car. Previously, there was                      the large number of carloads that would
                                                                                                                                                          final rule for DOT–117 tank cars.
                                           limited economic rationale to amend the                  be carried during a DOT–113’s 50-year
                                                                                                                                                          PHMSA, therefore, expects a similar
                                           outer tank characteristics for the DOT–                  service life, the 9/16th inch TC–128B
                                                                                                                                                          increase in safety benefits from the use
                                           113C120W tank car to incorporate those                   normalized steel outer tank is highly
                                                                                                                                                          of enhanced outer tank thickness and
                                           elements because of the small size of the                cost-effective in that it will mitigate the
                                                                                                                                                          improved materials.
                                           fleet and the small number of tank cars                  consequences of derailment involving
                                           within each train. The existing level of                 LNG by reducing the number of tanks                   5. Comparison of Derailments
                                           safety provided by the DOT–113C120W                      punctured in the unlikely event of an
                                           tank car and existing operational                        accident. See our discussion of                          In the following table, FRA compared
                                           controls is sufficient for the current use               modeling crashworthiness in Section III.              three derailment accidents that occurred
                                           scenarios, as shown by the safety history                B. 6. ‘‘Finite Element Modeling and                   in relatively similar conditions. All
                                           of that tank car with over 100,000                       Validation’’ for additional information.              accidents involved trains travelling at
                                           shipments.                                                                                                     similar speeds, in similar weather
                                              Currently, because of market demand                   3. Safety History                                     conditions, and with a similar number
                                           and usage patterns for ethylene, DOT–                       DOT–113 tank cars have a                           of cars derailed. The tank cars that
                                           113 tank cars are transported as part of                 demonstrated safety record of over 50                 derailed in Guernsey, Saskatchewan,
                                           mixed commodity freight trains at one                    years. More than 100,000 rail shipments               had a tank thickness of 9/16th inch and
                                           to three cars per train. However, as the                 of cryogenic material in DOT–113 tank                 had 62 percent fewer shell punctures
                                           number of tank cars within a train                       cars have taken place with no reported                than the tank cars that derailed in
                                           increases—in blocks of cars larger than                  fatalities or serious injuries occurring              Casselton, North Dakota, and 69 percent
                                           three or in unit trains—there is a higher                due to a train-accident caused release of             fewer tank punctures than the tank cars
                                           probability that a car containing a                      product. Only twice—during the 2011                   that derailed in Arcadia, Ohio. The tank
                                           flammable cryogenic material such as                     incident in Moran, KS and the 2014                    cars involved in the Casselton and
                                           LNG will be involved should a                            incident in Mer Rouge, LA—did the                     Arcadia derailments had a tank
                                           derailment or other accident occur.                      inner tank of a DOT–113 tank car                      thickness of 7/16th inch. These
                                              PHMSA cannot predict the number of                    release product due to damage sustained               scenarios validate the extensive
                                           DOT–113C120W9 tank cars per train the                    during an accident. LNG transportation                modeling and simulations done and
                                           LNG market will support, but we know                     by rail in currently authorized                       provide evidence of the substantial
                                           that from ETS’s application for DOT–SP                   packaging also has a demonstrated,                    safety benefit of requiring an outer tank
                                           20534, that it has plans to operate unit                 albeit brief, safety history. Since LNG               thickness of 9/16th inch in the
                                           trains of at least 80 cars per train at                  was authorized to be shipped by rail in               construction of the DOT–113C120W
                                           some point in the future. With the                       T–75 UN containers, PHMSA and FRA                     tank car that is being authorized for the
                                           possibility of larger numbers of cars in                 have no record of any rail incidents                  transportation of LNG by rail in this
                                           LNG transportation, PHMSA and FRA                        involving these packagings.                           rule.
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                                                                                                             TABLE 3—COMPARISON OF DERAILMENTS
                                                                                                                                                                 Derailment location

                                                                                                             Guernsey, SK                                            Casselton, ND                                        Arcadia, OH

                                           Derailment date .............................     2/6/2020 ........................................        12/30/2013 ....................................          2/6/2011.
                                           Temp at Time of Derailment ..........             ¥18 °C (0 °F) ...............................            ¥18 °C (¥1 °F) ...........................               ¥4 °C (25 °F).
                                           Train speed (MPH) ........................        42 ..................................................    48 ..................................................    42.
                                           Type of cars (Specification) ...........          DOT 117J (286K) .........................                DOT 111 Legacy (263K) ..............                     DOT 111 Legacy (263K).
                                           Shell Thickness ..............................    9/16th inch ....................................         7/16th inch ....................................         7/16th inch.
                                           Total cars derailed .........................     32 ..................................................    20 ..................................................    32.
                                           Total cars breached .......................       8 ....................................................   19 ..................................................    30.
                                           Head Punctures .............................      0 ....................................................   3 ....................................................   10.
                                           Shell Punctures ..............................    5 ....................................................   13 ..................................................    16.
                                           Fittings Compromised ....................         3 ....................................................   10 ..................................................    13.
                                           Product(s) released .......................       UN 1267 Crude Oil .......................                UN 1267 Crude Oil .......................                UN 1987 Ethanol.
                                           Fire Occurred .................................   Yes ................................................     Yes ................................................     Yes.
                                           Thermal Ruptures ..........................       No .................................................     Yes ................................................     Yes.
                                           Approximate size of derailment                    900′L × 250′W (est) ......................               600′L × 600′W ..............................             1200′L × 450′W.
                                              area.
                                           General topography of derailment                  Flat field, raised RR bed ..............                 Flat/straight tangent track .............                Flat field, raised RR bed.
                                              area.



                                           6. Finite Element Modeling and                                      outer tank. The threshold puncture                                           thickness. Therefore, based on the
                                           Validation                                                          speed is the maximum speed at which                                          puncture tests and modeling, PHMSA
                                              FRA’s Research program, in                                       the tank car can be impacted under the                                       and FRA anticipate that increasing the
                                           coordination with PHMSA, funded the                                 prescribed conditions without resulting                                      outer tank thickness of the DOT–113
                                           development and continued refinement                                in a tear to the inner and outer tanks                                       from 7/16 to 9/16 (a 28.5% increase),
                                           of Finite Element (FE) Models for a                                 that would allow its lading to escape.                                       and requiring the use of the more
                                                                                                                 Results of recent tests and simulations                                    puncture-resistant TC–128B normalized
                                           variety of tank car specifications as well
                                                                                                               demonstrate the potential improvement                                        steel, will add about 20–30% to the
                                           as computer simulation of impacts and
                                                                                                               in crashworthiness from the outer tank                                       puncture resistance (i.e., reduction in
                                           derailments. FE modeling is a widely-
                                                                                                               enhancements set forth in this final rule.                                   number of punctures) of the DOT–
                                           used method for evaluating the effects of
                                                                                                               In November 2019 FRA conducted a                                             113C120W9.
                                           stresses on components or structures
                                                                                                               full-scale impact test of a DOT–                                                The above comparison of testing and
                                           and is used in the fields of structural
                                                                                                               113C120W tank car at TTC in Pueblo,                                          simulation results was used to
                                           analysis, heat transfer, and fluid flow.
                                                                                                               CO.23 According to the test report, the                                      determine the suitability of the DOT–
                                           Within the FRA research program,
                                                                                                               initial kinetic energy imparted to the                                       113 tank car for LNG service, as well as
                                           component and full scale tests results
                                                                                                               inner and outer tanks was about 2.8                                          to determine the increased safety gained
                                           are used to validate the computer
                                                                                                               Million ft.-lbs. Further, it is estimated                                    by using a 9/16th inch thick outer tank
                                           simulations and their assumptions and                               that the residual energy (after puncture
                                           boundary conditions. Full scale test                                                                                                             shell of TC–128 Grade B, normalized
                                                                                                               of the inner and outer tanks) was about                                      steel. Further, a similar model was
                                           results are compared to simulation                                  25% of the initial energy. Accordingly,
                                           results, including the overall force-time                                                                                                        created in the Hazardous Materials:
                                                                                                               the puncture energy of the DOT–113                                           Enhanced Tank Car Standards and
                                           or force-indentation histories, the                                 tank is about 75% of 2.8 Million ft.-lbs.,
                                           puncture/non-puncture outcomes, the                                                                                                              Operational Controls for High-Hazard
                                                                                                               or 2.1 Million ft.-lbs. A separate full-                                     Flammable Trains [HM–251, 80 FR
                                           rigid body motions of the tank car, the                             scale impact test was performed on a
                                           internal pressures within the lading,                                                                                                            26643] rulemaking to help evaluate how
                                                                                                               DOT–117J100W specification tank car                                          effectively the increased thickness
                                           and the energy absorbed by the tank                                 equipped with a jacket and thermal
                                           during the impact.                                                                                                                               improved on the DOT–111 tank car
                                                                                                               protection material. A review of the test
                                              The Volpe National Transportation                                                                                                             (predecessor to the DOT–117). The
                                                                                                               report suggests that the tank (made of
                                           Systems Center (Volpe Center) supports                                                                                                           results of that modeling were factored
                                                                                                               TC–128B normalized steel) absorbed an
                                           the FRA in this research effort, and has                                                                                                         into design of the current DOT–117
                                                                                                               energy of about 1.9 Million ft.-lbs.,
                                           performed pre- and post-test FE                                                                                                                  specification tank car which improved
                                                                                                               without puncture. The report also notes
                                           analyses corresponding to several                                                                                                                on the DOT–111 tank car design.
                                                                                                               that under those conditions, the tank
                                           component and full-scale shell impact                               was near puncture. PHMSA estimates                                           7. Loading and Preparation for Offering
                                           tests. Validated models and computer                                the puncture capacity of the DOT–117
                                           simulations are a necessary alternative                             car to be about 2 Million ft.-lbs.                                             In this final rule, PHMSA is adopting
                                           to full-scale impact testing which are                              Comparing the puncture capacities of                                         a 37.3 percent maximum filling density
                                           time consuming, expensive, and                                      the two tank specifications (DOT–113 @                                       for LNG, which will allow for
                                           challenging to perform.                                             2.1 Million ft.-lbs., and the DOT–117 @                                      approximately 2 percent outage below
                                              A primary purpose for a pre-test                                 2 Million ft.-lbs.), their performances are                                  the inlet of the pressure control valve to
                                           simulation is to estimate the threshold                             very similar, and that the DOT–113                                           prevent the venting of liquid material at
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                                           puncture speed of the test ram car. The                             might even have a slightly higher                                            start-to-discharge pressure, thus
                                           puncture speed of the tank car is the                               puncture resistance. The two tank cars                                       ensuring the safe transportation of LNG.
                                           speed at which, under the test                                      have about the same cumulative                                               In the NPRM, PHMSA proposed a 32.5
                                           conditions, the initial kinetic energy of                                                                                                        percent filling density. However,
                                           the ram car is equal to the energy                                    23 Full-Scale Shell Impact Test of a DOT–113                               PHMSA has determined a 37.3 percent
                                           necessary to puncture the inner and                                 Tank Car, RR 20–03, February 2020.                                           maximum filling density is appropriate


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                                           because it is consistent with outages                    pounds and up to 286,000 pounds. S–                   requirements of the HMR. These
                                           determined to be safe for LNG in other                   286 sets forth industry-tested practices              additional operational controls consist
                                           packagings such as MC–338 cargo tanks                    for designing, building, and operating                of requirements for:
                                           and UN T75 portable tanks. This                          rail cars at gross weights over 263,000                  • A two-way end-of-train (EOT)
                                           maximum filling density is also more                     pounds and up to 286,000 pounds. S–                   device or distributed power (DP) for
                                           conservative than maximum filling                        286 provides for the free interchange                 trains with 20 continuous tank cars of
                                           densities set in the HMR for other                       among carriers of cars built to meet its              LNG, or 35 tank cars of LNG throughout
                                           flammable cryogenic materials, which                     requirements.                                         the entire train;
                                           allows for 0.5 percent outage at the start-                 In this rulemaking, DOT–113 tank                      • Location and inner tank pressure
                                           to-discharge pressure. See                               cars in LNG service will be required to               monitoring for each tank car containing
                                           § 173.319(b)(1). Additionally, a 37.3                    have an outer tank that is 9/16th inch                LNG; and
                                           percent maximum filling density                          thick (after forming) and made from TC–                  • Compliance with § 172.820 route
                                           harmonizes with Canada’s                                 128 Grade B, normalized steel plate.                  planning requirements (i.e., rail
                                           Transportation of Dangerous Goods                        Depending on the specific design                      routing).
                                           (TDG) regulations which have been in                     characteristics of a tank car                            PHMSA and FRA believe that the
                                           place since 2015.                                        manufactures approved car design,                     current requirements of the HMR ensure
                                              PHMSA expects that any tank car                       PHMSA and FRA determined that                         a robust level of safety for the transport
                                           containing a cryogenic material will be                  simply the use of 9/16th inch TC–128,                 of LNG by rail that is further reinforced
                                           delivered to its destination within 20                   Grade B normalized steel for the outer                by widely-adopted voluntary industry
                                           days of offering, and requires                           tank would not increase the GRL above                 standards in AAR Circular OT–55.
                                           notification of any car that has not                     263,000 pounds; however, PHMSA and                    Additionally, the new operational
                                           reached its destination within this                      FRA understand that operators may                     controls in this final rule will add a still
                                           timeframe. See § 173.319(a)(3).                          select certain specification designs that             greater margin of safety to address the
                                           Therefore, PHMSA is adopting a 15 psig                   may place the rail car at a GRL over                  risks posed by LNG transportation in
                                           maximum offering pressure, as                            263,000 pounds.                                       DOT–113C120W tank cars.
                                           proposed, which is appropriate for the                      In an effort to maintain consistency
                                                                                                                                                          1. AAR Circular OT–55
                                           transportation of LNG and is consistent                  with FRA’s current approval (see 76 FR
                                           with the level of safety provided to                     4250, January 25, 2011) of newly                         AAR Circular OT–55 (OT–55) outlines
                                           other flammable cryogenic materials.                     manufactured railroad tank cars with a                operational controls for trains meeting
                                           The HMR do not prohibit shippers from                    GRL exceeding 263,000 pounds, this                    the industry definition of a ‘‘Key Train,’’
                                           offering a tank car of LNG at a lower                    final rule will amend the HMR to state                including speed restrictions, track
                                           pressure.                                                that tank cars manufactured for LNG                   requirements, storage requirements, and
                                                                                                    service after (the effective date of this             the designation of ‘‘Key Routes,’’ which
                                           8. Review Approval Provision to Exceed                                                                         are subject to additional inspection and
                                           Weight                                                   final rule) may be loaded to a maximum
                                                                                                    GRL of 286,000 provided the tank car                  equipment requirements. OT–55 defines
                                              On May 14, 2010, PHMSA published                      meets the following criteria:                         a ‘‘Key Train’’ as any train with:
                                           a final rule amending the HMR to                            1. Tank car is constructed in                         • One tank car load of Poison or
                                           incorporate provisions contained in                      accordance with S–286.                                Toxic Inhalation Hazard (PIH or TIH)
                                           several widely used or longstanding                         2. The outer shell and heads are                   (Hazard Zone A, B, C, or D), anhydrous
                                           special permits that have an established                 constructed with TC–128 Grade B,                      ammonia (UN1005), or ammonia
                                           safety record. The final rule, Hazardous                 normalized steel.                                     solutions (UN3318);
                                           Materials: Incorporation of Special                         This aligns with the action PHMSA                     • 20 car loads or intermodal portable
                                           Permits into Regulations (75 FR 27205,                   and FRA took when creating the DOT–                   tank loads of any combination of
                                           May 14, 2010), in part, amended the                      117 specification and does not place a                hazardous material, or;
                                           HMR to allow certain rail tank cars                      new burden on tank car manufacturers.                    • One or more car loads of Spent
                                           transporting hazardous materials to                      A tank car manufacturer may therefore                 Nuclear Fuel (SNF), High Level
                                           exceed the gross weight on rail                          consider their design ‘‘approved’’                    Radioactive Waste (HLRW).
                                           limitation of 263,000 pounds upon                        provided it meets the two conditions                     Key Trains have a maximum speed of
                                           approval of the FRA. On January 25,                      above, with no application to FRA or                  50 mph. If a defect to a rail car (e.g.,
                                           2011, the FRA published a notice (76 FR                  PHMSA required.                                       hanging equipment) is reported by a
                                           4250) of FRA’s approval pursuant to the                                                                        wayside detector but not confirmed by
                                           Final Rule of the operation of certain                   C. Additional Operational Controls for                visual inspection, the maximum speed
                                           tank cars in hazardous materials service                 LNG Transportation                                    is reduced to 30 mph. Circular OT–55
                                           that exceed 263,000 pounds and weigh                        In the NPRM, PHMSA proposed to                     defines a ‘‘Key Route’’ as ‘‘any track
                                           up to 286,000 pounds gross rail load                     rely on the operational controls already              with a combination of 10,000 car loads
                                           (GRL). In 2002, AAR adopted a revised                    required in the HMR for the                           or intermodal portable tank loads of
                                           industry standard related to railroad                    transportation by rail of other flammable             hazardous materials, or a combination
                                           freight cars weighing over 263,000                       cryogenic materials, and invited                      of 4,000 car loadings of PIH or TIH
                                           pounds GRL and weighing up to                            comment on whether additional                         (Hazard zone A, B, C, or D), anhydrous
                                           286,000 pounds. This revised industry                    operational controls may be warranted.                ammonia, flammable gas, Class 1.1 or
                                           standard, AAR Standard S–286 (adopted                    PHMSA encouraged commenters to                        1.2 explosives, environmentally
                                           2002, revised 2003, 2005, 2006), Free/                   provide data on the safety or economic                sensitive chemicals, Spent Nuclear Fuel
                                           Unrestricted Interchange for 286,000                     impacts associated with any proposed                  (SNF), and High Level Radioactive
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                                           pound GRL Cars (S–286), is applicable                    operational controls, including analysis              Waste (HLRW) over a period of one
                                           to rail freight cars manufactured, rebuilt               of the safety justification or cost impact            year.’’ OT–55 states that ‘‘main tracks on
                                           or modified on or after January 1, 2003,                 of implementing operational controls.                 ‘Key Routes’ must be inspected by rail
                                           and is the existing industry standard for                   In this final rule, PHMSA is amending              defect detection and track geometry
                                           designing, building, and operating rail                  the HMR to adopt operational controls                 inspection cars or any equivalent level
                                           cars at gross weights over 263,000                       beyond the current extensive                          of inspection no less than two times


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                                           each year; sidings are similarly                         compliance with Federal regulations,                  § 172.820 (i.e., rail routing). While the
                                           inspected no less than one time each                     and to enhance significantly employee                 general operational controls in the
                                           year; and main track and sidings will                    safety and the safety of the communities              HMR, as supplemented by the
                                           have periodic track inspections that will                through which the railroads operate.                  widespread, voluntary practices
                                           identify cracks or breaks in joint bars.’’               The HM–1 may be implemented as                        governing Key Trains in Circular OT–
                                           Finally, OT–55 states that ‘‘wayside                     published, or it may be modified by an                55, provide robust protections against
                                           defective bearing detectors shall be                     individual railroad to be consistent with             derailment and other accidents (and by
                                           placed at a maximum of 40 miles apart                    its unique operating rules and practices.             extension, a loss of package integrity
                                           on ‘‘Key Routes,’’ or equivalent level of                   Through its enforcement activities,                resulting from the same) involving train
                                           protection may be installed based on                     FRA verifies that each railroad has                   configurations with only a handful of
                                           improvements in technology.’’ These                      established operating rules governing                 tank cars, PHMSA believes that the
                                           recommended practices were originally                    the safe transportation of hazardous                  additional operational controls
                                           implemented by all major Class I rail                    materials, and utilizes those instructions            established by this final rule will ensure
                                           carriers operating in the United States,                 to enforce that railroad’s compliance                 safe transportation of LNG regardless of
                                           with smaller short-line railroads                        with the Federal operating and                        train configuration. As explained
                                           following on as signatories.                             hazardous materials transportation                    earlier, trains currently transport to
                                              While PHMSA did not propose to                        regulations.                                          three DOT–113 tank cars of flammable
                                           incorporate by reference OT–55 or to                        In accordance with the ‘‘Key Train’’               cryogenic materials (such as ethylene)
                                           adopt the requirements for ‘‘Key Trains’’                definition and the changes being                      in mixed commodity freight trains.
                                           in the HMR, the railroad industry’s                      adopted, OT–55’s operational controls                 However, if the market for rail
                                           widespread, voluntary adoption of the                    would apply to the bulk transport of                  transportation of LNG evolves to
                                           circular is an important consideration                   LNG by rail in a train that is composed               include movement of LNG in larger
                                           for PHMSA in assessing the need for                      of 20 car loads or intermodal portable                quantities (in blocks of cars or unit
                                           prescribing additional operational                       tank loads in which LNG is present                    configurations) within each train, there
                                           controls by regulation. AAR first                        along with any combination of other                   is a higher probability that, should a
                                           published Circular No. OT–55 in                          hazardous materials. Due to the                       derailment occur, one or more cars
                                           January 1990 to document                                 operational controls required for ‘‘Key               containing LNG would be involved and
                                           recommended railroad operating                           Trains,’’ Circular OT–55 provides an                  would be breached.
                                           practices for the transportation of                      additional level of safety regardless of                 The additional operational controls
                                           hazardous materials. The first issue of                  what combination of hazardous                         will decrease the likelihood and severity
                                           the circular included recommended                        materials the train is transporting.                  of derailments (DP/EOT device);
                                           mainline and yard operating practices,                   PHMSA and FRA believe this industry                   decrease the likelihood that an LNG
                                           designation of key routes, proposed                      standard reduces the risk of derailments              tank car is lost in transport (location
                                           separations from hazmat storage areas,                   and collisions and therefore decreases                monitoring); increase the likelihood that
                                           training of transportation employees,                    the risk involved in the transportation of            the railroad is notified immediately in
                                           and implementation of TRANSCAER®.                        all hazardous materials, including LNG.               the unlikely event that a tank car
                                           TRANSCAER® is a national community                          PHMSA and FRA note that the                        experiences unsafe conditions during
                                           outreach program that works to improve                   hazardous materials operating                         transportation (pressure monitoring);
                                           community awareness, emergency                           instructions from Circular OT–55–Q, the               and reduce the severity of the
                                           planning and incident response for the                   most recent edition, have been                        consequences in a derailment scenario
                                           transportation of hazardous materials,                   incorporated into railroads’ (carriers’)              by requiring that railroads transport
                                           criteria for shipper notification, and                   operating rules. Furthermore, FRA                     LNG on the safest route available to
                                           procedures for handling time sensitive                   regularly performs reviews of railroads               them (rail routing and risk assessment).
                                           materials. Over the past 30 years, OT–                   and their operating rules and are not                 Over a DOT–113 tank car’s expected 50-
                                           55 has been routinely revised as needed                  aware of any instances in which a                     year service life, the use of DP/EOT
                                           to incorporate technological                             railroad is failing to adhere to Circular             devices for block carriage and unit
                                           developments and other changes in                        OT–55 when operating ‘‘Key Trains.’’                  trains, remote monitoring, and risk-
                                           industry practice concerning the safe                                                                          based routing of trains transporting LNG
                                           transportation of hazardous materials.                   2. Additional Operational Controls in                 will help ensure the transportation
                                           For instance, OT–55 has adopted                          the Final Rule                                        safety of LNG on the rail transportation
                                           revisions to AAR’s interchange                              In this final rule, PHMSA is adopting              network.
                                           standards, and technology                                several additional operational controls:                 Enhanced braking requirements can
                                           advancements such as the use of                             (1) Trains with a block of 20 loaded               result in accident avoidance and can
                                           electronic emergency response                            tank cars of LNG, or 35 loaded tank cars              lessen the consequences of an accident
                                           information to provide timely and                        of LNG throughout the entire train, are               by more quickly slowing the train and
                                           reliable information to emergency                        required to be equipped with an EOT                   decreasing the energy of impacts by
                                           responders.                                              device or DP.24                                       reducing the number of tank cars
                                              To further promote compliance with                       (2) Each loaded tank car containing                affected by a potential derailment.
                                           the recommended practices outlined in                    LNG must be monitored for location and                PHMSA decided on the HHFT threshold
                                           OT–55, and compliance with Federal                       tank pressure by the offeror and notify               (i.e., a continuous block of 20 loaded
                                           transportation laws, the rail industry                   the carrier if the tank pressure rises by             LNG tank cars or 35 loaded LNG tank
                                           developed and published the United                       more than 3 psig in any 24-hour period.               cars throughout the train) based on the
                                           States Hazardous Materials Instructions                     (3) Each carrier operating trains                  effectiveness of this existing
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                                           for Rail, commonly referred to as ‘‘HM–                  carrying a loaded tank car of LNG must                requirement for flammable liquids in
                                           1.’’ The purpose of the HM–1 is to                       perform additional planning                           rail transportation. PHMSA reviewed
                                           provide the rail industry with uniform                   requirements in accordance with                       the possibility of requiring
                                           hazardous materials operating rules that                                                                       electronically controlled pneumatic
                                           railroads can implement and                                24 See Section IV, B. Operational Controls, 1.      (ECP) braking on cars meeting the above
                                           consistently apply to support                            Braking and Routing for further discussion.           threshold, but determined that ECP


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                                           brakes are not a practical alternative                    managing route-based risks associated                 immediately to the rail carrier and the
                                           given that ECP brakes are not cost                        with LNG transportation by rail. FRA                  closest emergency responders.
                                           justified when applied to unit train                      regularly conducts evaluations of a                      With respect to train length and
                                           configurations in the HHFT                                railroad’s route risk assessment                      weight limitations, PHMSA determined
                                           environment. See HM–251F; 83 FR                           requirements to ensure adherence to the               that there should not be a maximum for
                                           48393 (Sept. 25, 2019).25                                 requirement.                                          either in this rulemaking. PHMSA notes
                                              Given the availability of existing                        Requirements of the route analysis                 that the HMR do not limit the number
                                           braking technologies, PHMSA is                            measures for a rail carrier include:                  of shipments a shipper can offer into
                                           requiring advanced braking in the form                       • Compilation of commodity                         transportation, nor do the HMR restrict
                                           of a two-way EOT device or,                               transportation data;                                  the number or type of hazardous
                                           alternatively, a linked and operational                      • Analysis of safety and security risks            materials rail cars that a carrier can
                                           DP system located at the rear of the                      for transportation route(s);                          transport in a train. An individual
                                           train. A two-way EOT device or DP                            • Identification and analysis of                   railroad’s appropriate train operating
                                           system is more effective than                             potential alternate route(s); and                     lengths are based on multiple factors,
                                           conventional brakes because a                                • Based on the above data, selection               including, but not limited to, track
                                           locomotive engineer can initiate an                       of the practicable route posing the least             profile, train make-up, train dynamics,
                                           emergency brake application from the                      overall safety and security risk.                     and crew training. Due to these and
                                           front and rear of the train, which can                       By expanding the existing route                    other unique factors that influence a
                                           reduce stopping distances and lessen in-                                                                        specific railroad’s operation, PHMSA
                                                                                                     analysis and consultation requirements
                                           train forces that can cause or contribute                                                                       and FRA conclude that determination of
                                                                                                     of § 172.820 to include LNG by tank car,
                                           to the severity of certain derailments.                                                                         appropriate train lengths is best left to
                                                                                                     PHMSA is incorporating additional
                                           These advanced braking requirements                                                                             the individual railroads.
                                                                                                     safety elements that are available within                Regarding separation distance, which
                                           are consistent with the current
                                                                                                     the overall hazardous materials                       is the number of non-placarded rail cars
                                           requirements for HHFTs, which apply to
                                                                                                     regulatory scheme. It is worth noting                 between a locomotive or occupied
                                           Class 3 flammable liquids that are
                                                                                                     that routing requirements were not                    caboose and railcars containing
                                           transported in a single block of twenty
                                                                                                     mandated in the special permit issued                 hazardous materials (see § 174.85),
                                           cars or 35 cars dispersed throughout a
                                                                                                     to ETS because the permit is issued to                PHMSA has concluded that it is
                                           single train.26
                                              The requirement to remotely monitor                    a shipper rather than a rail carrier who              appropriate to maintain the current
                                           a tank car containing LNG will allow                      is ultimately responsible for the route               requirement at this time, pending
                                           shippers and carriers to better identify                  risk analysis. In this final rule, there is           further study of the issue. Non-
                                           adverse conditions and prevent a non-                     no limitation on specific origins and                 placarded rail cars are rail cars that do
                                           accidental release of LNG while in                        destinations, thereby necessitating                   not contain an amount of hazardous
                                           transportation. Moreover, the                             routing and risk analysis under                       material that require placarding (see 49
                                           requirements in this final rule allow for                 § 172.820. Some of the operational                    CFR part 172 subpart F for additional
                                           flexibility for shippers and carriers in                  controls included in special permit                   information about placarding
                                           determining how to best monitor the                       DOT–SP 20534 were not adopted or                      requirements). The current requirement
                                           location of the tank cars and pressure                    were revised in the final rule. The                   for a flammable gas, like LNG, requires
                                           within the inner tank. PHMSA and FRA                      requirement to submit a plan providing                a separation distance of five cars
                                           expect that the industry will develop                     per shipment quantities, timelines, etc.,             between the engine and placarded tank
                                           standard practices and implement                          was included in DOT–SP 20534 in order                 car, when train length permits. If train
                                           technologies to meet the HMR                              to gather more information about the                  length does not permit a separation
                                           performance standard for monitoring.                      movement of the material. This                        distance of five cars, the tank car(s)
                                              PHMSA is also adopting routing                         requirement is not feasible for a broadly             must be placed near the middle of the
                                           requirements in § 172.820 to further                      applicable regulatory authorization. In               train, but not nearer than the second car
                                           reduce the risk of a train accident. This                 this final rule, PHMSA applied the                    from an engine or occupied caboose.
                                           amendment requires railroads to                           HHFT criteria in reaching its                         These long-standing separation distance
                                           evaluate safety and security risk factors                 determination to require the same                     requirements protect train crews from
                                           when assessing the potential routes to                    braking requirements for LNG                          the releases of hazardous materials in
                                           be used to transport LNG. The 27 safety                   transportation. After review of the                   accident conditions. PHMSA and FRA
                                           and security risk factors set forth in                    comments and the safety history of                    collaborated under the scope of the Rail
                                           Appendix D of Part 172 against which                      flammable liquid HHFTs, PHMSA                         Safety Advisory Committee Hazardous
                                           carriers evaluate their routes provide a                  concludes that this is best option to                 Materials Issues Working Group Task
                                           robust framework for identifying and                      ensure safe movement of LNG. In the                   No. 15–04 to consider the separation
                                                                                                     final rule, the remote monitoring                     distance issue.
                                              25 PHMSA notes that while this rulemaking does         requirements are different than what                     Ultimately, due to an absence of
                                           not prohibit LNG rail transportation in unit trains,      was included in the DOT–SP 20534                      consensus of the Working Group
                                           the likelihood is low that there will be LNG unit         because PHMSA does not believe that                   participants, as well as a lack of
                                           trains, at least initially. Development of the
                                           necessary infrastructure, especially construction of      direct monitoring for leaks is necessary.             established incident data, the members
                                           DOT–113C120W9 tank cars, to transport LNG by              Monitoring for tank pressure and tank                 did not reach agreement on a change to
                                           railroad, particularly by unit trains, demands            car location parameters will sufficiently             the existing regulation governing
                                           significant financial investment, long term               inform the offeror of the tank car’s                  hazardous materials in train separation
                                           commitment, and considerable planning. LNG tank
                                           car fleets would need to be built, and there is a limit   location and condition and allow                      distances. Moreover, PHMSA worked
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                                           to the construction capacity of the industry. As a        notification to the carrier should an                 with the Volpe Center in its review of
                                           result, FRA anticipates that industry will transport      undesirable condition occur. For                      rail accidents occurring between 2006
                                           LNG in smaller configurations, at least until             example, registering and notification of              and 2015 where there was a release of
                                           infrastructure is in place to allow for unit train
                                           service.                                                  an unexpected decrease in pressure                    hazardous materials near the head end
                                              26 See Section IV, B. Operational Controls, 1.         could likely indicate a methane release               of the train (occupied locomotive). The
                                           Braking and Routing for a more detailed discussion.       and could be communicated                             review found no reported crew injuries


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                                           and therefore no injuries that were                                          identifies gaps in the existing studies,                                      IV. Summary and Discussion of
                                           potentially preventable with additional                                      areas for further research, and what                                          Comments to the Rulemaking Docket
                                           buffer cars.                                                                 conclusions can be drawn collectively
                                             Extensive research exists on                                               from the existing knowledge base, if                                             The NPRM comment period closed on
                                           separation distance of hazardous                                             any. PHMSA may consider changes to                                            January 13, 2020. PHMSA received 445
                                           materials from train crews and                                               the separation distance requirements in                                       comment submissions 28 to the
                                           locomotives, and other hazardous                                             § 174.85 of the HMR for placarded rail                                        rulemaking docket through the extended
                                           materials in a train. PHMSA has                                              cars and tank cars in mixed commodity                                         comment period. PHMSA considered all
                                           initiated a research project in                                                                                                                            comments in the development of this
                                                                                                                        freight train and unit train
                                           coordination with the John A. Volpe                                                                                                                        final rule. The comments submitted to
                                                                                                                        configurations pending the outcome of
                                           National Transportation Systems Center                                                                                                                     this docket may be accessed via http://
                                                                                                                        the study.
                                           (Volpe Center) as an initial step in                                                                                                                       www.regulations.gov. The following
                                           addressing NTSB Safety                                                          In consideration of the foregoing,                                         table categorizes the commenters by
                                           Recommendations R–17–1 and –2.27                                             PHMSA is not amending the separation                                          background:
                                           This effort will result in a report that                                     distance requirement in this final rule.

                                                                                                                               TABLE 4—NPRM COMMENTERS
                                                                Commenter background                                                Count                                            Description and examples of category

                                           Non-Government Organizations ...............................                                       27       Environmental Groups (17); Emergency Response Organizations (6); Other
                                                                                                                                                         (4).
                                           Governments .............................................................                         15        Local (6); State (6); Federal (2); Tribal (1).
                                           Private Individuals .....................................................                        391
                                           Industry Stakeholders ...............................................                             12        Tank Car Manufacturers (1); Trade Associations (10); Shippers (1).



                                             PHMSA received comments relating                                           These comments are summarized and                                             use in the transportation of LNG by rail
                                           to tank car design, operational controls,                                    discussed in greater detail below.                                            and to amend the ‘‘Pressure Control
                                           emergency response, and potential                                            A. Tank Car Design                                                            Valve Setting or Relief Valve Setting’’
                                           environmental and economic impacts.                                                                                                                        Table in § 173.319(d)(2) by adding a
                                                                                                                          In the NPRM, PHMSA proposed to                                              column for methane as follows:
                                                                                                                        authorize DOT–113C120W tank cars for
                                                                          TABLE 5—PROPOSED PRESSURE CONTROL VALVE SETTING OR RELIEF VALVE SETTING
                                                                                                                                                                      Maximum permitted filling density
                                               Maximum start-to-discharge pressure                                                                                         (percent by weight)
                                                             (psig)
                                                                                                                            Ethylene                         Ethylene                    Ethylene                         Hydrogen                        Methane

                                           17 ...............................................................     ..................................    .........................   .........................   6.60.
                                           45 ...............................................................     52.8.
                                           75 ...............................................................     ..................................   51.1 .................       51.1 .................      ....................................   32.5.
                                           Maximum pressure when offered for trans-                               10 psig .....................        20 psig ............         20 psig ............        ....................................   15 psig.
                                             portation.
                                           Design service temperature .......................                     Minus 260 °F ...........             Minus 260 °F ..              Minus 155 °F ..             Minus 423 °F .............             Minus 260 °F.
                                           Specification (§ 180.507(b)(3) of this sub-                            113D60W, 113C60W                     113C120W ......              113D120W ......             113A175W, 113A60W                      113C120W.
                                             chapter).



                                              As discussed in the summary of                                            reclosing PRV, the inlet to the valve                                         average daily pressure rise of 0.75 to 1.5
                                           amendments in this final rule in Section                                     would successfully vent vapor to relieve                                      psig as indicated by industry, even if the
                                           III, the start-to-discharge pressure                                         further pressure buildup. That is, the                                        FRA notification requirement for tank
                                           setting, filling density, maximum                                            combination of these conditions (the                                          cars in transportation for over 20 days
                                           offering pressure, and the thermal                                           start-to-discharge pressure setting,                                          is reached, the tank would see only a 15
                                           characteristics of the DOT–113 tank car                                      filling density, maximum offering                                             to 30 psig pressure increase—meaning
                                           in § 173.319 were selected to allow                                          pressure, and the thermal characteristics                                     there would still be a 30 to 45 psig
                                           enough holding time (including loading,                                      of the DOT–113C120W) acts as a safety                                         buffer remaining before venting occurs
                                           transit, storage incidental to movement,                                     measure to prevent activation of the                                          (or an aggregate 20 to 60 days of holding
                                           and unloading) such that the inner tank                                      PRV under normal conditions of                                                time). Please see Section III. B. ‘‘The
                                           would not experience a pressure rise                                         transport. At the maximum offering                                            DOT–113C120W Specification Tank
                                           sufficient to activate the reclosing PRV                                     pressure of 15 psig and the start-to-                                         Car’’ for additional details on the
                                           during conditions normally incident to                                       discharge pressure setting of 75 psig for                                     offering pressure, set-to-discharge
                                           transportation. Additionally, if the                                         the reclosing PRV adopted in this final
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                                                                                                                                                                                                      pressure, and the revised filling density
                                           pressure in the inner tank were to reach                                     rule, the tank car has a 60 psig pressure                                     requirements for LNG in this final rule.
                                           the start-to-discharge pressure of the                                       range before venting occurs. Using an

                                             27 https://www.ntsb.gov/safety/safety-recs/                                  28 Some comment submissions noted additional

                                           recletters/R-17-001-002.pdf                                                  signatories. Those were considered in the
                                                                                                                        development of the final rule.


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                                              PHMSA received numerous                               transportation of LNG. The Governor of                undermines PHMSA’s statement that
                                           comments about the tank car design for                   Washington State, on behalf of                        highway transportation is less safe than
                                           the transportation of LNG by rail, which                 Washington State, claimed that                        rail transportation. Furthermore, the
                                           it sorted into the following subtopics:                  PHMSA’s assertion of a demonstrated                   Center requested that PHMSA consider
                                             1. General Suitability of the DOT–                     safety record for DOT–113 tank cars is                the specific issues surrounding LNG
                                           113C120W Specification Tank Car;                         baseless without a completed risk                     tank cars, such as the placement of
                                             2. Crashworthiness Assessment/Field                    assessment, because LNG is not                        valves and other appendages that may
                                           Tests;                                                   currently authorized for transportation               be sheared off during a derailment; the
                                             3. High Nickel Steels;                                 in DOT–113 tank cars and PHMSA and                    puncture resistance of the tank car and
                                             4. Maximum Permitted Filling Density;                  FRA may not be aware of every incident                potential jacketing to prevent punctures;
                                             5. Maximum Pressure When Offered;                      involving these cars. The Surfrider                   the heat resistance of LNG tank cars to
                                             6. Insulation;                                                                                               prevent explosions from fires during
                                             7. Maximum Gross Rail Weight; and
                                                                                                    Foundation noted its belief that the
                                             8. The DOT–113C140W Tank Car                           proposed tank cars were never designed                derailments; and braking requirements
                                           Specification.                                           or intended to be used for the transport              that are adequate for the weight of LNG
                                              In this section, PHMSA responds to                    of LNG. Likewise, the California Public               tank cars.
                                           15 sets of substantive comments related                  Utilities Commission (CPUC) expressed                    With respect to concerns about the
                                           to tank car design for LNG                               concern that PHMSA is moving forward                  potential for explosions, the IAFC noted
                                           transportation.                                          with a deregulatory action without                    that the DOT–113 tank car is
                                                                                                    proper evaluation. CPUC also stated that              specifically designed to prevent a
                                           1. General Suitability of the DOT–                       transporting LNG in DOT–113 tank cars                 boiling liquid expanding vapor
                                           113C120W Specification Tank Car                          poses an unacceptable risk, further                   explosion (BLEVE) and that in the event
                                              PHMSA received various comments                       noting that an increase in pressure                   of an accident, the LNG would initially
                                           regarding the general safety of the tank                 could trigger venting and that exposure               spread before either warming or
                                           car design as proposed in the NPRM.                      of the newly vented gas to a heat source              freezing. They further noted that if the
                                           Notably, the Railway Supply Institute                    could result in an expanded fire or                   released LNG were to catch fire, it
                                           Committee on Tank Cars (RSI–CTC)                         secondary explosion. Finally, CPUC also               would most likely be limited to the
                                           cited the regulatory history of the DOT–                 stated that the proposed modification to              contents of the specific tank car that
                                           113C120W as an indication that DOT                       the HMR to authorize a DOT–113 tank                   experienced the release, rather than
                                           previously considered it for the                         car would be untested and that this is                spreading to the other tank cars.
                                           transport of LNG and that the                            inconsistent with PHMSA’s mission for                 However, Earthjustice 30 expressed
                                           specification itself was originally                      safety.                                               concern regarding two LNG motor
                                           designed to accommodate cryogenic                                                                              vehicle accidents in Spain where a
                                                                                                       Furthermore, various commenters—                   BLEVE was observed, and Physicians
                                           materials, like LNG. RSI–CTC noted that                  including the New York State
                                           the Hazardous Materials Regulations                                                                            for Social Responsibility (PSR) noted
                                                                                                    Department of Transportation (NYDOT),                 that no test data or mathematical models
                                           Board, a predecessor agency to PHMSA,                    the New York State Department of
                                           published a notice in the Federal                                                                              exist to predict whether and when a
                                                                                                    Environmental Conservation (NYDEC),                   LNG tank car exposed to an external fire
                                           Register in 1971 as part of the HM–91 29                 the New York State Division of
                                           rulemaking docket indicating that the                                                                          would undergo a BLEVE.
                                                                                                    Homeland Security and Emergency
                                           agency was ‘‘considering amendment of                    Services (NYDHSES), and the NTSB—                     PHMSA Response
                                           the Department’s Hazardous Materials                     stated their belief that the limited                    PHMSA agrees with RSI–CTC’s
                                           Regulations to provide for the shipment                  number of incidents involving DOT–113                 comment and notes that the HM–91
                                           of ethylene, hydrogen, methane, [and]                    tank cars does not provide adequate                   rulemaking specifically considered that
                                           natural gas . . . in a cold liquefied gas                evidence to ensure that they are safe for             ‘‘methane, liquefied’’ (as referenced in
                                           state in certain tank cars.’’ RSI–CTC                    the transportation of LNG. These                      the rulemaking) could be shipped in a
                                           further commented that the delimiter                     commenters expressed that the sample                  DOT–113C120W specification tank car.
                                           letter ‘‘C’’ indicates that DOT–                         size of crashes is too small given the low              The safety history of DOT–113C120W
                                           113C120W tank cars were specifically                     number of DOT–113 tank cars in                        tank cars is sufficient to draw a
                                           designed for the safe transportation of                  existence, and therefore, they requested              conclusion that these tank cars are
                                           cryogenic materials like LNG. They also                  additional research on the suitability of             appropriate for the bulk transportation
                                           pointed out that these cars are subject to               these tank cars for LNG service.                      of LNG. Please refer to our discussion
                                           additional operating requirements,                       Similarly, a group of environmental                   on the DOT–113C120W tank car in
                                           namely thermal integrity and in-transit                  protection NGOs expressed their belief                Section III. B. ‘‘The DOT–113C120W
                                           reporting requirements, which have led                   that PHMSA failed to provide analysis                 Specification Tank Car’’ for further
                                           to a strong safety record of over 50                     to justify its claim that the current                 details. Also, please note that PHMSA is
                                           years. Similarly, the International                      known safety record of DOT–113 rail                   enhancing this already suitable
                                           Association of Fire Chiefs (IAFC) agreed                 cars provides a meaningful comparison                 packaging with additional outer tank
                                           with the NPRM’s proposal to use DOT–                     to their understanding of planned large-              requirements to improve
                                           113 tank cars, noting that other                         scale shipments of 100-car trains of LNG              crashworthiness. Although the HM–91
                                           refrigerated liquids are transported                     throughout the United States. They                    rulemaking published October 16, 1971
                                           safely using this specification.                         further commented that PHMSA did not                  [36 FR 20166] and docket was
                                              Other commenters expressed concern                    provide adequate data or analysis to                  subsequently withdrawn, PHMSA
                                           over the tank car design, stating that                   support its conclusions about how                     subsequently undertook a separate
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                                           there is a lack of testing on the                        DOT–113 tank cars and their cargoes                   rulemaking published March 1, 1974
                                           suitability of the tank car for the                      will behave in a potential crash on main
                                                                                                                                                             30 Earthjustice’s January 14, 2020 comment was
                                             29 https://www.phmsa.dot.gov/sites/
                                                                                                    line rail routes. Additionally, they
                                                                                                                                                          filed on behalf for the Center, Clean Air Council,
                                           phmsa.dot.gov/files/docs/standards-rulemaking/
                                                                                                    asserted that PHMSA failed to provide                 Delaware Riverkeeper Network, Environmental
                                           rulemakings/archived-rulemakings/67251/36fr-             data on the risk of cascading failure of              Confederation of Southwest Florida, Mountain
                                           20166.pdf.                                               tank cars, noting that the lack of data               Watershed Association, and Sierra Club.



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                                           [HM–115, 44 FR 12826] to authorize the                   and subsequent ignition of the vapor                  insulation systems that are built into
                                           transport of a flammable cryogenic                       cloud. Direct contact by flames on the                each car. It is not possible to state with
                                           material (ethylene) in DOT–113C120W                      inner tank of a DOT–113 is significantly              certainty whether a BLEVE is possible
                                           specification tank cars. While methane                   less likely due to the more robust design             in the case of a LNG tank car
                                           (i.e., LNG) was not authorized for                       of the DOT–113 tank car.                              derailment, and what conditions need to
                                           transport in that later rulemaking, there                   In response to comments from CPUC                  be present for such an event to occur.
                                           is no indication in the record that the                  and members of the public, PHMSA                      However, in a full-scale test 33
                                           omission was due to safety concerns.                     notes that venting of a flammable                     conducted in 2018, a double walled
                                              With respect to Earthjustice’s concern,               cryogenic material, other than that                   portable cryogenic tank was filled with
                                           the above BLEVE incidents that                           caused by an accident, is prohibited,                 liquid nitrogen (and PRDs operated as
                                           occurred in Tivissa, Catalonia, Spain 31                 and is unlikely to occur given the DOT–               designed) and exposed to a greater than
                                           and Zarzalico, Murcia, Spain 32 with                     113C120W tank car’s safety features and               200-minute engulfing propane pool fire.
                                           cargo tank motor vehicles transporting                   operational controls to expedite the                  The tank was neither destroyed nor did
                                           LNG do not serve as an appropriate                       movement of flammable cryogenic                       a BLEVE occur.
                                           comparison to LNG rail tank cars. The                    materials. Although there may be rare                    Based on the suitability of the DOT–
                                           tanks involved in these incidents had a                  instances as a result of offeror’s failure            113 design and material of construction
                                           single inner steel tank covered by an                    to properly operate or maintain the                   for cryogenic material, safety history of
                                           envelope of polyurethane foam and a                      pressure relief system, this concern is               the car, and the existing framework in
                                           lacquered aluminum jacket as opposed                     adequately addressed by existing HMR                  the HMR for hazard communication and
                                           to the tank-within-a-tank design of the                  requirements for monitoring the average               operational control, PHMSA concludes
                                           DOT–113C120W tank car consisting of                      daily pressure rise, requirements for                 that the DOT–113C120W tank car is a
                                           an inner and outer tank made of steel.                   routine maintenance of PRDs, and the                  safe packaging to transport LNG by rail.
                                           Although the cargo tanks involved in                     supplemental requirement adopted in                   PHMSA has evaluated years of LNG
                                           the incidents were both constructed of                   this final rule to monitor the pressure in            transportation via other modes and
                                           304L stainless steel, the insulation                     the tank remotely so that the shipper                 packagings, both international and
                                           material and the outer jacket                            will be aware of issues that may result               domestic, to help assess the potential
                                           (constructed of 2mm (0.080 in) of                        in venting before the tank car reaches its            risks of LNG by rail resulting in our
                                           aluminum) held no vacuum. Neither the                    destination. Please see our discussion of             determination that the containment
                                           polyurethane insulation nor the thin                     existing operational controls in the                  vessel is an equally safe alternative.
                                           aluminum, which were used in the                         HMR and the tank car design features in               PHMSA reaffirms that the DOT–113
                                           construction and design of the outer                     Section III. ‘‘Amendments to the                      tank car is suitable for use in LNG
                                           tanks, are particularly fire resistant.                  Hazardous Materials Regulations                       service, as it has a demonstrated safety
                                           Therefore, these envelopes around the                    Adopted in this Final Rule’’ of this final            record of over 50 years in the service of
                                           tanks provided little fire protection in                 rule for further discussion of the                    similar flammable cryogenic materials.
                                           the accident scenarios.                                  existing framework that ensures safe,
                                                                                                                                                          2. Crashworthiness Assessment/Field
                                              Conversely, the DOT–113C120W tank                     expedited movement of flammable
                                                                                                                                                          Tests
                                           car has a steel outer tank and a multi-                  cryogenic materials like LNG.
                                           layer insulation system, and is                             CPUC’s comment brought up                             PHMSA received various comments
                                           significantly superior in terms of both                  concerns over potential secondary fires               regarding the crashworthiness and
                                           impact and fire resistance than the cargo                caused by the release of LNG from a                   general field testing of the DOT–
                                           tanks involved in the Spanish incidents.                 tank car due to exposure to fire, and                 113C120W tank car. Notably, NTSB and
                                           The annular space of the DOT–113                         BLEVEs of tank cars exposed to fire. As               other commenters requested that
                                           design works in combination with a                       stated in the NPRM, DOT–113                           PHMSA and FRA complete a thorough
                                           properly functioning pressure relief                     specification tank cars are inherently                crashworthiness and safety assessment
                                           system to diminish the likelihood of a                   more robust when compared to other                    of the DOT–113C120W tank car
                                           high-energy event such as a BLEVE.                       specification tank cars, due to their                 specification prior to authorizing it for
                                           Also, in the case of the Zarzalico                       unique design, materials of                           LNG service. Further, they stated that
                                                                                                    construction, and their specific purpose              relying on data for the accident history
                                           accident, a significant portion of the
                                                                                                    to transport cryogenic materials. The                 of similar hazardous materials
                                           insulation was destroyed by the fire,
                                                                                                    tank-within-a-tank design of the DOT–                 transported in the small fleet of DOT–
                                           and in both cases the tank containing
                                                                                                    113 specification tank car reduces the                113 tank cars (as was done in the
                                           the LNG was directly exposed to the
                                                                                                    probability of cascading failures of other            NPRM) or making engineering
                                           fire. Direct contact by flames resulted in
                                                                                                    undamaged DOT–113 specification tank                  assumptions based on the performance
                                           increased pressure in the tank, followed
                                                                                                    cars being transported in a block or unit             of pressure tank cars with different
                                           by thermal tears of the unprotected
                                                                                                    train configuration. While it is possible             features and operating parameters (as
                                           tanks due to a decrease in material
                                                                                                    that ignition of these vapors could occur             was done in the Exponent Report 34
                                           properties, rapid release of the contents,
                                                                                                    if an ignition source is present, the fire            referenced in the Special Permit 20534
                                             31 Explosion of a road tanker containing liquefied     would be contained to the proximity of                docket) does not provide a statistically
                                           natural gas. Eula‘ia Planas-Cuchi, Nu´ria Gasulla,       the release point of the vapors from the              significant or valid safety assessment.
                                           Albert Ventosa, Joaquim Casal. Journal of Loss           tank car. Additionally, it is highly
                                           Prevention in the Process Industries 17 (2004) 315–      unlikely that an undamaged DOT–113                      33 FRA Full Scale Test titled: ‘‘Fire Performance

                                           32. https://www.academia.edu/7741565/Explosion_                                                                of a UN–T75 Portable Tank Phase 1: Loaded with
                                           of_a_road_tanker_containing_liquified_natural_gas.
                                                                                                    specification tank car involved in a
                                                                                                                                                          Liquid Nitrogen’’.
                                             32 Analysis of the Boiling Liquid Expanding            derailment would result in explosion                    34 The referenced Exponent Report is a study to
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                                           Vapor Explosion (BLEVE) of a Liquefied Natural           due to a BLEVE due to the design of the               examine the risks of bulk transportation of LNG by
                                           Gas Road Tanker: The Zarzalico Accident. E Planas,       tank car, the loading pressure                        investigation the potential risk profiles for transport
                                           E. Pastor, J. Casal, J.M. Bonilla. Centre for Studies    requirements for cryogenic materials,                 of LNG versus liquefied petroleum gas (LPG) by
                                           on Technological Risk (CERTEC). Department of                                                                  cargo tank motor vehicle and rail tank car. https://
                                           Chemical Engineering. Universitat Politècnica de
                                                                                                    the mandated requirements for                         www.exponent.com/knowledge/alerts/2015/08/
                                           Catalunya. https://core.ac.uk/download/pdf/              redundant pressure relief systems                     bulktransportation/∼/media/03b73782ec76446798
                                           46606613.pdf.                                            (valves and safety vents) and the                     c70f6ac403ef84.ashx.



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                                           They also called into question how                       handling requirements for the tank car,               provide for a range of nickel content
                                           PHMSA determined that the                                have contributed significantly to the                 that can equal—but can also extend
                                           specification DOT–113C120W tank car                      strong safety history of the DOT–113.                 outside of—the range recommended for
                                           is an acceptable packaging to transport                     PHMSA disagrees with the suggestion                stationary LNG tanks. Therefore, they
                                           LNG. They noted their belief that the                    that the Exponent Report in support of                commented that there is no evidence
                                           small number of DOT–113 tank cars in                     the DOT–SP 20534 is irrelevant to the                 that all steels meeting this specification
                                           use and the documented 14 incidents                      discussion. That study conducted a                    will have the performance specifications
                                           referenced in the NPRM, in which three                   quantitative risk assessment addressing               appropriate for storing LNG that is being
                                           shell breaches occurred between 1980                     unit train movement of LNG in DOT–                    transported by rail. The Tribe further
                                           and 2017, do not provide a                               113 tank cars. The study creates                      expressed their belief that PHMSA has
                                           demonstrated safety record. The                          multiple models that estimate the                     not adequately demonstrated why
                                           Physicians for Social Responsibility                     potential damage of an LNG incident.                  ASTM A240/240M 304, or 304L steel
                                           cited the need to develop a new, robust                  Specifically, transport releases were                 will ensure safe transport of LNG in
                                           tank car design. The Delaware                            evaluated along 1-mile long segments
                                                                                                                                                          tank cars.
                                           Riverkeeper Network cited a lack of                      with varying population densities.
                                           field tests on the survivability of the                  While commenters have claimed that                    PHMSA Response
                                           DOT–113 tank car loaded with LNG and                     the study does not have a large enough
                                           the lack of simulation of the tank car                   sample size, PHMSA notes that the                        PHMSA disagrees with the Puyallup
                                           ‘‘hulls.’’ The Puyallup Tribe of Indians                 study used all the available data on                  Tribe that there is no factual basis for
                                           stated its belief that PHMSA is in                       DOT–113 incidents. The reason for that                the existing requirements for ASTM
                                           violation of the APA, stating that the                   perceived lack of data is that DOT–113                A240/240M 304, or 304L steels. The
                                           NPRM was not supported by a complete                     tank cars have not been involved in                   ASTM 300 series steels required in part
                                           and technically sufficient administrative                many incidents during the timeframe                   179 for DOT–113 tank cars have a long,
                                           record because there are ongoing and                     that DOT–113s have been in use. Given                 successful history demonstrating the
                                           incomplete studies to determine the                      that the study uses all the available data            suitability of this steel as the material of
                                           safety of transporting LNG in DOT–113                    on DOT–113 incidents, PHMSA believes                  construction for the inner tank of DOT–
                                           tank cars.                                               that the study’s findings are useful in               113 tank cars.
                                              Earthjustice questioned the suitability               informing this final rule.                               The 300-grade austenitic stainless
                                           of the DOT–113 tank car noting that                         After internal review and in
                                                                                                                                                          steels (304/304L), commonly referred to
                                           ‘‘. . . of the three specific derailments                consideration of certain substantive
                                                                                                                                                          as ‘‘18–8 grade’’ stainless steels, are the
                                           of the DOT113C120 tank car noted by                      comments received to the NPRM,
                                                                                                    PHMSA is further enhancing the safety                 only steels authorized in the HMR for
                                           the EA, all three ended up either                                                                              use when constructing the inner tank of
                                           breaching or needing to be breached and                  of these tank cars to be equipped with
                                                                                                    a 9/16th inch thick outer tank and                    a DOT–113 tank car. As discussed in
                                           losing their entire cargoes. This                                                                              Section III. B. ‘‘The DOT–113C120W
                                           represents 4.5% of the entire                            constructed from TC–128 Grade B
                                                                                                    Normalized steel. This represents a 28%               Specification Tank Car,’’ ASTM A240/
                                           DOT113C120 tank car fleet.’’                                                                                   240M 304, or 304L steels have the best
                                                                                                    increase in outer tank thickness over the
                                           PHMSA Response                                           current minimum requirements for a                    balance of toughness, strength, and
                                              As noted previously, PHMSA does                       DOT–113C120W tank car in use for                      weldability for transportation, along
                                           not agree that Earthjustice’s analysis                   other flammable cryogenic materials.                  with being able to withstand extremely
                                           calls into question the suitability of the               PHMSA has concluded that this change                  low temperatures.
                                           DOT–113C120W tank car. PHMSA has                         will improve the crashworthiness of the                  By contrast, ASTM A553 steel, also
                                           concluded that the safety history of                     tank, thereby improving its effectiveness             known as ‘‘9% Nickel’’ alloy steel, has
                                           DOT–113C120W tank cars is sufficient                     in retaining LNG contents during a                    less ductility and requires special
                                           to demonstrate that these tank cars are                  crash scenario. This conclusion is                    welding protocols. A553 steel can be
                                           appropriate for the transportation of                    supported by modeling conducted on                    used for static storage vessels which do
                                           LNG, as the DOT–113 tank car has a                       the DOT–117 specification tank car with               not have to withstand the dynamic
                                           demonstrated safety record of over 40                    a 9/16th inch thick shell and heads used              stress conditions experienced by the
                                           years. Since authorized in the HMR,                      in flammable liquid service when                      tank car during movement and the more
                                           there have been no train-accident                        compared with the previous DOT–111                    frequent thermal cycles of loading and
                                           related fatalities or serious injuries in                tank cars with 7/16th inch steel. See                 unloading experienced by tank cars. In
                                           over 100,000 shipments of cryogenic                      Section III. B. ‘‘The DOT–113C120W                    tank cars, the use of A553 steel is not
                                           material in DOT–113 tank cars. PHMSA                     Specification Tank Car’’ for further                  advisable, due to the physical properties
                                           has reviewed the approximately 450                       details on the tank car enhancements                  of the steel. The HMR have not
                                           Incident Report Form 5800.1 filings                      added in this final rule.                             approved it for use in tank cars, in part,
                                           involving releases from DOT–113 (or                      3. High Nickel Steels for Inner Tanks                 due to problems encountered with
                                           equivalent AAR204W 35) tank cars.                                                                              welded repairs.
                                                                                                       The Puyallup Tribe stated that
                                           Nearly all of these filings resulted from                                                                         Therefore, in this final rule, PHMSA
                                                                                                    PHMSA failed to provide a sufficient
                                           the non-accidental release of product                                                                          is maintaining the requirement to
                                                                                                    factual basis to support its assertion that
                                           attributed to defective or improperly
                                                                                                    the materials used in the fabrication of              construct the inner tank of a DOT–113
                                           secured valves and/or associated fittings
                                                                                                    DOT–113 tank car inner tanks are                      tank car from ASTM A240/240M 304, or
                                           and not a breach of the tank. The HMR
                                                                                                    appropriate for the transportation of                 304L steels for the inner tank. Please see
                                           requirements for the design and material
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                                                                                                    LNG. They noted that stationary LNG                   Section III. B. ‘‘The DOT–113C120W
                                           of construction for the DOT–113, as well
                                                                                                    storage tanks use high nickel steels and              Specification Tank Car’’ for further
                                           as existing operational controls and
                                                                                                    that the specifications for American                  discussion of the properties of 304 and
                                              35 The AAR204W is also authorized for the             Society of Testing and Materials                      304L steel and the material of
                                           transportation of non-flammable cryogenic                (ASTM) A240/240M 304, or 304L steels                  construction requirements for the inner
                                           materials and has a similar design to a DOT–113.         used in DOT–113C120W tank cars                        tank of a DOT–113 tank car.


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                                           4. Maximum Permitted Filling Density                     further technical analysis, PHMSA                     transit limit for cryogenic materials.
                                             AAR, RSI–CTC, and Chart Inc.                           agrees that the proposed 32.5 percent                 Rather, RSI–CTC asserted that both
                                           disagreed with the maximum filling                       filling density unnecessarily limits the              DOT’s predecessor and the AAR have
                                           density proposed in the NPRM. Chart                      amount of LNG that can be loaded into                 historically assumed a 30-day hold time
                                           Inc. recommended that the filling                        the tank car designed for commercial                  in developing the DOT–113C120W
                                           density be 38.1 percent for a safety relief              shipments and not locomotive fueling.                 specification. Moreover, the commenter
                                           valve set at 75 psig, thereby                            Calculations were performed through                   noted that the average daily pressure
                                           corresponding to the 51.1 percent                        linear regression analysis of authorized              rise limit of 3 psig per day, as set forth
                                                                                                    filling densities for cryogenic material              in § 179.319, is an operating
                                           tabulated value for liquid ethylene.
                                                                                                    in cargo tanks (see § 173.318). The                   specification for shippers designed to
                                           Chart Inc. further noted that flammable
                                                                                                    equations derived during that analysis                trigger inspection of the tank vacuum to
                                           cryogenic materials in tank cars are
                                                                                                    were compared with filling density                    ensure thermal integrity and should not
                                           required to have a 0.5 percent outage
                                                                                                    values currently authorized for tank cars             be imposed as a design requirement to
                                           below the inlet of the pressure relief or
                                                                                                    in § 173.319 for ethylene and hydrogen.               calculate the maximum offering
                                           pressure control valve at the start-to-
                                                                                                    The comparison between cargo tanks                    pressure.
                                           discharge pressure setting of the valve,
                                                                                                    and tank cars filling density values held
                                           with the tank car in a level attitude.                                                                         PHMSA Response
                                                                                                    true for ethylene and hydrogen, so the
                                             RSI–CTC commented that PHMSA                                                                                    PHMSA agrees that the HMR do not
                                                                                                    equation was therefore used to derive
                                           did not provide an explanation as to                                                                           specify a time-in-transit limit. However,
                                                                                                    the filling density for LNG in tank cars.
                                           why it is imposing a maximum filling                                                                           PHMSA requires notification to FRA if
                                                                                                    This filling density value was compared
                                           density that results in 15 percent outage                                                                      a flammable cryogenic material has not
                                                                                                    to the results of calculations conducted
                                           rather than the standard 0.5 percent                     by AAR, Transport Canada, and FRA. A                  reached the consignee within 20 days.
                                           outage identified in existing regulations                filling density of 37.3% by weight is                 FRA closely monitors any situation
                                           for other flammable cryogenic materials                  consistent with these four (AAR,                      requiring notification of more than 20
                                           authorized by rail tank car. They stated                 Transport Canada, FRA, PHMSA)                         days in transit, and our experience is
                                           that limiting LNG to a maximum filling                   analyses.                                             that rail carriers act to expedite
                                           density of 32.5 percent would require                       Therefore, in this final rule PHMSA is             movement of the tank car to its
                                           approximately 13 percent more tank                       adopting a 37.3 percent maximum                       destination or take swift corrective
                                           cars to move the same volume of                          filling density for LNG, which will                   action to reduce the pressure within the
                                           commodity, noting that this could                        require approximately 2 percent outage                tank if necessary. Therefore, PHMSA
                                           increase the risk in transportation.                     below the inlet of the PRD at the start-              believes that the 15 psig maximum
                                           Moreover, they stated that PHMSA’s                       to-discharge pressure to prevent the                  offering pressure is appropriate for the
                                           proposed limit is inconsistent with                      venting of liquid material should the                 transportation of LNG and is consistent
                                           Transport Canada’s regulations, which                    device activate. This represents a greater            with the level of safety provided to
                                           impose a 37.3 percent maximum filling                    level of safety than other cryogenic                  other flammable cryogenic materials.
                                           density. To resolve this issue, they                     packagings authorized in the HMR and                  Further, the HMR do not prohibit
                                           recommended that PHMSA consider                          internationally, which only require a                 shippers from offering a tank car of LNG
                                           adopting a maximum filling density of                    0.5% outage requirement below the PRD                 at a lower pressure. Please see Section
                                           37.3 percent, which they point out                       inlet at the start-to-discharge pressure.             III.B. ‘‘The DOT–113C120W
                                           would harmonize the United States and                    Additionally, a 37.3 percent maximum                  Specification Tank Car’’ and III.C.
                                           Canada, as well as reduce the overall                    filling density harmonizes with                       ‘‘Additional Operational Controls for
                                           safety risk by reducing the total number                 Transport Canada’s TDG regulations.                   LNG Transportation’’ for additional
                                           of tank cars required.                                   Please see the Section III.B. ‘‘The DOT–              discussion of offering pressure and the
                                           PHMSA Response                                           113C120W Specification Tank Car’’                     operational controls for the movement
                                                                                                    discussion for additional discussion of               of these tank cars.
                                              PHMSA notes the concerns over the                     filling density.
                                           proposed filling density and the                                                                               6. Insulation
                                           potential inconsistencies related to the                 5. Maximum Pressure When Offered                         Chart Inc. noted in their comment that
                                           outage requirements for flammable                           RSI–CTC stated that the proposed                   Mylar is a plastic material that is
                                           cryogenic materials. The filling density                 offering pressure of 15 psig for the                  incompatible with the potential for
                                           of 32.5% specified in the NPRM was                       Pressure Control Valve Setting or Relief              flammable gas in the annular space.
                                           based on a 15% outage (vapor volume)                     Valve Setting in § 173.319(d)(2) is                   They further stated that common
                                           at PRV start to discharge pressure. The                  inconsistent with Transport Canada’s                  wrapped insulation used in such tanks
                                           AAR Manual of Standards and                              requirements, which impose a 10 psig                  is often referred to as MultiLayer
                                           Recommended Practices, M–1004                            maximum offering pressure, and departs                Insulation (MLI), Super Insulation (SI),
                                           ‘‘Specifications for Fuel Tenders’’                      from AAR’s practice of assuming a 10                  or MultiLayer Super Insulation, which
                                           requires the LNG filling of tenders used                 psig maximum offering pressure to                     consists of alternating layers of
                                           to fuel LNG powered locomotives with                     determine the individual specification                aluminum foil and a non-conducting
                                           15% vapor volume. The operating                          requirements for DOT–113C120W tank                    spacer material. Chart Inc. further
                                           demands on tenders combined with the                     cars. They also stated that while                     explained that fiberglass or Perlite
                                           need for more vapor as a fuel and the                    PHMSA appears to be relying on                        powder can be used as a potential
                                           expected refueling processes make the                    § 173.319(e)(1) for its determination that            alternative in place of or in addition to
                                           filling density acceptable for use with                  15 psig is consistent with the 20-day                 the MLI or SI.
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                                           fuel tenders. In contrast, tank cars do                  transportation requirement for cryogenic
                                           not require these same considerations,                   materials and the estimated 3 psig per                PHMSA Response
                                           and thus, the filling density should be                  day maximum pressure increase during                    PHMSA agrees that use of the term
                                           aligned with other bulk packagings.                      transportation, current regulations for               Mylar in the preamble of the NPRM was
                                              After reviewing the comments                          DOT–113 tank cars as set forth in part                inconsistent with the current design and
                                           provided to the NPRM and conducting                      179, subpart F do not specify a time-in-              practice. The DOT–113 construction


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                                           design relies on a performance standard                  specific to LNG and would therefore                         8. DOT–113C140W Tank Car
                                           in § 179.400–4 that does not specify the                 impact all cryogenic materials                              Specification
                                           use of Mylar or any other specific type                  transported by tank car. Additionally,                        Consistent with its prior petition,
                                           of material to be used for insulation. In                while 2011 FRA Notice does not                              AAR reiterated its suggestion that
                                           the NPRM, PHMSA inadvertently                            specifically mention cryogenic tank                         PHMSA adopt the DOT–113C140W tank
                                           represented ‘‘Mylar’’ as a specification                 cars, PHMSA and FRA reiterate that the                      car standard. However, AAR noted that
                                           requirement for MLI or SI use on a                       broad language in the FRA’s January                         PHMSA may require more time to
                                           DOT–113, when in fact, it is not. Please                 2011 approval clearly contemplates                          evaluate the new tank car specification,
                                           see our discussion of the insulation                     application to cryogenic tank cars.                         as it is not currently authorized by the
                                           system and thermal performance                           Therefore, a DOT–113 tank car                               HMR. Therefore, AAR suggested that
                                           monitoring program in Section III of this                manufactured for LNG service after (the                     PHMSA proceed with authorizing the
                                           final rule for more information on DOT–                  effective date of this final rule) is                       DOT–113C120W tank car for LNG
                                           113 insulation requirements.                             approved for a maximum GRL of                               service at this time and consider
                                                                                                    286,000 provided the tank car meets the                     authorizing the DOT–113C140W tank
                                           7. Maximum Gross Rail Weight
                                                                                                    following criteria:                                         car in a future rulemaking.
                                              RSI–CTC and AAR commented on the                         1. Tank car is constructed in
                                           existing allowable gross weight of rail                  accordance with S–286.                                      PHMSA Response
                                           tank cars. They stated the FRA provided                                                                                 PHMSA agrees that it would take
                                           notice in the Federal Register of                           2. The outer shell and heads are
                                                                                                    constructed with TC–128 Grade B,                            additional time and resources to create
                                           approval of the operation of certain tank                                                                            and evaluate a new specification (e.g.,
                                           cars in hazardous materials service up                   normalized steel.
                                                                                                                                                                the DOT–113C140W) not authorized
                                           to 286,000 pounds GRL, further noting                       Please see our discussion of                             under the current HMR. Furthermore,
                                           that this approval does not address                      maximum GRL in Section III.B. ‘‘The                         PHMSA believes the addition of this
                                           cryogenic tank cars.36 Specifically, RSI–                DOT–113C120W Specification Tank                             tank car specification warrants further
                                           CTC recommended adding language in                       Car’’ of this final rule for additional                     engineering review and evaluation,
                                           § 179.13 that would authorize a GRL                      details. PHMSA is adding a new section,                     including consideration of safety risks
                                           limitation of up to 286,000 pounds,                      § 179.400–26, to the DOT–113                                presented by the new design
                                           thereby removing the need for FRA                        specification requirements to indicate                      specification. Increased thickness and
                                           approval and allowing for heavier inner                  clearly that DOT–113C120W9 tank cars                        improved outer tank materials, as
                                           or outer tanks. They further stated that                 exceeding 263,000 lbs. gross weight are                     required in this final rule, require
                                           authorizing cryogenic tank cars to                       (in light of FRA’s January 2011                             minimal engineering effort; and insofar
                                           operate with 286,000 pounds GRL                          approval) approved by FRA for a                             as PHMSA regulations establish
                                           would not increase the volume of                         maximum gross weight of 286,000                             minimum thickness requirements for
                                           commodity transported (which would                       provided they meet the two conditions                       DOT–113 cars, those regulations have
                                           still be limited to 34,500 gallons) and                  above.                                                      always permitted outer tanks of varying
                                           would enable manufacturers to increase                      The following table provides a                           thickness above those lower limits.
                                           the weight of the tank car by building                   comparison of the approximate weight                           In contrast, a new inner tank design
                                           it with a thicker outer shell, which                     of a DOT113C120W tank car with an                           with a higher test pressure of 140 psig
                                           would enhance the overall safety of                      outer tank shell thickness of 7⁄16 (i.e., the               requires significant engineering effort
                                           these tank cars in cryogenic service.                    current standard) vs. 9⁄16 (i.e., the                       that is beyond the scope of this
                                           PHMSA Response                                           standard adopted in this final rule) is                     rulemaking. An inner tank designed to
                                                                                                    provided in the following table. Note                       withstand a test pressure of 140 psig has
                                              PHMSA acknowledges that the                           that stiffening ring weight changes with                    a thicker wall, and has different
                                           thicker outer tank, as required in this                  outer tank thickness. In this                               pressure relief features that would need
                                           rulemaking, will have a net impact of                    comparison, a thicker outer tank                            to be tested extensively prior to
                                           increasing the overall weight of a loaded                corresponds to less stiffening ring                         authorization for use in transportation.
                                           DOT–113C120W9 tank car. The added                        weight.                                                     The designs for the new inner tank, the
                                           tank thickness is expected to increase                                                                               140 psig pressure relief system, and the
                                           the overall weight of the tank car by                         TABLE 6—GROSS RAIL WEIGHT                              new design’s thermal performance
                                           approximately 11,050 pounds. See the                                                                                 would each need to be validated. The
                                                                                                                CALCULATION
                                           Table 6 below for a comparison of the                                                                                inner tank, along with the thermal
                                           DOT–113C120W and DOT–113C120W9                            [Approximate weights for a DOT113C120W
                                                                                                                    Tank Car]                                   protection provided by the annular
                                           tank car weights. PHMSA estimates the                                                                                space, is the most safety critical
                                           light (empty) weight of a DOT–113 tank                                                                               component to retaining the contents of
                                           car for LNG to be approximately 138,050                                                                              the car during normal conditions
                                           pounds and the estimated weight of                       Outer Shell Thick-           ⁄ ″ ........
                                                                                                                                7 16                ⁄ ″.
                                                                                                                                                   9 16
                                                                                                                                                                incident to transportation. The outer
                                           allowable LNG that can be loaded into                       ness.                                                    tank, on the other hand, shields the
                                           the car at roughly 108,000 pounds. This                  Inner Tank Thick-            ⁄ ″ ..........
                                                                                                                                38                  ⁄ ″.
                                                                                                                                                   38

                                                                                                       ness.
                                                                                                                                                                inner tank from physical damage,
                                           equates to a maximum gross weight on                                                                                 exposure to the elements, and in-train
                                           rail of only 246,050 pounds. However,                    Combined Tank               98,250             109,500
                                                                                                       Weight.                    lbs..              lbs.       forces, while providing structural
                                           the request to remove the approval                                                                                   support to the packaging. Unlike a
                                                                                                    Stiffening Ring             1,750 lbs.         1,550 lbs.
                                           requirement for tank cars greater than                      Weight.                                                  change to the inner tank, the
                                           263,000 pounds GRL is beyond the
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                                                                                                    Fittings/Piping/Hous-       3,800 lbs.         3,800 lbs.   enhancements to the outer tank denoted
                                           scope of this rulemaking, as it is not                      ing.                                                     by the new specification suffix would
                                                                                                    Running Gear ..........     23,200             23,200       not require the extensive additional
                                             36 Notice regarding FRA approval for operating                                       lbs..              lbs.       engineering review because PHMSA and
                                           certain railroad tank cars in excess of 263,000          Estimated Light             127,000            138,050
                                           pounds gross rail load. January 25, 2011; 76 FR            Weight.                     lbs..              lbs.
                                                                                                                                                                FRA have access to testing and
                                           4350.                                                                                                                modeling data that demonstrate the


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                                           crashworthiness improvements from a                      PHMSA is amending the DOT–113                         (EOT) device as defined in 49 CFR
                                           thicker 9/16th inch outer tank.                          specification to require tank cars with a             232.5, or a distributed power (DP)
                                                                                                    minimum outer tank thickness of 9/16th                system as defined in 49 CFR 229.5.’’
                                           9. PHMSA Determination Regarding                                                                                  Conversely, AAR commented that
                                                                                                    inch constructed from TC–128 Grade B,
                                           Tank Car Design                                                                                                there is no justification for braking and
                                                                                                    normalized steel (those enhancements
                                              In summary, PHMSA acknowledges                        to be indicated by the specification                  routing requirements for trains carrying
                                           the comments received addressing the                     suffix ‘‘9’’). PHMSA believes that this               LNG shipments to be as restrictive as
                                           appropriateness of the DOT–113C120W                      change will further enhance the safety                the requirements for HHFTs. AAR noted
                                           tank car for LNG transportation. As                      of the DOT–113 tank car by significantly              that if PHMSA were to apply braking
                                           discussed in this section, and in Section                increasing its crashworthiness.                       and routing requirements similar to
                                           III, PHMSA has concluded that the                                                                              those imposed on HHFTs to trains
                                           DOT–113C120W tank car is an                              B. Operational Controls                               carrying LNG, the requirements should
                                           appropriate packaging for LNG                               PHMSA did not propose                              only apply to a train transporting 20 or
                                           transportation.                                          supplemental operational controls in                  more loaded tank cars of LNG in a
                                              The existing structure of the HMR—                    the NPRM beyond the existing                          continuous block, or to a train carrying
                                           to include requirements for packaging                    requirements in the HMR, but did invite               35 or more loaded tank cars of LNG
                                           design—provides for the safe                             comment on whether PHMSA and FRA                      throughout the train.
                                           transportation of all hazardous                          should rely on existing regulations and                  PSR and the Surfrider Foundation
                                           materials. The DOT–113C120W9 tank                        the operational controls in AAR’s                     expressed concern that the possibility of
                                           car is a variation of the DOT–113                        Circular OT–55, or if additional                      a terrorist attack has not been properly
                                           specification currently authorized in the                operational controls may be warranted                 considered when looking at the security
                                           HMR for use as a packaging for                           based on an assessment of risk. PHMSA                 measures for LNG by rail. They further
                                           cryogenic material, including flammable                  encouraged commenters to provide data                 stated that the urban routing of LNG
                                           cryogenic material like LNG. The ‘‘C’’                   on the safety or economic impacts                     unit trains would make them highly
                                           delimiter for this type of tank car                      associated with any proposed                          vulnerable to attack by terrorists and
                                           indicates a temperature rating for                       operational controls, including analysis              that the predictability and visibility of
                                           service that is suitable for LNG.                        of the safety justification or cost impact            commercial rail traffic through urban
                                           Furthermore, the existing HMR include                    of implementing operational controls.                 settings would make targeting easy and
                                           requirements for components specific to                  Further, PHMSA invited comment on                     devastating. The Governor of
                                           flammable cryogenic material services,                   the operational controls included in the              Washington State, on behalf of
                                           such as PRDs and thermal insulation                      special permit described above, due to                Washington State, also expressed
                                           systems.                                                 the overlapping content contained in                  concern that the NPRM did not address
                                              PHMSA believes that transportation                    the NPRM.                                             the risk of terrorist attacks.
                                           of LNG by DOT–113C120W-                                     Numerous commenters expressed
                                           specification rail tank car as proposed in               concern about the possible operational                PHMSA Response
                                           the NPRM would be safe if LNG was                        controls associated with the                             PHMSA agrees that requiring
                                           transported in similar quantities to what                transportation of LNG by rail. For                    enhanced braking is necessary for trains
                                           is currently done for ethylene.                          example, the International Association                meeting an LNG analog of the HHFT
                                           Currently, because of market demand                      of Fire Fighters (IAFF) suggested that                threshold (i.e., 20 continuous tank cars
                                           and usage patterns for ethylene, DOT–                    PHMSA conduct a more expansive                        of LNG or 35 tank cars of LNG
                                           113 tank cars are transported as part of                 safety assessment of the DOT–113 rail                 throughout the train). PHMSA and FRA
                                           mixed commodity freight trains at one                    car before making the decision to forgo               determined that this threshold best
                                           to three cars per train. However, when                   additional operational controls. In the               captures the higher-risk bulk quantities
                                           transported in larger fleets—in blocks of                responses below, PHMSA has sorted                     transported in unit trains, while
                                           cars larger than three or in unit trains—                these comments into the following                     excluding lower-risk manifest trains.
                                           there is a higher probability that cars                  subtopics: Braking and Routing                        PHMSA and FRA have concluded that
                                           containing this material will be                         Requirements, Maximum Train Length                    the HHFT threshold is suitable for the
                                           involved in a derailment when a                          and Weight, Speed Restrictions and                    transportation of LNG because these
                                           derailment or other accident occurs,                     AAR Circular OT–55, and Separation                    materials have similar risk profiles
                                           leaving the potential for more hazardous                 Distance. Please also see Section III.C.              when transported in such
                                           material to be released during an                        ‘‘Additional Operational Controls for                 configurations. If a tank car containing
                                           incident. While PHMSA cannot predict                     LNG Transportation’’ for more                         LNG is breached during a derailment,
                                           the number of DOT–113C120W9 tank                         discussion.                                           the LNG will behave largely the same
                                           cars per train the LNG market will                                                                             way as crude oil or ethanol. The LNG
                                           support, the agency does have relevant                   1. Braking and Routing Requirements                   lading will be released as a very cold
                                           information from ETS’s application for                      NTSB, the Transportation Trades                    liquid, creating an LNG pool and likely
                                           DOT SP 20534, which indicates the                        Department, AFL–CIO (TTD), New                        a fire.
                                           company plans to operate unit trains of                  Jersey Department of Environmental                       The effective use of braking on a train
                                           at least 80 cars per train at some point                 Protection (NJDEP), Members of the                    can result in accident avoidance and
                                           in the future. Therefore, even though the                New Jersey Senate and Assembly,                       can lessen the consequences of an
                                           current outer tank specifications of                     NYDOT, NYDEC, NYDHSES, IAFF, and                      accident by diminishing in-train forces.
                                           existing DOT–113s are appropriate for                    others commented that PHMSA should                    This can reduce the likelihood of a tank
                                           the physical properties of LNG, the                      require braking and routing                           car being punctured and decrease the
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                                           potential increased risk involved in                     requirements for trains carrying LNG.                 likelihood of a derailment. PHMSA
                                           transporting LNG in blocks of more than                  NTSB specifically commented that                      believes that requiring enhanced
                                           three or in unit trains warrants the                     PHMSA should require that trains be                   braking for these train configurations
                                           additional safety margin that is                         ‘‘equipped and operated with either                   provides a cost-effective way to reduce
                                           currently available from the tank car                    electronically controlled pneumatic                   the number of cars and the energy
                                           manufacturing industry. As a result,                     (ECP) brakes, a two-way end-of-train                  associated with train accidents.


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                                              In consideration of the comments                      configurations operating with ECP                        Accordingly, PHMSA is amending
                                           received, consistent with comments                       brakes are not cost-beneficial in the                 § 172.820 to require that a train carrying
                                           from NTSB and others, PHMSA is                           HHFT environment. (HM–251F; 83 FR                     LNG in a rail tank car be subject to the
                                           adding a requirement that for a single                   48393; Sep. 25, 2018). As a result,                   additional planning requirements of that
                                           train with 20 or more loaded tank cars                   PHMSA removed requirements                            section. This change will require rail
                                           of LNG in a continuous block or a single                 pertaining to ECP brake systems on                    carriers to compile annual data on
                                           train carrying 35 or more loaded tank                    high-hazard flammable unit trains.38                  shipments of LNG and use the data to
                                           cars of LNG throughout the train, each                   PHMSA relies on the analysis in HM–                   analyze safety and security risks along
                                           carrier must ensure that the train is                    251F to inform its decision in this final             rail routes where LNG is transported,
                                           equipped and operated with either an                     rule to not require ECP brakes on trains              assess alternative routing options, and
                                           EOT device, as defined in 49 CFR 232.5,                  transporting LNG.                                     make routing decision based on those
                                           or a DP system, as defined in 49 CFR                        While PHMSA is not implementing                    assessments.
                                           229.5.                                                   ECP brake requirements, both agencies                    Regarding the risk of terrorism, 49
                                              Some public commenters, including                     recognize the importance of advanced                  CFR part 172, subpart I—Safety and
                                           Earthjustice, noted that PHMSA did not                   braking for trains transporting large                 Security Plans, prescribes security
                                           propose a requirement that trains                        quantities of LNG. As result, PHMSA is                requirements for shippers and carriers
                                           transporting LNG be equipped with ECP                    requiring advanced braking in the form                while a hazardous material is in
                                           brakes, which they suggest would                         of a two-way EOT device or linked and                 transportation. Flammables (e.g., LNG)
                                           provide an extra measure of safety.                      operational DP system located at the                  transported in large bulk quantities (i.e.,
                                           PHMSA and FRA did consider adopting                      rear of the train. The two-way EOT                    3,000 liters [792 gallons]) in a single
                                           ECP brake requirements in this final                     device or DP system at that rear of the               packaging such as a tank car are subject
                                           rule but ultimately determined that such                 train is more effective than conventional             to requirements for development and
                                           a braking requirement would not be                       brakes because the rear cars can receive              implementation of plans to address
                                           practical.                                               the emergency brake command more                      security risks, including preventing
                                              Freight railroads in the U.S.                         quickly, which allows the back of the                 unauthorized access to the material,
                                           overwhelmingly rely on conventional                      train to start braking quicker than if the            providing for en route security, and
                                           air brakes to comply with FRA                            train was only equipped with                          personnel security. PHMSA believes
                                           regulations for stopping a train.37 This                 conventional air brakes. This can reduce              these existing requirements adequately
                                           conventional air brake system has been                   stopping distances and lessen in-train                address the security risks associated
                                           in use since 1869 and has proven to be                   forces that can cause or contribute to the            with the transportation of LNG by rail.
                                           reliable and effective. Conventional air                 severity of certain derailments.                      Please see additional discussion of
                                           brakes use air pressure to apply and                        The action taken by PHMSA in this                  existing security planning and rail
                                           release the brakes on each car in a train.               final rule, requiring the use of a two-               routing requirements in Section III. A.
                                           When air pressure is reduced in a                        way EOT device or DP unit at the end                  ‘‘Existing HMR Requirements for Rail
                                           braking application, the air brakes will                 of the train for a single train with 20 or            Transport of Flammable Cryogenic
                                           apply sequentially from the front to the                 more loaded tank cars of LNG in a                     Material.’’
                                           back of the train. ECP brake systems are                 continuous block or a single train
                                           an alternative braking technology that                                                                         2. Maximum Train Length/Weight
                                                                                                    carrying 35 or more loaded tank cars of
                                           integrate electronic and pneumatic                       LNG throughout the train, is consistent                  Some commenters suggested limiting
                                           communications hardware into one                         with the comments of NTSB, Members                    the number of LNG tank cars in a train;
                                           package to allow for nearly                              of the New Jersey Senate and Assembly,                however, no commenters provided
                                           instantaneous responses to locomotive                    and the Attorneys General for various                 specific recommendations on what
                                           braking commands throughout an entire                                                                          would constitute the preferred
                                                                                                    States. It matches the current
                                           train. While some types of ECP brake                                                                           maximum number of cars. The National
                                                                                                    requirements for HHFTs, which apply to
                                           systems overlay the air brake system,                                                                          Association of State Fire Marshals
                                                                                                    Class 3 flammable liquids that are
                                           the integrative functions of ECP brakes                                                                        (NASFM) noted that although 19 cars of
                                                                                                    transported in a single block of twenty
                                           essentially require the entire train be                                                                        LNG would not trigger the ‘‘Key Train’’
                                                                                                    cars or 35 cars dispersed throughout a
                                           equipped with operable ECP brakes if                                                                           requirements, it would be a large
                                                                                                    single train. Given the comments
                                           the system is to be effective. Except in                                                                       enough quantity to present a significant
                                                                                                    received and the similarity in risk
                                           very rare circumstances where the                                                                              hazard.
                                                                                                    profiles with HHFTs, PHMSA and FRA
                                           railroads are capable of keeping and                                                                              AAR noted that research 39 on the
                                                                                                    have determined that the requirement
                                           maintaining captive unit train fleets,                                                                         safety impact of operating so-called
                                           railroads in the U.S. have not                           for a two-way EOT device or a DP
                                                                                                    system in the rear of the train is an                 ‘‘long’’ trains suggests that there is no
                                           implemented ECP brake systems into                                                                             increased risk of derailment, further
                                           their operations.                                        acceptable safety measure.
                                                                                                       Regarding rail routing requirements,               commenting that the use of fewer,
                                              PHMSA previously considered and
                                                                                                    PHMSA agrees that requiring additional                longer trains may reduce derailment
                                           adopted ECP brake requirements for a
                                                                                                    planning and route analysis will                      rates. AAR further stated that PHMSA
                                           limited subset of HHFTs in its final rule
                                                                                                    provide safety benefits to the                        should not create a limit on train length
                                           on ‘‘Enhanced Tank Car Standards and
                                                                                                    transportation of LNG by rail. The                    within the context of this rulemaking.
                                           Operational Controls for High-Hazard                                                                              Others expressed concern that these
                                           Flammable Trains,’’ (HM–251; 80 FR                       routing requirement will reduce the
                                                                                                    severity of the consequences of a                     tank cars could damage and degrade
                                           26643, May 8, 2015), based on the                                                                              train tracks, leading to potential future
                                           potential benefits of those trains’ being                derailment by requiring that railroads
                                                                                                                                                          derailments. Additionally, a few
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                                           operated effectively as a captive fleet.                 transport LNG on the safest route
                                                                                                    available to them.                                    commenters noted that PHMSA and
                                           However, a subsequent re-evaluation of                                                                         FRA should assess and fix damaged
                                           the HM–251 ECP brake requirements                           38 The HM–251 final rule defined a ‘‘high-hazard
                                           found that even the ‘‘captive’’ unit train               flammable unit train’’ (HHFUT) as a train               39 See footnote 9, page 3—https://

                                                                                                    comprised of 70 or more loaded tank cars              www.regulations.gov/document?D=PHMSA-2018-
                                             37 49 CFR part 232.                                    containing Class 3 flammable liquids.                 0025-0209.



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                                           railroad tracks prior to making any                      style operational controls were put in                transportation of LNG based on its
                                           determination on whether it is safe to                   place, the material is still too dangerous            similarity to other Division 2.1
                                           transport LNG by rail.                                   and liable to spill in the event of a                 flammables, including cryogenic
                                                                                                    derailment and potentially cause a                    materials, that are allowed to be
                                           PHMSA Response
                                                                                                    BLEVE or vapor cloud explosion (VCE).                 transported at a maximum speed of 50
                                              PHMSA appreciates comments                               Several commenters, including NTSB,                mph, and based on the DOT
                                           regarding potential limitation of                        recommended that PHMSA implement                      Specification 113 standards.
                                           maximum weight and length for trains                     operational controls similar to the                   Additionally, AAR’s Manual of
                                           containing LNG. PHMSA has                                protections currently in place for                    Standards and Recommended Practices
                                           determined that there should not be a                    HHFTs, as provided in § 174.310.                      (MSRP) establishes rail equipment
                                           maximum for either in this rulemaking.                      A few commenters, including AAR                    standards, including equipment speed
                                           PHMSA notes that the HMR do not limit                    and RSI–CTC, noted that they agree                    restrictions, that limits tank cars
                                           the number of shipments a shipper can                    with PHMSA’s determination that                       (including DOT–113 tank cars) to an
                                           offer into transportation, and do not                    AAR’s Circular OT–55 provides a                       operating speed of 50 MPH. This speed
                                           restrict the number or type of hazardous                 ‘‘detailed protocol establishing                      restriction is independent of whether
                                           materials rail cars a carrier can transport              recommended railroad operational                      they are aggregated into a Key Train
                                           in a train. PHMSA and FRA believe that                   practices’’ for transporting hazardous                configuration or not.
                                           train length is best determined by                       materials. One commenter further noted                   Further, PHMSA and FRA have
                                           individual railroads. The function of                    that they do not support incorporation                verified that railroads are implementing
                                           determining an individual railroad’s                     of Circular OT–55 by reference because                and following Circular OT–55 through
                                           appropriate train operating lengths is                   it would disincentivize the development               their operating rules. PHMSA and FRA
                                           based on multiple factors. The railroads                 of industry standards that are more                   believe this industry standard reduces
                                           are best positioned to determine the                     rigorous than the Federal requirement.                the risk of derailments and collisions
                                           appropriate train lengths and weight                     NYDOT, NYDEC, and NYDHSES                             and therefore decreases the risk
                                           based on multiple factors including, but                 commented that they would like to see                 involved in the transportation of all
                                           not limited to, the following: Route                     the AAR Circular OT–55 incorporated                   hazardous materials, including LNG.
                                           characteristics, train make-up, train                    into the HMR and the HHFT                             Please see Section III.C. ‘‘Additional
                                           dynamics, and crew training and                          requirements applied to trains carrying               Operational Controls for LNG
                                           experience. Furthermore, FRA notes                       LNG.                                                  Transportation’’ for a full discussion of
                                           that damage and degradation to railroad                                                                        the benefits of OT–55.
                                           tracks due to the transport of DOT–                      PHMSA Response
                                           113C120W9 tank cars is unlikely. All                                                                           4. Separation Distance
                                                                                                       PHMSA notes that AAR’s Circular
                                           routes used to transport hazardous                       OT–55 is a detailed protocol                             Commenters, including NTSB and the
                                           materials have rail infrastructure to                    establishing railroad operating practices             Brotherhood of Locomotive Engineers
                                           handle trains with rail cars with a GRL                  for the transportation of hazardous                   and Trainmen (BLET), noted that the
                                           of 286,000 pounds. Railroads execute a                   materials, including speed restrictions,              transportation of LNG would also
                                           track and rail integrity inspection                      which was developed by the rail                       increase the safety risk for train crews.
                                           program that exceed the minimum                          industry through the AAR.40 The                       The NTSB referenced two safety
                                           Federal requirements. In addition, they                                                                        recommendations issued to PHMSA in
                                                                                                    recommended practices were originally
                                           are implementing technology that                                                                               response to the December 30, 2013,
                                                                                                    implemented by all Class I rail carriers
                                           enables the inspection of more miles of                                                                        collision of two Burlington Northern
                                                                                                    operating in the United States, with
                                           track per day and identifies defects with                                                                      Santa Fe (BNSF) freight trains in
                                                                                                    short-line railroads following on as
                                           greater reliability.                                                                                           Casselton, North Dakota (R–17–1 and
                                                                                                    signatories. Also, since Circular OT–55
                                           3. Speed Restrictions/AAR Circular                       is an industry practice, new safety                   –2) that resulted in the derailment of 20
                                           OT–55                                                    procedures can be adopted efficiently                 tank cars loaded with crude oil and the
                                                                                                    and implemented nationally. The                       release of 476,000 gallons. The safety
                                              PHMSA received several comments
                                                                                                    industry voluntary approach allows for                recommendations reference risks posed
                                           recommending stricter regulations
                                                                                                    greater flexibility to stay abreast of fast-          to train crews and the separation
                                           regarding the transport of LNG by rail,
                                                                                                    changing technology and changes in the                distance and configuration of hazardous
                                           including speed restrictions and other
                                                                                                    market, and facilitates safety by                     materials cars, locomotives, and
                                           operational controls. Numerous
                                                                                                    leveraging industry incorporation of                  occupied equipment to ensure the
                                           commenters, such as NTSB, NASFM,
                                                                                                    OT–55 into their operating rules and                  protection of train crews during both
                                           Delaware Riverkeeper Network,
                                                                                                    cooperation with regulators versus an                 normal operations and accident
                                           Congressman DeFazio, and the
                                                                                                    adversarial enforcement relationship.                 conditions. In the comment to the
                                           Attorneys General for various States,
                                                                                                       Thus, PHMSA believes the                           NPRM, the NTSB urged PHMSA to
                                           expressed concern that PHMSA did not
                                                                                                    operational control recommendations in                implement appropriate train crew
                                           propose additional safety regulations for
                                                                                                    AAR Circular OT–55 address safety                     separation distance requirements, as
                                           the transport of LNG by rail in the
                                                                                                    concerns related to train movements of                recommended by Safety
                                           NPRM. NASFM noted that, regardless of
                                                                                                    hazardous materials comprehensively,                  Recommendations R–17–1 and –2,
                                           current industry practice, the AAR
                                                                                                    including train speed restrictions in Key             issued March 9, 2017. Specifically, the
                                           Circular OT–55 is ‘‘recommended,’’
                                                                                                    Train configuration. OT–55 limits Key                 Safety Recommendations are:
                                           rather than mandated by regulation.
                                           Earthjustice commented that OT–55 is                     Train speed to 50 mph. PHMSA and                        R–17–01
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                                           insufficient to keep LNG safe, stating                   FRA believe that this maximum speed                     Evaluate the risks posed to train crews by
                                                                                                    limit is appropriate for the                          hazardous materials transported by rail,
                                           that there is a lack of transparency on                                                                        determine the adequate separation distance
                                           its use. They further noted that without                   40 Circular OT–55, ‘‘Recommended Railroad           between hazardous materials cars and
                                           further analysis, PHMSA cannot                           Operating Practices for Transportation of Hazardous   locomotives and occupied equipment that
                                           confirm railroads are following OT–55.                   Materials,’’ https://www.railinc.com/rportal/         ensures the protection of train crews during
                                           They also claimed that even if HHFT-                     documents/18/260773/OT-55.pdf.                        both normal operations and accident



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                                           conditions, and collaborate with the Federal              and therefore no injuries that were                    will published it as an AAR Casualty
                                           Railroad Administration to revise 49 Code of              potentially preventable with additional                Prevention Circular (CPC).
                                           Federal Regulations 174.85 to reflect those               buffer cars.
                                           findings.                                                                                                        C. Environmental Impacts
                                              R–17–02                                                5. PHMSA Determination Regarding                         PHMSA received many comments
                                              Pending completion of the risk evaluation              Operational Controls                                   recommending further analysis of the
                                           and action in accordance with its findings
                                           prescribed in Safety Recommendation R–17–
                                                                                                        The existing structure of the HMR—                  environmental impacts associated with
                                           01, withdraw regulatory interpretation 06–                to include requirements for operational                this rulemaking. Please refer to the Final
                                           0278 that pertains to 49 Code of Federal                  controls—provides for the safe                         Environmental Assessment for
                                           Regulations 174.85 for positioning placarded              transportation of all hazardous                        discussion and response to comments.
                                           rail cars in a train and require that all trains          materials. In the NPRM, PHMSA and
                                           have a minimum of five nonplacarded cars                  FRA considered additional operational                  D. Economic Analysis
                                           between any locomotive or occupied                        controls specific to LNG, such as                        PHMSA received several comments
                                           equipment and the nearest placarded car                   mirroring the operational controls                     related to the economic analysis of the
                                           transporting hazardous materials, regardless              adopted for HHFTs,42 adopting OT–55                    rulemaking. Please refer to the Final
                                           of train length and consist.41                            or ‘‘Key Train’’ requirements into the                 Regulatory Impact Analysis (RIA) for
                                              AAR commented that there should                        HMR, limiting train length, or requiring               discussion and response to comments.
                                           not be additional buffer car                              controls for train composition, speed,                 E. Emergency Response
                                           requirements for trains transporting                      braking, and routing.
                                           LNG or any other hazardous material.                         PHMSA acknowledges the concerns                       Several commenters expressed
                                           They further noted that it is not justified               about relying on a widely adopted,                     concern about the perceived emergency
                                           from a safety and risk standpoint.                        voluntary industry standard, rather than               response ramifications associated with
                                                                                                     imposing regulatory requirements. After                the transportation of LNG by rail tank
                                           PHMSA Response                                            internal review and in consideration of                car. PHMSA has sorted these into the
                                              PHMSA has initiated a research                         certain substantive comments, PHMSA                    following subtopics: Training for
                                           project in coordination with the Volpe                    is requiring a two-way EOT device or                   Emergency Responders, Current
                                           Center to address NTSB Safety                             DP on the rear of any train consisting of              Emergency Planning, Evacuation
                                           Recommendations R–17–1 and –2. This                       20 or more loaded tank cars of LNG in                  Distances, and Modeling Availability.
                                           effort will result in a report that                       a continuous block or 35 or more loaded                1. Training for Emergency Responders
                                           identifies gaps in the existing studies,                  tank cars of LNG throughout the train.
                                           areas for further research, and what                      Further, PHMSA is requiring that each                     Several commenters are concerned
                                           conclusions can be drawn collectively                     rail car of LNG must be remotely                       that emergency responders lack the
                                           from the existing knowledge base, if                      monitored for pressure and location.                   training and expertise to respond to an
                                           any. PHMSA may consider changes to                        Finally, trains consisting of an LNG tank              LNG tank car incident, especially in
                                           the separation distance requirements in                   car are subject to route planning and                  unit train configurations. They
                                           § 174.85 of the HMR for placarded rail                    routing analysis requirement. PHMSA                    commented that the current emergency
                                           cars and tank cars in mixed commodity                     believes these operational controls, in                response requirements may be
                                           freight train and unit train                              conjunction with what is already                       insufficient to address an incident
                                           configurations pending the outcome of                     required under the HMR and the ‘‘Key                   involving LNG, including the potential
                                           the study. However, PHMSA is not                          Train’’ requirements in Circular OT–55,                for a BLEVE in accident conditions. The
                                           amending the separation distance                          will ensure the safe transportation of                 Center requested proper training and
                                           requirement in this final rule at this                    LNG. PHMSA and FRA have verified                       notification of local responders to the
                                           time. See Section III.C. ‘‘Additional                     that railroads are following and                       presence of LNG trains. NYDOT,
                                           Operational Controls for LNG                              implementing Circular OT–55 through                    NYDEC, NJDEP, and NYDHSES
                                           Transportation’’ for further discussion                   incorporation into their operating rules.              suggested that PHMSA provide specific
                                           of operational controls include                           PHMSA does not believe that explicit                   training, resources, and support to
                                           consideration of separation distances.                    speed restrictions are necessary given                 emergency response personnel,
                                              PHMSA and FRA collaborated under                       the widespread adoption of Circular                    including cooperation with State fire
                                           the scope of the Rail Safety Advisory                     OT–55. PHMSA and FRA expect that                       training agencies to ensure training is
                                           Committee Hazardous Materials Issues                      Circular OT–55 will be evaluated by the                consistent, effective, and readily
                                           Working Group Task No. 15–04 to                           rail industry regularly and that                       available as a requirement in the final
                                           address the issue of separation distance.                 additional operational safety measures                 rule, similar to the special permit. NFPA
                                           Ultimately, due to an absence of                          beyond the minimum requirements of                     cited previous comments they have
                                           consensus of the Working Group                            the HMR will be included to address                    submitted to regulatory actions
                                           participants, as well as a lack of                        operational concerns, as appropriate.                  regarding emergency response
                                           established incident data, the members                    FRA actively works with AAR’s                          resources. Specifically, NFPA stated
                                           did not reach agreement on a change to                    Hazardous Materials Committee, which                   that adding a flammable cryogenic
                                           the existing regulation governing                         is responsible for reviewing and                       material, like LNG, to the existing HHFT
                                           hazardous materials in train separation                   updating of OT–55. The Committee                       rail shipments posed further challenges
                                           distances. Moreover, PHMSA worked                         reviews OT–55 annually and determines                  to the capabilities and resources for
                                           with the Volpe Center in its review of                    if an update is warranted. If a change to              local responders. IAFC recommended
                                           rail accidents occurring between 2006                     OT–55 is needed, the Committee will                    that PHMSA work with shippers and
                                           and 2015 where there was a release of                     update the document accordingly and                    carriers to develop and deliver critical
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                                           hazardous materials near the head end                                                                            product, container and emergency
                                           of the train (occupied locomotive). The                      42 As defined in § 171.8, a high-hazard flammable   response information, and related
                                                                                                     train means a single train transporting 20 or more     training materials for the emergency
                                           study found no reported crew injuries                     loaded tank cars of a Class 3 flammable liquid in
                                                                                                     a continuous block or a single train carrying 35 or
                                                                                                                                                            planning and response communities.
                                            41 ‘‘Consist’’ means the group of rail cars that         more loaded tank cars of a Class 3 flammable liquid    Furthermore, the Governor of
                                           make up the train.                                        throughout the train consist.                          Washington State, on behalf of


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                                           Washington State, contended that the                     Emergency Management Agency                           responders impacted, identifying all
                                           NPRM did not address crew training                       (FEMA) National Fire Academy (NFA)                    sensitive receptors within the 1-mile
                                           and emergency response.                                  held a Town Hall Meeting in Lancaster                 buffer of the route and any alternative
                                                                                                    County, Pennsylvania.45 The purpose of                routes, with plans on how to protect
                                           PHMSA Response
                                                                                                    the Town Hall Meeting was to seek                     public health and safety and the
                                              PHMSA agrees that proper training                     input from and note concerns of the                   environment. They stated that this
                                           and information sharing are necessary                    emergency preparedness community                      information should be shared with the
                                           ingredients in promoting a safety                        and its stakeholders in the mid-Atlantic              States, providing an opportunity for
                                           transportation system and is committed                   region—specifically, Pennsylvania and                 States to comment on routes and
                                           to ensuring emergency responders have                    New Jersey, related to LNG                            planning.
                                           the information and tools they need to                   transportation. The meeting consisted of
                                           respond to hazardous materials                                                                                 PHMSA Response
                                                                                                    a series of technical presentations on
                                           incidents safely. First, PHMSA notes                     LNG transportation risks and incident                    PHMSA directs grant programs that
                                           that Class I railroads typically provide                 response protocols. Then, attendees                   are designed to improve hazardous
                                           and sponsor training for emergency                       participated in open discussions related              materials safety. For example, the HMEP
                                           responders along their routes.                           to the topic of general rail transportation           grants to States, Territories and Native
                                           Additionally, while large-scale LNG                      of LNG. While attendees provided                      American tribes enhance their
                                           incident response training is available                  general inputs on issues related to                   emergency response capabilities when
                                           through various organizations,43 the                     improving the overall effective response              dealing with hazardous materials
                                           currently available training is not                      capability in the event of a rail incident            related transportation incidents. The
                                           specific to rail transportation, and                     of LNG, there was no heightened                       grants, authorized under 49 U.S.C 5116,
                                           PHMSA and FRA are working jointly                        concern regarding the commodity or                    assists each recipient in performing
                                           with relevant industry experts to ensure                 mode of transportation. PHMSA found                   their hazardous materials response
                                           the availability of appropriate training                 that the emergency responders in                      duties and aid in the development,
                                           resources for emergency responders that                  attendance were well oriented to the                  implementation, and improvement of
                                           include rail-specific information. For                   challenges of LNG incident response, as               emergency plans for local communities
                                           example, FRA has already provided                        they already have LNG transiting                      and training for emergency responders
                                           grant funding to TRANSCAER® to                           through their communities in other                    to help communities prepare for a
                                           develop and refine LNG by rail                                                                                 potential hazardous materials
                                                                                                    modes of transportation and have
                                           emergency response training.44                                                                                 transportation incident. The hazmat
                                                                                                    improved and adjusted their plans to
                                           Additionally, PHMSA is developing a                                                                            safety grant programs have helped to
                                                                                                    include LNG.
                                           Commodity Preparedness and Incident                         PHMSA is committed to furthering                   foster partnerships with State and local
                                           Management Reference Sheet similar to                    engagement with emergency responders                  communities through ensuring
                                           that which was created for crude oil                     throughout the country regarding the                  emergency responders are prepared and
                                           transportation. This reference sheet will                transportation of LNG by rail through                 trained to respond properly to hazmat
                                           provide emergency response                               various forms of outreach, to include                 transportation incidents nationwide.
                                           organizations with a standard incident                                                                         PHMSA believes that these efforts will
                                                                                                    additional Town Hall Meetings,
                                           management framework based on pre-                                                                             prepare emergency responders for the
                                                                                                    participation at the annual IAFC
                                           incident planning, preparedness                                                                                risks regarding LNG transportation.
                                                                                                    conference, trainings, and webinars.
                                           principles, and best practices.                                                                                PHMSA will continue to assess the
                                           Furthermore, it will address                             2. Current Emergency Planning                         effectiveness of these programs and the
                                           transportation safety and precautions;                      Numerous commenters, to include                    preparedness of emergency responders.
                                           hazard assessment and risk; rail safety                  The Village of Barrington, Illinois,                  As previously noted, FRA has provided
                                           procedures; logistics; and the tools,                    expressed concern for the safety of                   grant funding to TRANSCAER® to
                                           equipment, and resources necessary to                    emergency responders. Several                         develop and refine LNG emergency
                                           prepare for and respond to incidents.                    individuals stated their belief that                  response training.
                                              PHMSA required in DOT–SP 20534                        current emergency response plans may                     Finally, as discussed in Section III of
                                           that the grantee provide training,                       be insufficient to address a rail incident            this final rule, PHMSA is revising
                                           conforming to NFPA 472, to emergency                     involving LNG, further noting that an                 § 172.820(a) to add a condition requiring
                                           response agencies that could be affected                                                                       any rail carrier transporting a quantity
                                                                                                    LNG train derailment could cause
                                           between the authorized origin and                                                                              of LNG in a rail tank car to comply with
                                                                                                    severe damage to the surrounding area
                                           destination. However, due to the                                                                               the additional safety and security
                                                                                                    and that first responders would be
                                           ongoing efforts to ensure adequate                                                                             planning requirements for
                                                                                                    unable to control any type of fire or
                                           emergency response training described                                                                          transportation by rail, which means the
                                                                                                    explosions. Additionally, some
                                           above, such a requirement is not                                                                               rail carrier is subject to collecting
                                                                                                    commenters expressed specific concern
                                           necessary in this final rule.                                                                                  commodity data, performing a route
                                              PHMSA is also engaged in outreach                     that there is no way to extinguish an
                                                                                                                                                          analysis, and determining alternative
                                           activities to educate and gain input from                LNG fire, with the only option to let the
                                                                                                                                                          routes. We are further revising the
                                           emergency responders directly. In                        fire burn out.
                                                                                                       Additionally, the NJDEP requested                  additional planning requirements to add
                                           October 2019, PHMSA and the Federal                                                                            a new condition for rail carriers to factor
                                                                                                    that emergency response plans be in
                                                                                                    place to prepare local responders better.             in transport of LNG to a routing analysis
                                             43 For example, the following organizations
                                                                                                    They also requested that the emergency                prior to the onset of transport of any
                                           provide LNG response training: Texas A&M
                                           Extension Service (https://teex.org/program/lng-         response plans include the route and an               loaded tank car of LNG. Once transport
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                                           emergency-response/) and Northeast Gas                   alternative route analysis, developed                 of LNG begins for a carrier, it can revert
                                           Association (https://www.northeastgas.org/tql-lng-
                                                                                                    with the State and local emergency                    to the standard requirement to compile
                                           safety.php).                                                                                                   commodity flow data no later than 90
                                             44 See https://www.transcaer.com/training/

                                           online-training-courses/seconds-count-are-you-             45 See the LNG by Rail Transport Town Hall          days after the end of each calendar year
                                           prepared for additional information on                   Meeting Report, at: https://www.regulations.gov/      and use that data in analyzing the safety
                                           TRANSCAER®.                                              document?D=PHMSA-2019-0100-3005.                      and security risks for the transportation


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                                           route(s), and subsequently identifying                   emergency responders are familiar with                 candid emergency event training
                                           alternative routes.                                      this recommended distance, having                      materials for rail workers and local
                                              These actions will strengthen the                     used this guidance for decades.                        emergency responders.
                                           emergency response planning                              Additionally, PHMSA updates the ERG
                                           requirements and will assist in getting                                                                         PHMSA Response
                                                                                                    regularly in consultation with the
                                           needed information to emergency                          response community and other experts,                    PHMSA notes that various software
                                           responders.                                              and adjusts recommended protective                     programs are available to model the
                                                                                                    action distances as part of this process.              dispersion of gases, including LNG.
                                           3. Evacuation Distances
                                                                                                       PHMSA and FRA are aware of, and                     Moreover, PHMSA sponsored a study by
                                              Other commenters cited concerns                       have extensively reviewed, the available               the UK Health and Safety Laboratory to
                                           over the feasibility of imposing                         studies on LNG pool fires and                          develop a Model Evaluation Protocol
                                           evacuation distances in an LNG                           evacuation distances. Specifically,                    that can be used to evaluate the
                                           accident. The IAFF commented that an                     PHMSA has reviewed studies                             suitability of vapor dispersion models
                                           LNG tank car fire would require the                      conducted by Sandia National                           for predicting hazard ranges associated
                                           evacuation of all people within a 1-mile                 Laboratory 46 for DOE, a study                         with large spills of LNG.49 Finally, the
                                           radius, stating that this would not be                   conducted by ABSG for FERC 47 on the                   ERG provides an initial evacuation
                                           possible in most jurisdictions across the                hazard characteristics of LNG released                 distance for flammable gases including
                                           United States. They stated that any fire                 over water, and a study on LNG pool                    LNG.50 Therefore, PHMSA believes that
                                           involving multiple LNG cars would                        fires on land.48                                       there are sufficient tools available to the
                                           place large numbers of the public at risk                   The purpose of the ERG and the                      emergency response community to
                                           while depleting many communities of                      evacuation distances contained therein                 ensure adequate modeling in the event
                                           their emergency response resources.                      is to assist responders in making initial              of an incident.
                                           They further commented that                              decisions upon arriving at the scene of
                                           consequences would be disastrous                         a hazardous materials transport                        5. PHMSA Determination Regarding
                                           unless responders receive extensive                      incident. The ERG should not be                        Emergency Response
                                           training specific to an LNG-by-rail                      considered as substitutes for emergency                   The existing structure of the HMR—
                                           event. PSR commented that in the event                   response training, knowledge,                          to include requirements for security
                                           of an LNG by rail fire and/or explosion,                 experience, or sound judgment. The                     plans, emergency response information,
                                           PHMSA would be unable to adequately                      ERG also cannot address all possible                   and training—provides for the safe
                                           define the hazard zone and the risk to                   circumstances that may be associated                   transportation of all hazardous
                                           nearby populations. PSR stated that first                with a hazardous material release                      materials. Notably, 49 CFR part 172,
                                           responders, health professionals,                        incident. Additionally, each guide page                subpart G sets forth the applicability
                                           planners, and concerned citizens would                   within the ERG provides guidance for                   and requirements for emergency
                                           not know the extent of the hazard zone                   responding to incidents involving                      response information which must be
                                           or the nature and degree of risk it poses.               multiple different but related hazardous               made immediately available to
                                           PSR further expressed that the dangers                   materials. In the current 2016 edition of              emergency responders. The HMR
                                           clearly call for greater elaboration,                    the ERG, LNG has been assigned to                      currently require the following
                                           including the response measures                          Guide 115, ‘‘Gases—Flammable                           information to accompany a shipment of
                                           necessary to minimize harm and protect                   (Including Refrigerated Liquids).’’ Guide              LNG by rail:
                                           human life.                                              115 provides generalized response                         (1) Immediate hazards to health;
                                              Additionally, the City of Zion Fire                   recommendations for over 100 different                    (2) Risks of fire or explosion;
                                           and Rescue noted that the Emergency                      hazardous materials. Therefore, this                      (3) Immediate precautions to be taken
                                           Response Guidebook (ERG) uses the                        guide page should only be used until a                 in the event of an accident or incident;
                                           same response guidance for LNG and                       specific incident can be assessed and                     (4) Immediate methods for handling
                                           LPG. They stated that a 1-mile                           more appropriate response measures                     fires;
                                           evacuation radius would be inadequate                    implemented.                                              (5) Initial methods for handling spills
                                           for a large LNG fire and that it would                      Based on PHMSA’s review of                          or leaks in the absence of fire; and
                                           not be feasible to implement a larger                    available literature on the properties of                 (6) Preliminary first aid measures.
                                           evacuation distance. Finally,                            LNG releases, the current evacuation                      PHMSA believes that the current
                                           Earthjustice expressed its belief that                   distances are appropriate. Therefore,                  requirements for emergency response
                                           Sandia and Lawrence Livermore                            PHMSA will make no change to the                       information are appropriate for future
                                           National Lab testing noted that methane                  current evacuation distances for LNG.                  movement of LNG by rail. Additionally,
                                           fires behave differently than other                                                                             PHMSA directs comprehensive grant
                                                                                                    4. Modeling Availability
                                           hydrocarbon fires, and that LNG has a                                                                           programs that are designed to improve
                                           potential for a ‘‘wider than anticipated                    The Delaware Riverkeeper Network
                                                                                                                                                           hazardous materials safety. The hazmat
                                           vapor cloud.’’                                           expressed concern that there are no
                                                                                                                                                           safety grant programs have helped to
                                                                                                    publicly available modeling estimates
                                           PHMSA Response                                                                                                  foster partnerships with local
                                                                                                    by PHMSA or private consultants on the
                                              PHMSA disagrees that the 1-mile                                                                              communities and universities to provide
                                                                                                    downwind distances for an LNG by rail
                                           evacuation distance is not possible and                                                                         resources for emergency preparedness
                                                                                                    release and how it can travel into
                                           further notes that LNG is currently                                                                             and the implementation of best
                                                                                                    trackside communities. They further
                                           authorized for transportation by cargo                   commented that there is a need for                       49 Evaluating vapor dispersion models for safety
                                           tank and that the recommended 1-mile                                                                            analysis of LNG facilities. M.J. Ivings, SE Grant, S.F.
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                                           evacuation distance for LNG tank car                          46 https://www.nrc.gov/docs/ML0933/
                                                                                                                                                           Jagger, C.J. Lea, J.R. Steward and D.M. Webber.
                                           fires is consistent with response                        ML093350855.pdf.                                       (September 2016). https://www.nfpa.org/-/media/
                                                                                                      47 https://www.ferc.gov/industries/gas/indus-act/    Files/News-and-Research/Fire-statistics-and-
                                           guidance for cargo tank fires involving
                                                                                                    lng/cons-model/cons-model.pdf.                         reports/Hazardous-materials/
                                           LNG. Furthermore, ERG recommends a                         48 https://www.researchgate.net/publication/         RFLNGDispersionModelMEP.ashx.
                                           1-mile evacuation distance for many                      327900878_Experimental_Study_of_LNG_Pool_                50 See section ‘‘III. E. 3, Evacuation Distances’’ for

                                           hazardous materials; therefore,                          Fire_on_Land_in_the_Field.                             further discussion.



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                                           practices regarding hazardous materials                  rulemaking. PHMSA agrees with                         impacts on the Tribe and its members.
                                           safety nationwide.                                       commenters that the risks related to the              The Puyallup Tribe submitted that the
                                                                                                    transportation of LNG by rail should be               rulemaking will result in rail
                                           F. Comments of General Opposition
                                                                                                    assessed and properly mitigated to                    transportation of LNG crossing its
                                              PHMSA received hundreds of                            ensure safety for the public and the                  reservation (located within the
                                           comments expressing general                              environment. As outlined above,                       metropolitan area of Tacoma,
                                           opposition to the overall intent of the                  PHMSA has assessed the risks posed by                 Washington) and adjacent areas when
                                           NPRM and the provisions proposed                         the transportation of LNG by rail.                    travelling to and from Puget Sound
                                           therein to authorize the transportation                  PHMSA finds that the design elements                  Energy’s planned Tacoma LNG facility.
                                           of LNG in rail tank cars. Many of these                  of the DOT–113C120W9 rail tank car,                   The Puyallup Tribe asserted that rail
                                           commenters voiced general concern                        the operational controls required in this             traffic entails a number of hazards for
                                           about the public health, safety, and/or                  final rule, combined with the existing                the Tribe and its members, including
                                           environmental risks of trains carrying                   HMR requirements that would apply                     the following: Safety risks associated
                                           bulk quantities of LNG. There was also                   and the voluntary industry standards in               with the release of LNG being
                                           opposition to the overall timeline of the                AAR Circular OT–55, will provide a safe               transported by rail; degradation of air
                                           rule, and PHMSA’s authority to issue it.                 transportation environment for LNG by                 quality in the area due to more diesel
                                              Specifically, Theresa Pugh Consulting                 rail.                                                 trains operating in the vicinity of the
                                           LLC opposed the transportation of LNG                       PHMSA acknowledges commenters’                     reservation; an increase in rail traffic
                                           by rail in the lower 48 States, noting                   general opposition to the transport of                that would frustrate quiet enjoyment of
                                           that Alaska may be an exception                          LNG on routes that bring this material                Tribal lands; and increased exposure to
                                           because of extreme circumstances that                    into close proximity to the public. To                rising sea levels from climate change.
                                           might require the need for LNG                           address this concern, PHMSA is                           At the Puyallup Tribe’s request,
                                           transportation by tank car. PSR and                      applying the existing additional                      PHMSA personnel held a meeting with
                                           various others expressed concern that                    planning requirements to the transport                representatives of the Puyallup Tribe at
                                           LNG by rail would pose risks to people                   of LNG in rail tank cars, which include               PHMSA’s headquarters in Washington,
                                           living in proximity to rail lines,                       routing analysis requirements, to factor              DC on February 12, 2020. Attendees at
                                           especially in densely populated urban                    the risk of LNG transport in route                    the meeting discussed the Puyallup
                                           and suburban areas. PSR specifically                     planning. In this final rule, there is no             Tribe’s concerns regarding the Tacoma
                                           stated that it views issuing a national                  geographical limit to LNG train                       LNG facility, as well as the Puyallup
                                           approval for LNG by rail as premature.                   operations, making routing analysis                   Tribe’s written comments submitted in
                                              The Guardians of Martin County, Inc.                  beneficial. This amendment will require               the docket for this rulemaking. A
                                           and the Alliance for Safe Trains both                    railroads to evaluate safety and security             summary of the February 12, 2020
                                           expressed concern over LNG trains                        risk factors when assessing the potential             meeting has been posted to the docket.
                                           sharing the same track as passenger                      routes to be used to transport LNG. The               PHMSA contacted representatives of the
                                           trains in Florida. The Guardians of                      27 safety and security risk factors                   Puyallup Tribe and made itself available
                                           Martin County, Inc. noted the age of                     required by the route risk assessment                 for additional meetings.
                                           infrastructure and population density of                 provide a robust framework for carrier
                                           the area these trains would pass                         evaluation of the routes considered for               PHMSA Response
                                           through. The Alliance for Safe Trains                    use in LNG transportation.                               PHMSA submits that those of the
                                           noted that a high-speed rail project will                   Trains consisting of, and in some                  Puyallup Tribe’s concerns predicated on
                                           be sharing tracks or riding on parallel                  cases made up entirely of, rail cars                  potential rail transport of LNG to and
                                           tracks to trains carrying LNG. Various                   carrying hazardous materials are moved                from Puget Sound Energy’s Tacoma
                                           commenters, including the Surfrider                      on the same rail lines as passenger                   LNG facility are inapposite. The Tacoma
                                           Foundation, commented that the                           trains across the country. For densely-               LNG facility is regulated by Washington
                                           proposals in the NPRM are extremely                      populated passenger train corridors                   State and not PHMSA. Further, it does
                                           dangerous. The Surfrider Foundation                      (e.g., Northeast Corridor and Florida’s               not appear that rail transportation of
                                           stated that LNG is a flammable, volatile,                east coast) railroads typically operate               LNG to the Tacoma LNG facility is
                                           and hazardous material with numerous                     freight trains (with and without hazmat)              currently permitted by the terms of that
                                           examples of accidents and safety issues.                 at night to maximize efficiency and                   facility’s State authorization; rather,
                                           The Surfrider Foundation further stated                  fluidity (i.e., freight trains will not slow          Condition 41 of the Puget Sound Air
                                           that one government study put the                        down passenger trains, and freight                    Agency Authorizing Order specifies that
                                           hazard range for a vapor cloud at more                   trains will not be placed in sidings to               the ‘‘sole source of natural gas supply
                                           than 1.5 miles.                                          make way for passenger trains). On                    used in all operations’’ at the Tacoma
                                              The Delaware Riverkeeper Network                      cross country routes the passenger and                LNG Facility will be from Canada via
                                           disagreed with the language in AAR’s                     freight trains meet with greater                      pipeline.51 Nor does the Authorizing
                                           petition suggesting that DOT and                         frequency. In both cases, the passenger               Order seem to contemplate rail
                                           Transport Canada maintain consistent                     and, more likely, freight trains will be              transportation of LNG from that facility;
                                           requirements for LNG by rail. They                       operating under positive train control,               rather, LNG transported from that
                                           stated that there is insufficient                        which is specifically intended to                     facility will be transported by truck, or
                                           justification to change the HMR because                  prevent collisions, or incidents resulting            will be converted to natural gas for
                                           no rail cars of LNG have been                            from misaligned switches, incursions                  supply to customers via Puget Sound
                                           transported in Canada to date.                           into work zones, and overspeed
                                                                                                    derailments.                                            51 See Puget Sound Clean Air Agency, Order of
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                                           PHMSA Response
                                                                                                                                                          Approval No. 11386 (Dec. 10, 2019) (Authorizing
                                             PHMSA notes that many of these                         G. Comments From the Puyallup Tribe                   Order); Final Supplemental Environmental Impact
                                           comments did not contain sufficient                        PHMSA received comments from the                    Statement: Proposed Tacoma LNG Project at (Mar.
                                                                                                                                                          2019) (Tacoma LNG FSEIS). These and other
                                           information or supporting rationale that                 Puyallup Tribe of Tacoma, Washington                  documents in the Puget Sound Clean Air Agency
                                           could be assessed to determine the                       contending that the rulemaking would                  docket can be found at the following link: https://
                                           provisions authorized in this                            have potential direct and disparate                   pscleanair.gov/460/Current-Permitting-Projects.



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                                           Energy’s natural gas pipeline                              of this section provides the applicability            train carrying 35 or more loaded tank
                                           distribution system.52 Indeed,                             for when a rail carrier must comply with              cars of ‘‘Methane, refrigerated liquid’’
                                           schematics of the Tacoma LNG facility                      the requirements of this section. In this             throughout the train, each carrier must
                                           within the Puget Sound Air Agency                          final rule, PHMSA is revising                         ensure the train is equipped and
                                           docket suggest that rail infrastructure                    § 172.820(a) to add a condition requiring             operated with either an EOT device, as
                                           neither exists nor is contemplated at the                  any rail carrier transporting a quantity              defined in 49 CFR 232.5, or a DP
                                           site.53                                                    of UN1972 (‘‘Methane, refrigerated                    system, as defined in 49 CFR 229.5.
                                                                                                      liquid’’ (cryogenic liquid) or ‘‘Natural
                                           H. Comments Beyond the Scope of This                                                                             F. Section 179.400–5
                                                                                                      gas, refrigerated liquid’’ (cryogenic
                                           Rulemaking                                                                                                         Section 179.400–5 prescribes the
                                                                                                      liquid)) to comply with the additional
                                              PHMSA also received miscellaneous                       safety and security planning                          material requirements for the
                                           comments opposing the bulk transport                       requirements for transportation by rail.              construction of DOT–113 tank cars.
                                           of LNG by any mode of transportation                       Further, PHMSA is revising paragraph                  Paragraph (b) states that any steel
                                           (to include highway or pipeline), as well                  (b) to remove the initial compliance date             casting, steel forging, steel structural
                                           as numerous comments pertaining to                         applicable to HHFTs as these dates have               shape or carbon steel plate used to
                                           the ethical ramifications of fossil fuel                   since passed (i.e., rail carriers subject to          fabricate the outer jacket or heads must
                                           extraction and usage. Commenters                           the additional planning requirements                  be as specified in AAR Specifications
                                           questioned the ethics of, and requested                    because of transporting HHFTs had to                  for Tank Cars, appendix M. PHMSA is
                                           an end to, fracking, use of fossil fuels,                  complete the initial commodity flow                   amending this paragraph to require that
                                           and the practice of transporting coal in                   data collection by March 31, 2016, using              for tank cars transporting ‘‘Methane,
                                           open railcars near waterways.                              2015 data), and adding a new condition                refrigerated liquid,’’ the outer shell must
                                           Commenters also expressed concerns                         for rail carriers to factor in transport of           be made of AAR TC 128, Grade B
                                           with LNG trains sharing railways with                      LNG (UN1972) to a routing analysis                    normalized steel plate as specified in
                                           high-speed trains, and high-speed trains                   prior to the onset of transport of any                § 179.100–7(a).
                                           having at grade crossings citing safety                    loaded tank car of LNG. Once transport
                                           concerns. These comments either did                                                                              G. Section 179.400–8
                                                                                                      of LNG begins for a carrier, it can revert
                                           not provide recommendations for                            to the standard requirement in                           Section 179.400–8 prescribes the
                                           regulatory action, exceeded the scope of                   paragraph (b) that requires it to compile             requirements for plate thickness on the
                                           PHMSA’s authority, or were not within                      commodity flow data no later than 90                  DOT–113 specification tank car.
                                           the scope of this rulemaking.                              days after the end of each calendar year              Paragraph (d) states that the minimum
                                           V. Section-by-Section Review                               and use that data in analyzing the safety             wall thickness for the outer jacket shell,
                                                                                                      and security risks for the transportation             after forming, must be no less than 7/
                                             The following is a section-by-section                    route(s), and subsequently identifying                16th inch and the outer jacket heads
                                           review of the amendments in this final                     alternative routes.                                   must be no less than 1⁄2 inch thick.
                                           rule.                                                                                                            PHMSA is amending paragraph (d) to
                                                                                                      D. Section 173.319
                                           A. Section 172.101                                                                                               require DOT–113 tank cars used in LNG
                                                                                                         Section 173.319 prescribes                         service to have an outer shell and tank
                                              Section 172.101 provides the HMT                        requirements for cryogenic liquids                    head thickness, after forming, of 9/16th
                                           and instructions for its use. PHMSA is                     transported in rail tank cars. Paragraph              inch. Additionally, the shell and heads
                                           amending the entry for ‘‘UN1972,                           (d) provides which cryogenic liquids                  must be made of AAR TC 128, Grade B
                                           Methane, refrigerated liquid’’ in the                      may be transported in a DOT–113 tank                  normalized steel plate as specified in
                                           HMT to add reference to the cryogenic                      car when directed to this section by                  § 179.100–7(a).
                                           liquids in (rail) tank cars packaging                      Column (8C) of the § 172.101 HMT.
                                           section—§ 173.319 in Column (8C).                          PHMSA is amending paragraph (d)(2) to                 H. Section 179.400–26
                                           Additionally, PHMSA is amending the                        authorize the transport of ‘‘Methane,                   PHMSA is adding § 179.400–26 to
                                           entry to add a special provision.                          refrigerated liquid’’ (i.e., LNG).                    provide the authorization for a DOT–
                                           B. Section 172.102                                         Additionally, PHMSA is amending the                   113 tank car to be loaded to a gross
                                              Section 172.102 provides the special                    Pressure Control Valve Setting or Relief              weight on rail of up to 286,000 pounds
                                           provisions and instructions for their                      Valve Setting Table in § 173.319(d)(2) to             (129,727 kg) upon approval by the
                                           applications. PHMSA is amending                            specify settings for methane in DOT–                  Associate Administrator for Safety,
                                           paragraph (c)(1) to add special provision                  113C120W tank cars, specifically, a                   Federal Railroad Administration (FRA).
                                           440. Special provision 440 requires that                   start-to-discharge pressure valve setting
                                                                                                                                                            I. Section 180.515
                                           each tank car used to transport LNG be                     of 75 psig; a design service temperature
                                                                                                      of ¥260 °F; a maximum pressure when                      Section 180.515 discusses
                                           remotely monitored for pressure and                                                                              requirements for marking tank cars as
                                           location. Additionally, the offeror must                   offered for transportation of 15 psig; and
                                                                                                      a filling density of 37.3 percent by                  part of their continuing qualification for
                                           notify the carrier if the tank pressure                                                                          service. In this final rule, PHMSA is
                                           rise exceeds 3 psig in a 24-hour period.                   weight.
                                                                                                                                                            adding the new specification suffix ‘‘9’’
                                           C. Section 172.820                                         E. Section 174.200                                    to the DOT–113C120W specification to
                                             Section 172.820 prescribes additional                       Section 174.200 prescribes the special             indicate compliance with enhanced
                                           safety and security planning                               handling requirements for Class 2                     outer tank steel and thickness
                                           requirements for transportation by rail,                   materials transported by rail. PHMSA is               requirements beyond the standard
                                           specifically, commodity data, a rail                       amending this section to include the                  DOT–113C120W specification. In
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                                           routing analysis, and identification of                    operational requirements for trains                   conformance with this change, PHMSA
                                           practicable alternative(s). Paragraph (a)                  containing tank cars of LNG. PHMSA is                 is adding a new paragraph (d) to
                                                                                                      adding paragraph (d), which states that               § 180.515 to require that the ‘‘9’’ suffix
                                                52 See Tacoma LNG FSEIS at 1, 2–2, 2–4 to 2–5.        for a single train of 20 or more loaded               always remain marked as part of the
                                                53 See Tacoma LNG FSEIS at Figures 1–1 and 1–         tank cars of ‘‘Methane, refrigerated                  specification DOT–113C120W9 for these
                                           2.                                                         liquid’’ in a continuous block or a single            enhanced tank cars, to distinguish


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                                           standard DOT–113C120W tank cars                          sought public comment on revisions to                 regulation that has substantial direct
                                           (such as those currently used to                         the HMR authorizing the transportation                effects on the States, the relationship
                                           transport ethylene) from enhanced                        of LNG by rail tank car. PHMSA also                   between the Federal government and
                                           DOT–113C120W9 cars authorized for                        sought comment on the preliminary cost                the States, or the distribution of power
                                           LNG. PHMSA intends this new                              and cost savings analyses, as well as any             and responsibilities among the various
                                           paragraph to reduce confusion for tank                   information that could assist in                      levels of government. Therefore, the
                                           car users.                                               quantifying the benefits of this                      consultation and funding requirements
                                                                                                    rulemaking. Those comments are                        of E.O. 13132 do not apply.
                                           VI. Regulatory Analyses and Notices
                                                                                                    addressed, and additional discussion                     Federal hazmat law, 49 U.S.C. 5101–
                                           A. Statutory/Legal Authority for This                    about the economic impacts of the final               5128, contains express preemption
                                           Rulemaking                                               rule are provided, within the final RIA               provisions relevant to this proceeding.
                                                                                                    posted in the docket.55                               As amended by Section 1711(b) of the
                                              This rulemaking is published under
                                                                                                       This final rule adopts the proposal in             Homeland Security Act of 2002 (Pub. L.
                                           the authority of the Federal hazmat law.
                                                                                                    the NPRM, with certain amendments, to                 107–296, 116 Stat. 2319), 49 U.S.C.
                                           Section 5103(b) of the Federal hazmat
                                                                                                    allow the transportation of LNG by rail               5125(a) provides that a requirement of a
                                           law authorizes the Secretary of
                                                                                                    in an authorized tank car. Under current              State, political subdivision of a State, or
                                           Transportation to ‘‘prescribe regulations
                                                                                                    regulatory standards, LNG is not                      Indian tribe is preempted—unless the
                                           for the safe transportation, including
                                                                                                    authorized for transportation by tank                 non-Federal requirement is authorized
                                           security, of hazardous materials in
                                                                                                    car. Therefore, this final rule is                    by another Federal law or DOT grants a
                                           intrastate, interstate, and foreign
                                                                                                    considered an enabling rule.                          waiver of preemption under section
                                           commerce.’’ The Secretary’s authority
                                                                                                       In promulgating this final rule,                   5125(e)—if (1) complying with the non-
                                           regarding hazardous materials safety is
                                                                                                    PHMSA is providing a path for potential               Federal requirement and the Federal
                                           delegated to PHMSA at 49 CFR 1.97.
                                                                                                    benefits that would not otherwise be                  requirement is not possible (dual
                                           This rulemaking authorizes the
                                                                                                    gained in the absence of this                         compliance test); or (2) the non-Federal
                                           transportation of LNG by rail in DOT–
                                                                                                    rulemaking, such as increased                         requirement, as applied and enforced, is
                                           113C120W tank cars, with certain
                                                                                                    transportation efficiency, increased                  an obstacle to accomplishing and
                                           enhanced outer tank requirements,
                                                                                                    modal safety, expanded fuel usage,                    carrying out the Federal requirement
                                           subject to all applicable requirements
                                                                                                    improved accessibility to remote                      (obstacle test).
                                           and certain additional operational
                                                                                                    regions, and increased U.S. energy                       Additionally, 49 U.S.C. 5125(b)(1)
                                           controls.
                                                                                                    competitiveness. These benefits are                   provides that a non-Federal requirement
                                           B. Executive Order 12866 and DOT                         described qualitatively in the Final RIA.             concerning any of five subjects is
                                           Regulatory Policies and Procedures                       The final rule essentially prescribes                 preempted when the non-Federal
                                              This rulemaking is considered a                       packaging for a flammable cryogenic                   requirement is not ‘‘substantively the
                                           significant regulatory action under                      material (i.e., LNG) for shippers and rail            same as’’ a provision of Federal hazmat
                                           section 3(f) of Executive Order 12866,                   carriers who choose to transport LNG by               law, a regulation prescribed under that
                                           ‘‘Regulatory Planning and Review’’ [58                   rail. The discretionary and voluntary                 law, or a hazardous materials security
                                           FR 51735 (October 4, 1993)], and was                     decision of a shipper and railroad                    regulation or directive issued by the
                                           reviewed by the Office of Management                     company to transport LNG by rail, upon                Department of Homeland Security
                                           and Budget (OMB). This rulemaking is                     implementation of this final rule,                    (covered subjects test).57 To be
                                           also considered a significant rulemaking                 requires full compliance with all                     ‘‘substantively the same,’’ the non-
                                           under the DOT regulations governing                      existing regulations governing the                    Federal requirement must conform ‘‘in
                                           rulemaking procedures (49 CFR part 5).                   transportation of flammable cryogenic                 every significant respect to the Federal
                                           E.O. 12866 requires agencies to regulate                 materials, and the operation of freight               requirement. Editorial and other similar
                                           in the ‘‘most cost-effective manner,’’ to                and other non-passenger train services;               de minimis changes are permitted.’’ The
                                           make a ‘‘reasoned determination that                     as well as the additional requirements                subject areas covered under this
                                           the benefits of the intended regulation                  adopted under the final rule, namely,                 authority are:
                                           justify its costs,’’ and to develop                      enhanced outer tank design and                           (1) The designation, description, and
                                           regulations that ‘‘impose the least                      material standards and operational                    classification of hazardous materials;
                                                                                                    controls supplemental to the existing                    (2) The packing, repacking, handling,
                                           burden on society.’’ Similarly, DOT
                                                                                                    operational controls in the HMR.                      labeling, marking, and placarding of
                                           regulations require that regulations
                                                                                                                                                          hazardous materials;
                                           issued by PHMSA and other DOT                            C. Executive Order 13771                                 (3) The preparation, execution, and
                                           Operating Administrations ‘‘should be                      This rulemaking is expected to be an                use of shipping documents related to
                                           designed to minimize burdens and                         Executive Order 13771 deregulatory                    hazardous materials and requirements
                                           reduce barriers to market entry                          action. Details on the estimated cost                 related to the number, contents, and
                                           whenever possible, consistent with the                   savings of this final rule can be found               placement of those documents;
                                           effective promotion of safety’’ and                      in the final RIA posted in the docket.56                 (4) The written notification,
                                           should generally ‘‘not be issued unless                                                                        recording, and reporting of the
                                           their benefits are expected to exceed                    D. Executive Order 13132
                                                                                                                                                          unintentional release in transportation
                                           their costs.’’ § 5.5(f)–(g).                               This rulemaking was analyzed in                     of hazardous material; and
                                              Additionally, E.O. 12866 and DOT                      accordance with the principles and                       (5) The design, manufacture,
                                           regulations require agencies to provide                  criteria contained in Executive Order                 fabrication, marking, maintenance,
                                           a meaningful opportunity for public                      13132, ‘‘Federalism.’’ This rulemaking                recondition, repair, or testing of a
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                                           participation, which also reinforces                     may preempt State, local, and Tribal                  packaging or container represented,
                                           requirements for notice and comment                      requirements but does not amend any                   marked, certified, or sold as qualified
                                           under the APA.54 Therefore, in the
                                           previously published NPRM, PHMSA                          55 See Docket No. PHMSA–2018–0025 at                   57 Unless the non-Federal requirement is
                                                                                                    www.regulations.gov.                                  authorized by another Federal law or DOT grants
                                             54 5 U.S.C. 553; 49 CFR 5.5(i).                         56 Id.                                               a waiver of preemption under 49 CFR 5125(e).



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                                           for use in transporting hazardous                           PHMSA is committed to satisfying its                  (2) a statement of the significant
                                           material.                                                obligations under E.O. 13175 and DOT                  issues raised by the public comments in
                                              This rule addresses subject items (2)                 Order 5301.1 related to Tribal outreach               response to the initial regulatory
                                           and (5) above, which are covered                         to ensure meaningful and timely                       flexibility analysis, a statement of the
                                           subjects, and therefore, non-Federal                     engagement of Tribal governments in                   assessment of the agency of such issues,
                                           requirements that fail to meet the                       PHMSA rulemaking. As discussed                        and a statement of any changes made in
                                           ‘‘substantively the same’’ standard are                  above, PHMSA personnel have                           the proposed rule as a result of such
                                           vulnerable to preemption under the                       conducted a face-to-face meeting with                 comments.
                                           Federal hazmat law. Moreover, PHMSA                      representatives of the Puyallup Tribe to                 PHMSA addressed public comments
                                           will continue to make preemption                         solicit their concerns during the                     filed under the NPRM, as well as the
                                           determinations applicable to specific                    development of this final rule. PHMSA                 Special Permit. The comments were
                                           non-Federal requirements on a case-by-                   has addressed those concerns, as well as              addressed by topic and addressed
                                           case basis, using the obstacle, dual                     the written comments submitted by the                 accordingly. Please refer to Section IV.
                                           compliance, and covered subjects tests                   Puyallup Tribe, in the final rule and                 ‘‘Summary and Discussion of Comments
                                           provided in Federal hazmat law.                          final EA. Further, since the February                 to the Rulemaking Docket,’’ of the
                                              Federal preemption also may exist                     2020 meeting with the Puyallup Tribe,                 preamble.
                                           pursuant to section 20106 of the former                  PHMSA has contacted representatives of                   (3) the response of the agency to any
                                           Federal Railroad Safety Act of 1970                      the Puyallup Tribe and extended                       comments filed by the Chief Counsel for
                                           (FRSA), repealed, revised, reenacted,                    invitations for follow-up meetings with               Advocacy of the Small Business
                                           and recodified at 49 U.S.C. 20106, and                   PHMSA leadership. The Puyallup Tribe                  Administration in response to the
                                           the former Safety Appliance Acts (SAA),                  has not accepted PHMSA’s invitation to                proposed rule, and a detailed statement
                                           repealed revised, reenacted, and                         conduct further meetings.                             of any change made to the proposed
                                           recodified at 49 U.S.C. 20301–20304,                                                                           rule in the final rule as a result of the
                                           20306. Section 20106 of the former                       F. Regulatory Flexibility Act, Executive
                                                                                                                                                          comments.
                                           FRSA provides that States may not                        Order 13272, and DOT Policies and                        PHMSA did not receive comments
                                           adopt or continue in effect any law,                     Procedures                                            filed on behalf of the Chief Counsel for
                                           regulation, or order related to railroad                    This rulemaking complies with the                  Advocacy at the Small Business
                                           safety or security that covers the subject               Regulatory Flexibility Act (5 U.S.C. 601              Administration (SBA).
                                           matter of a regulation prescribed or                     et seq.), which requires agencies to                     (4) a description of and an estimate of
                                           order issued by the Secretary of                         consider whether a rulemaking would                   the number of small entities to which
                                           Transportation (with respect to railroad                 have a ‘‘significant economic impact on               the rule will apply or an explanation of
                                           safety matters) or the Secretary of                      a substantial number of small entities’’              why no such estimate is available.
                                           Homeland Security (with respect to                       to include small businesses, not-for-                    The Regulatory Flexibility Act of 1980
                                           railroad security matters), except when                  profit organizations that are                         requires a review of proposed and final
                                           the State law, regulation, or order                      independently owned and operated and                  rules to assess their impact on small
                                           qualifies under the section’s ‘‘essentially              are not dominant in their fields, and                 entities, unless the Secretary certifies
                                           local safety or security hazard.’’ The                   governmental jurisdictions with                       that the rule would not have a
                                           former SAA has been interpreted by the                   populations under 50,000. This                        significant economic impact on a
                                           Supreme Court as preempting the field                    rulemaking has been developed in                      substantial number of small entities.
                                           ‘‘of equipping cars with appliances                      accordance with Executive Order 13272,                ‘‘Small entity’’ is defined in 5 U.S.C.
                                           intended for the protection of                           ‘‘Proper Consideration of Small Entities              601 as a small business concern that is
                                           employees.’’ Southern Ry. Co. v. R.R.                    in Agency Rulemaking’’, and DOT’s                     independently owned and operated, and
                                           Comm’n of Ind., 236 U.S. 439, 446                        procedures and policies to promote                    is not dominant in its field of operation.
                                           (1915). The train’s power braking                        compliance with the Regulatory                        As far as the railroad industry, the SBA
                                           system is considered a safety                            Flexibility Act to ensure that potential              stipulates in its size standards that a
                                           mechanism within the terms of the                        impacts of draft rules on small entities              ‘‘small entity’’ in the railroad industry is
                                           former SAA. 49 U.S.C. 20302(a)(5).                       are properly considered.                              a for profit ‘‘line-haul railroad’’ that has
                                                                                                       (1) a statement of the need for, and               fewer than 1,500 employees, a ‘‘short
                                           E. Executive Order 13175                                 objectives of, the rule.                              line railroad’’ with fewer than 1,500
                                              This rulemaking was analyzed in                          The amendments to the HMR made in                  employees, a ‘‘commuter rail system’’
                                           accordance with the principles and                       this final rule, which enable LNG to be               with annual receipts of less than $16.5
                                           criteria contained in Executive Order                    transported by rail, are intended to                  million, or a contractor that performs
                                           13175, ‘‘Consultation and Coordination                   provide relief by authorizing the                     support activities for railroads with
                                           with Indian Tribal Governments’’ and                     transportation of LNG in tank cars with               annual receipts of less than $16.5
                                           DOT Order 5301.1, ‘‘Department of                        enhanced crashworthiness features and                 million.58
                                           Transportation Policies, Programs, and                   additional operational controls with no                  Federal agencies may adopt their own
                                           Procedures Affecting American Indians,                   anticipated reduction in safety. This                 size standards for small entities in
                                           Alaska Natives, and Tribes.’’ The                        final rule creates options for                        consultation with SBA and in
                                           Department assessed the impact of the                    transporting LNG, which otherwise                     conjunction with public comment.
                                           rulemaking on Indian tribal                              would be limited to trucks, or maritime               Under that authority, FRA has
                                           governments and determined that it                       transportation modes; or, alternately, re-            published a final statement of agency
                                           would not significantly or uniquely                      gasification and movement by pipeline                 policy that formally establishes ‘‘small
                                           affect Tribal communities or Indian                      in a gas state. This rule enables
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                                           tribal governments because it neither                    movement by rail, thereby giving                         58 U. S. Small Business Administration, ‘‘Table of

                                           sets national requirements for                           shippers an alternate mode that may                   Small Business Size Standards Matched to North
                                           transporting LNG via rail, nor imposes                   offer cost or other advantages over                   American Industry Classification System Codes,
                                                                                                                                                          August 19, 2019. https://www.sba.gov/sites/default/
                                           substantial compliance costs on Indian                   existing permitted modes to ship LNG.                 files/2019-08/
                                           tribal governments, nor mandates Tribal                  It lifts the blanket prohibition on                   SBA%20Table%20of%20Size%20Standards_
                                           action.                                                  movement of LNG by rail tank cars.                    Effective%20Aug%2019,%202019.pdf.



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                                           entities’’ or ‘‘small businesses’’ as                    Operations, 325110 Petrochemical                         PHMSA is revising 49 CFR 172.820 to
                                           railroads, contractors, and hazardous                    Manufacturing, 325199 All Other Basic                 require any rail carrier transporting a
                                           materials shippers that meet the revenue                 Organic Chemical Manufacturing, and                   tank car quantity of UN1972 (Methane,
                                           requirements of a Class III railroad as set              486210 Pipeline Transportation of                     refrigerated liquid (cryogenic liquid) or
                                           forth in 49 CFR 1201.1–1, which is $20                   Natural Gas. PHMSA’s queries                          Natural gas, refrigerated liquid
                                           million or less in inflation-adjusted                    identified a total of nine small entities:            (cryogenic liquid)) to comply with the
                                           annual revenues,59 and commuter                          six under 213112 Support Activities for               additional safety and security planning
                                           railroads or small governmental                          Oil and Gas Operations and three under                requirements for transportation by rail.
                                           jurisdictions that serve populations of                  486210 Pipeline Transportation of                     PHMSA estimates that this rule does not
                                           50,000 or less. See 68 FR 24891 (May 9,                  Natural Gas.                                          impose a significant information
                                           2003) (codified at 49 CFR part 209,                         PHMSA also conducted a similar but                 collection and recordkeeping burdens
                                           appendix C). PHMSA is using this                         broader query of companies that may                   on small entities. Please refer to Section
                                           definition for the rule.                                 potentially ship LNG by rail using                    VI.G., ‘‘Paperwork Reduction Act,’’ of
                                              The final rule would be applicable to                 PHMSA’s PDM system in conjunction                     the preamble for additional information
                                           all railroads, although not all                          with the Dun and Bradstreet data. The                 about the potential burdens associated
                                           requirements would be relevant to all                    query identified several potential                    with this requirement.
                                           railroads. Railroads operating on the                    subsets of SBA-size small entities;                      (6) a description of the steps the
                                           general system are required to use two-                  however, there is considerable                        agency has taken to minimize the
                                           way EOT regardless of type of load                       overlapping in definitions and variation              significant economic impact on small
                                           unless exempted under 49 CFR                             in operations among the codes to render               entities consistent with the stated
                                           232.407(e). Two-way EOT devices cost                     a specific number(s). One possibly                    objectives of applicable statutes,
                                           approximately $4,000. As stated in the                   relevant NAICS code for this rule is                  including a statement of the factual,
                                           Final RIA, most Class III railroads, due                 industrial gas manufacturing (NAICS                   policy, and legal reasons for selecting
                                           to their type of train operation, are not                32512). This industry is comprised of                 the alternative adopted in the final rule
                                           required to have two-way EOT devices,                    establishments primarily engaged in the               and why each one of the other
                                           except in certain situations. FRA                        manufacturing of organic and inorganic                significant alternatives to the rule
                                           regulations provide exceptions from the                  gasses in compressed, liquid or solid                 considered by the agency which affect
                                           requirement to use two-way EOT device                    forms. The industry has a 529 entities                the impact on small entities was
                                           in 49 CFR 232.407(e). For Class III                      earning a total of almost $10 billion in              rejected.
                                           railroads that would be required to                      annual sales in the U.S. (2018). The                     The Regulatory Flexibility Act directs
                                           install two-way EOT devises, the                         companies are comprised mainly of                     agencies to establish exceptions and
                                           monetary burden of the requirement to                    large well-established entities. A small              differing compliance standards for small
                                           purchase and install those devices is                    entity within that industry has an                    entities, where it is possible to do so
                                           less than 1% of the average annual                       annual revenue of $28.23 billion (2019).              and still meet the objectives of
                                           revenue of small railroad entities.                      The cost burden to shippers of this rule              applicable regulatory statutes. PHMSA
                                           Therefore, the impact of this                            consist of the purchase and installation              considered three regulatory alternatives
                                           requirement is also minimal.                             expense of remote monitoring devices                  (including a ‘‘no action’’ alternative)
                                              As further stated in the Final RIA,                   and of a thicker outer tank for DOT–113               when developing the NPRM. The
                                           there are two other types of entities that               Tank Car in LNG Service. As stated in                 alternatives (other than the ‘no action’
                                           are subject to the rule in addition to                   the Final RIA, the current estimated cost             alternative) were designed in
                                           railroad companies: shippers, and tank                   of remote monitoring devices is                       accordance with necessary safety,
                                           car manufacturers (to the extent of                      approximately $2,400-$4,000 per car                   engineering and operational
                                           design specifications). There are three                  depending upon the vendor plus                        specifications. These specifications, as
                                           main types of shippers: oil and gas                      additional costs for monitoring software.             such, do not provide leeway for
                                           companies, chemical companies and oil                    The estimated cost of the requirement to              variation of design or degrees of
                                           and fuel logistics companies. PHMSA                      install 9/16-inch outer shell on all DOT–             stringency. The chemical characteristics
                                           estimated the number of small entities                   113 tank cars in LNG service is an                    of LNG combined with the potential to
                                           that could potentially be impacted by                    additional $15,000 to $20,000 for the                 be transported in blocks of 20 or more
                                           this rule using its own registration data                additional and higher-quality steel, plus             tank cars or unit trains require specific
                                           and the Dun and Bradstreet data.                         $3,000-$5,000 for additional                          packaging (i.e. tank car) which costs
                                              PHMSA first queried pipeline-related                  construction expenses. The base cost of               approximately $750,000 per tank car
                                           entities. The SBA definition of a small                  an existing 7/16-inch outer tank DOT–                 according to PHMSA and FRA
                                           entity for those business categories is set              113 is approximately $725,000. PHMSA                  estimates. The operational control
                                           at 1,000 employees or, in the case of                    concludes that the impact of this rule is             specifications, as mentioned above, do
                                           annual revenue thresholds, is set at                     less than 1% of average annual revenue                not impose a significant monetary
                                           $27.5 million. PHMSA applied the                         for these entities.                                   burden on small entities.
                                           following NAICS codes for this analysis:                    Therefore, PHMSA concludes that                       Other entities subject to this rule
                                           211130 Natural Gas Extraction, 213111                    this rule does not impose a significant               include rail tank car manufacturers.
                                           Drilling Oil and Gas Wells, 213112                       burden on small entities in this                      Although PHMSA does not regulate
                                           Support Activities for Oil and Gas                       category.                                             these entities, it does regulate the design
                                             59 The Class III railroad revenue threshold is
                                                                                                       (5) a description of the projected                 specifications of rail tank cars. PHMSA
                                           $39,194,876 or less, for 2018. (The Class II railroad
                                                                                                    reporting, recordkeeping and other                    estimates there are approximately seven
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                                           threshold is between $39,194,876 and                     compliance requirements of the rule,                  rail tank car manufacturers in the U.S.,
                                           $489,935,956; and the Class I railroad threshold is      including an estimate of the classes of               none of which are considered small
                                           $489,935,956 or more.) See Surface Transportation        small entities which will be subject to               entities. The impact of the rule, in this
                                           Board (STB), available at https://www.stb.gov/
                                           econdata.nsf/
                                                                                                    the requirement and the type of                       case, is potentially positive, since it will
                                           d03c0c2161a050278525720a0044a825/                        professional skills necessary for                     generate new purchase order
                                           1acf737531cf98ce8525841e0055e02e.                        preparation of the report or record.                  opportunities for those entities.


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                                           G. Paperwork Reduction Act                               local, and Tribal governments, and the                      alternative that achieves the objective of
                                              Section 1320.8(d), Title 5, Code of                   private sector.60 For any NPRM or final                     the rulemaking.
                                           Federal Regulations requires that                        rule that includes a Federal mandate
                                                                                                                                                                J. Environmental Assessment
                                           PHMSA provide interested members of                      that may result in the expenditure by
                                                                                                    State, local, and Tribal governments, in                       The National Environmental Policy
                                           the public and affected agencies an                                                                                  Act of 1969 (NEPA), 42 U.S.C. 4321 et
                                           opportunity to comment on information                    the aggregate of $100 million or more (or
                                                                                                    $169 million adjusted for inflation) in                     seq., requires Federal agencies to
                                           collection and recordkeeping requests.                                                                               consider the consequences of major
                                           As detailed in Section V.C.                              any given year, the agency must
                                                                                                    prepare, amongst other things, a written                    Federal actions and prepare a detailed
                                           ‘‘Section172.820’’, PHMSA is requiring                                                                               statement on actions significantly
                                           any rail carrier transporting a tank car                 statement that qualitatively and
                                                                                                    quantitatively assesses the costs and                       affecting the quality of the human
                                           quantity of UN1972 (Methane,                                                                                         environment. The Council on
                                           refrigerated liquid (cryogenic liquid) or                benefits of the Federal mandate.61 A
                                                                                                    Federal mandate is defined, in part, as                     Environmental Quality (CEQ)
                                           Natural gas, refrigerated liquid                                                                                     implementing regulations (40 CFR part
                                           (cryogenic liquid)) to comply with the                   a regulation that imposes an enforceable
                                                                                                    duty upon State, local, or Tribal                           1500–1508) require Federal agencies to
                                           additional safety and security planning                                                                              conduct an environmental review
                                           requirements for transportation by rail.                 governments or would reduce or
                                                                                                    eliminate the amount of authorization of                    considering (1) the need for the action,
                                           PHMSA currently accounts for burden                                                                                  (2) alternatives to the action, (3)
                                           associated with safety and security                      appropriation for Federal financial
                                                                                                    assistance that would be provided to                        probable environmental impacts of the
                                           planning requirements in OMB Control                                                                                 action and alternatives, and (4) the
                                           Number 2137–0612, ‘‘Hazardous                            State, local, or Tribal governments for
                                                                                                    the purpose of complying with a                             agencies and persons consulted during
                                           Materials Security Plans.’’ PHMSA                                                                                    the consideration process (see 40 CFR
                                           estimates that this revision will lead to                previous Federal mandate.62
                                                                                                       The NPRM concluded that the                              1508.9(b)). DOT Order 5610.1C,
                                           the following increase in burden:                                                                                    ‘‘Procedures for Considering
                                              Annual Increase in Number of                          rulemaking does not impose unfunded
                                                                                                    mandates because it does not result in                      Environmental Impacts,’’ establishes
                                           Respondents: 0.                                                                                                      departmental procedures for evaluation
                                              Annual Increase in Number of                          costs of $169 million or more, adjusted
                                                                                                    for inflation, to either State, local, or                   of environmental impacts under NEPA
                                           Responses: 8.                                                                                                        and its implementing regulations.
                                              Annual Increase in Burden Hours:                      Tribal governments, in the aggregate, or
                                                                                                    to the private sector and is the least                         PHMSA has completed its NEPA
                                           677.                                                                                                                 analysis. Based on the environmental
                                              Annual Increase in Salary Costs:                      burdensome alternative that achieves
                                                                                                    the objective of the rulemaking.                            assessment, PHMSA determined that an
                                           $41,170.                                                                                                             environmental impact statement is not
                                              Under the Paperwork Reduction Act                        In response to the NPRM, Theresa
                                                                                                                                                                required for this rulemaking because it
                                           of 1995 (Pub. L. 96–511), no person is                   Pugh Consulting, LLC argued that the
                                                                                                                                                                does not constitute an action meeting
                                           required to respond to an information                    UMRA requires that PHMSA analyze
                                                                                                                                                                the criteria that normally requires the
                                           collection unless it has been approved                   the costs that State, local, or Tribal
                                                                                                                                                                preparation of an environmental impact
                                           by OMB and displays a valid OMB                          governments might incur as a result of
                                                                                                                                                                statement. As explained in the final EA,
                                           control number. As this revision was                     responding to potential emergencies
                                                                                                                                                                PHMSA has found that the selected
                                           not proposed in the NPRM, PHMSA will                     caused by the transportation of LNG in
                                                                                                                                                                action will not have a significant impact
                                           publish a separate 60-day and 30-day                     rail tank cars.
                                                                                                                                                                on the human environment in
                                           notice to provide an opportunity for                        The final rule, as revised based on                      accordance with Section 102(2) of
                                           public comment on the proposed                           comments received, does not include a                       NEPA.
                                           estimated increase in burden.                            Federal mandate that may result in an                          PHMSA issued and solicited
                                              Requests for a copy of this                           aggregate expenditure by State, local,                      comments on a draft EA posted to the
                                           information collection should be                         and Tribal governments of $169 million                      docket along with the NPRM. The final
                                           directed to Steven Andrews or Shelby                     or more. Additionally, the final rule                       EA and Finding of No Significant
                                           Geller, Office of Hazardous Materials                    does not impose a requirement on State,                     Impact has been placed into the docket
                                           Standards, Pipeline and Hazardous                        local, or Tribal governments, much less                     addressing the comments received.
                                           Materials Safety Administration, 1200                    a requirement that the DOT can enforce.
                                           New Jersey Avenue SE, Washington, DC                     In the event State, local, or Tribal                        K. Privacy Act
                                           20590–0001, Telephone (202) 366–8553.                    governments need additional resources                         In accordance with 5 U.S.C. 553(c),
                                                                                                    to plan for a potential LNG-related                         DOT solicits comments from the public
                                           H. Regulation Identifier Number (RIN)                    accident, they may request grants from                      to better inform its rulemaking process.
                                              A regulation identifier number (RIN)                  PHMSA’s Hazardous Materials                                 DOT posts these comments, without
                                           is assigned to each regulatory action                    Emergency Preparedness funds,                               edit, including any personal information
                                           listed in the Unified Agenda of Federal                  established under 49 U.S.C. 5116(h), to                     the commenter provides, to http://
                                           Regulations. The Regulatory Information                  support development, improve, and                           www.regulations.gov, as described in
                                           Service Center publishes the Unified                     carry out emergency plans.                                  the system of records notice (DOT/ALL–
                                           Agenda in April and October of each                         In conclusion, this final rule does not                  14 FDMS), which can be reviewed at
                                           year. The RIN contained in the heading                   impose unfunded mandates under the                          http://www.dot.gov/privacy.
                                           of this document can be used to cross-                   UMRA of 1995. It does not result in
                                           reference this action with the Unified                   costs of $169 million or more to either                     L. Executive Order 13609 and
                                           Agenda.                                                  State, local, or Tribal governments, in                     International Trade Analysis
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                                                                                                    the aggregate, or to the private sector,                       Under Executive Order 13609
                                           I. Unfunded Mandates Reform Act                                                                                      (‘‘Promoting International Regulatory
                                                                                                    and it is the least burdensome
                                             Unfunded Mandate Reform Act of                                                                                     Cooperation’’), agencies must consider
                                           1995 (UMRA), 2 U.S.C. 1501 et seq.,                           60 2 U.S.C. 1531.                                      whether the impacts associated with
                                           requires agencies to assess the effects of                    61 Id. at 1532.                                        significant variations between domestic
                                           Federal regulatory actions on State,                          62 Id. at 658(5)(A), 1555.                             and international regulatory approaches


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                                           are unnecessary or may impair the                        M. Executive Order 13211                              49 CFR Part 173
                                           ability of American business to export
                                           and compete internationally. See 77 FR                      Executive Order 13211 (‘‘Actions                     Hazardous materials transportation,
                                           26413 (May 4, 2012). In meeting shared                   Concerning Regulations That                           Incorporation by reference, Packaging
                                           challenges involving health, safety,                     Significantly Affect Energy Supply,                   and containers, Radioactive materials,
                                           labor, security, environmental, and                      Distribution, or Use’’) [66 FR 28355;                 Reporting and recordkeeping
                                           other issues, international regulatory                   May 18, 2001] requires Federal agencies               requirements, Uranium.
                                           cooperation can identify approaches                      to prepare a Statement of Energy Effects
                                                                                                    for any ‘‘significant energy action.’’                49 CFR Part 174
                                           that are at least as protective as those
                                           that are or would be adopted in the                      Under the executive order, a                            Hazardous materials transportation,
                                           absence of such cooperation.                             ‘‘significant energy action’’ is defined as           Incorporation by reference, Radioactive
                                           International regulatory cooperation can                 any action by an agency (normally                     materials, Railroad safety.
                                           also reduce, eliminate, or prevent                       published in the Federal Register) that
                                           unnecessary differences in regulatory                    promulgates, or is expected to lead to                49 CFR Part 179
                                           requirements.                                            the promulgation of, a final rule or
                                                                                                    regulation (including a notice of                       Hazardous materials transportation,
                                              Similarly, the Trade Agreements Act                                                                         Railroad safety, Reporting and
                                           of 1979 (Pub. L. 96–39), as amended by                   inquiry, Advance NPRM, and NPRM)
                                                                                                    that (1)(i) is a significant regulatory               recordkeeping requirements.
                                           the Uruguay Round Agreements Act
                                           (Pub. L. 103–465), prohibits Federal                     action under Executive Order 12866 or                 49 CFR Part 180
                                           agencies from establishing any                           any successor order and (ii) is likely to
                                           standards or engaging in related                         have a significant adverse effect on the                Hazardous materials transportation,
                                           activities that create unnecessary                       supply, distribution, or use of energy                Incorporation by reference, Motor
                                           obstacles to the foreign commerce of the                 (including a shortfall in supply, price               carriers, Motor vehicle safety, Packaging
                                           United States. For purposes of these                     increases, and increased use of foreign               and containers, Railroad safety,
                                           requirements, Federal agencies may                       supplies); or (2) is designated by the                Reporting and recordkeeping
                                           participate in the establishment of                      Administrator of the Office of                        requirements.
                                           international standards, so long as the                  Information and Regulatory Affairs                      In consideration of the foregoing,
                                           standards have a legitimate domestic                     (OIRA) as a significant energy action.                PHMSA amends 49 CFR chapter I as
                                           objective, such as providing for safety,                    This final rule is a significant action            follows:
                                           and do not operate to exclude imports                    under E.O. 12866 because OIRA
                                           that meet this objective. The statute also               believes it raises novel, legal, and policy           PART 172—HAZARDOUS MATERIALS
                                           requires consideration of international                  issues arising out of legal mandates;                 TABLE, SPECIAL PROVISIONS,
                                           standards and, where appropriate, that                   however, it is expected to have an                    HAZARDOUS MATERIALS
                                           they be the basis for U.S. standards.                    annual effect on the economy of less                  COMMUNICATIONS, EMERGENCY
                                              PHMSA participates in the                             than $100 million. Further, this action               RESPONSE INFORMATION, TRAINING
                                           establishment of international standards                 is not likely to have a significant                   REQUIREMENTS, AND SECURITY
                                           to protect the safety of the American                    adverse effect on the supply,                         PLANS
                                           public. PHMSA has assessed the effects                   distribution or use of energy in the
                                           of the rulemaking to ensure that it does                 United States. The Administrator of                   ■ 1. The authority citation for part 172
                                           not cause unnecessary obstacles to                       OIRA has not designated the final rule                continues to read as follows:
                                           foreign trade. Insofar as the final rule                 as a significant energy action. For                     Authority: 49 U.S.C. 5101–5128, 44701; 49
                                           authorizes rail transportation of LNG to                 additional discussion of the anticipated              CFR 1.81, 1.96 and 1.97.
                                           domestic U.S. and other North                            economic impact of this rulemaking,
                                           American markets, it would promote                       please review the final RIA.                          ■ 2. In § 172.101, revise the table entry
                                           foreign trade. Further, the final rule’s                                                                       for ‘‘Methane, refrigerated liquid
                                           authorization of rail transportation of                  List of Subjects                                      (cryogenic liquid) or Natural gas,
                                           LNG aligns U.S. practice with Transport                  49 CFR Part 172                                       refrigerated liquid (cryogenic liquid),
                                           Canada regulations permitting rail                                                                             with high methane content)’’ (UN1972)
                                           transportation of LNG. Accordingly, this                    Education, Hazardous materials                     to read as follows:
                                           rulemaking is consistent with Executive                  transportation, Hazardous waste,
                                           Order 13609 and PHMSA’s obligations                      Incorporation by reference, Labeling,                 § 172.101 Purpose and use of the
                                           under the Trade Agreement Act, as                        Packaging and containers, Reporting                   hazardous materials table.
                                           amended.                                                 and recordkeeping requirements.                       *       *    *    *    *
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                                                                                                                    § 172.101—HAZARDOUS MATERIALS TABLE
                                                                                                                                                                                                     (8)                                        (9)                             (10)

                                                                     Hazardous materials                                                                                                        Packaging                       Quantity limitations (see               Vessel stowage
                                                                                                 Hazard                                                              Special
                                                                      descriptions and                            Identification                      Label                                     (§ 173.***)                     §§ 173.27 and 175.75)
                                                 Symbols                                         class or                                  PG                       provisions
                                                                       proper shipping                                No.                             codes
                                                                                                 division                                                          (§ 172.102)
                                                                           names                                                                                                                                                                          Cargo
                                                                                                                                                                                                                                Passenger                              Location          Other
                                                                                                                                                                                   Exceptions        Non-bulk         Bulk                                aircraft
                                                                                                                                                                                                                                aircraft/rail              only

                                                     (1)                       (2)                  (3)                 (4)                (5)         (6)               (7)             (8A)          (8B)           (8C)          (9A)                   (9B)          (10A)           (10B)


                                                                                *                           *                         *                            *                     *                            *                            *
                                                                     Methane, refrig-                     2.1   UN1972 ............       ........           2.1   T75, TP5,       None ........   None ........      318,      Forbidden         Forbidden          D ...............      40
                                                                      erated liquid (cryo-                                                                           440.                                              319
                                                                      genic liquid) or
                                                                      Natural gas, refrig-
                                                                      erated liquid (cryo-
                                                                      genic liquid), with
                                                                      high methane con-
                                                                      tent).

                                                                                 *                         *                          *                            *                        *                         *                               *




                                           ■ 3. In § 172.102, amend paragraph                                              (1) More than 2,268 kg (5,000 lbs.) in                                           based on paragraph (a)(5) of this section
                                           (c)(1) by adding special provision 440                                       a single carload of a Division 1.1, 1.2 or                                          that has yet to transport UN 1972, must
                                           under ‘‘Code/Special Provisions’’ to                                         1.3 explosive;                                                                      factor in planned shipments of UN 1972
                                           read as follows:                                                                (2) A quantity of a material poisonous                                           to the commodity data for use in the
                                                                                                                        by inhalation in a single bulk packaging;                                           paragraph (c) route analysis prior to
                                           § 172.102         Special provisions.
                                                                                                                           (3) A highway route-controlled                                                   initial transport of the material.
                                           *       *    *               *         *                                     quantity of a Class 7 (radioactive)                                                   (ii) [Reserved]
                                               (c) * * *                                                                material, as defined in § 173.403 of this
                                               (1) * * *                                                                                                                                                    *      *    *     *     *
                                                                                                                        subchapter;
                                           Code/Special Provisions                                                         (4) A high-hazard flammable train                                                PART 173—SHIPPERS—GENERAL
                                           *     *     *     *     *                                                    (HHFT) as defined in § 171.8 of this                                                REQUIREMENTS FOR SHIPMENTS
                                             440 When this material is transported                                      subchapter; or                                                                      AND PACKAGINGS
                                           by tank car, the offeror must ensure each                                       (5) A quantity of UN1972 (Methane,
                                           tank car is remotely monitored for                                           refrigerated liquid or Natural gas,                                                 ■ 5. The authority citation for part 173
                                           pressure and location. Additionally, the                                     refrigerated liquid) when transported in                                            continues to read as follows:
                                           offeror must notify the carrier if the tank                                  a rail tank car.                                                                      Authority: 49 U.S.C. 5101–5128, 44701; 49
                                           pressure rise exceeds 3 psig over any 24-                                       (b) * * *                                                                        CFR 1.81, 1.96 and 1.97.
                                           hour period.                                                                    (1) Commodity data must be collected
                                                                                                                        by route, a line segment or series of line                                          ■ 6. In § 173.319, revise paragraph (d)(2)
                                           *     *     *     *     *
                                                                                                                        segments as aggregated by the rail                                                  to read as follows:
                                           ■ 4. In § 172.820, revise paragraphs (a)
                                                                                                                        carrier. Within the rail carrier selected
                                           and (b)(1) to read as follows:                                                                                                                                   § 173.319             Cryogenic liquids in tank cars.
                                                                                                                        route, the commodity data must identify
                                           § 172.820 Additional planning                                                the geographic location of the route and                                            *     *    *     *    *
                                           requirements for transportation by rail.                                     the total number of shipments by UN                                                   (d) * * *
                                              (a) General. Each rail carrier                                            identification number for the materials                                               (2) Ethylene, hydrogen (minimum 95
                                           transporting in commerce one or more                                         specified in paragraph (a) of this                                                  percent parahydrogen), and methane,
                                           of the following materials is subject to                                     section.                                                                            cryogenic liquids must be loaded and
                                           the additional safety and security                                              (i) A rail carrier subject to additional                                         shipped in accordance with the
                                           planning requirements of this section:                                       planning requirements of this section                                               following table:

                                                                     TABLE 1 TO § 173.319(D)—PRESSURE CONTROL VALVE SETTING OR RELIEF VALVE SETTING
                                                                                                                                                                               Maximum permitted filling density
                                               Maximum start-to-discharge pressure                                                                                                  (percent by weight)
                                                             (psig)
                                                                                                                              Ethylene                             Ethylene                     Ethylene                            Hydrogen                                Methane

                                           17 ...............................................................     ..................................         .........................    .........................       6.60
                                           45 ...............................................................     52.8 ..........................            .........................    .........................       ....................................
                                           75 ...............................................................     ..................................         51.1 .................       51.1 .................          ....................................        37.3.
                                           Maximum pressure when offered for trans-                               10 psig .....................              20 psig ............         20 psig ............            ....................................        15 psig.
                                             portation.
                                           Design service temperature .......................                     Minus 260 °F ...........                   Minus 260 °F ..              Minus 155 °F ..                 Minus 423 °F .............                  Minus 260 °F.
                                           Specification (see § 180.507(b)(3) of this                             113D60W, 113C60W                           113C120W ......              113D120W ......                 113A175W, 113A60W                           113C120W9.
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                                             subchapter).
                                               Note: For DOT 113 cryogenic tank cars, delimiters indicate the following:
                                               A—authorized for minus 423 °F loading;
                                               C—authorized for minus 260 °F loading;
                                               D—authorized for minus 155 °F loading.
                                               The specification suffix ‘‘9’’ indicates the tank car is equipped with (minimum) 9/16 inch TC 128B normalized steel outer jacket and tank heads.



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                                           *      *      *        *       *                             (2) For DOT–113C120W9 tank cars,                            as stiffening rings located 1⁄3 of the head
                                                                                                      the outer jacket shell and outer jacket                       depth from the head tangent line.)
                                           PART 174—CARRIAGE BY RAIL                                  heads must be made of AAR TC–128,                     *        *      *      *     *
                                                                                                      Grade B normalized steel plate as                     ■ 12. Add § 179.400–26 to read as
                                           ■ 7. The authority citation for part 174
                                                                                                      specified in § 179.100–7(a).                          follows:
                                           continues to read as follows:
                                                                                                      *     *     *      *    *
                                             Authority: 49 U.S.C. 5101–5128; 33 U.S.C.                                                                      § 179.400–26 Approval to operate at
                                           1321; 49 CFR 1.81 and 1.97.                                ■ 11. In § 179.400–8, revise paragraph
                                                                                                                                                            286,000 gross rail load (GRL).
                                                                                                      (d) to read as follows:
                                           ■ 8. In § 174.200, add paragraph (d) to                                                                            A tank car may be loaded to a gross
                                           read as follows:                                           § 179.400–8      Thickness of plates.                 weight on rail of up to 286,000 pounds
                                           § 174.200   Special handling requirements.                 *      *    *     *     *                             (129,727 kg) upon approval by the
                                                                                                         (d)(1) The minimum wall thickness,                 Associate Administrator for Safety,
                                           *      *     *    *      *
                                              (d) For a single train of 20 or more                    after forming, of the outer jacket shell              Federal Railroad Administration (FRA).
                                           loaded tank cars of Methane,                               may not be less than 7⁄16 inch. The                   See § 179.13.
                                           refrigerated liquid in a continuous block                  minimum wall thickness, after forming,
                                                                                                      of the outer jacket heads may not be less             PART 180—CONTINUING
                                           or a single train carrying 35 or more                                                                            QUALIFICATION AND MAINTENANCE
                                           loaded tank cars of Methane,                               than 1⁄2 inch and they must be made
                                                                                                      from steel specified in § 179.16(c).                  OF PACKAGINGS
                                           refrigerated liquid throughout the train
                                           consist, each carrier must ensure the                         (2) For DOT 113C120W9 tank cars,
                                                                                                      the minimum wall thickness of the                     ■ 13. The authority citation for part 180
                                           train is equipped and operated with                                                                              continues to read as follows:
                                           either a two-way end-of-train (EOT)                        outer jacket shell and the outer jacket
                                           device, as defined in 49 CFR 232.5, or                     heads must be no less than 9⁄16 inch                    Authority: 49 U.S.C. 5101–5128; 49 CFR
                                           a distributed power (DP) system, as                        after forming, and must be made of AAR                1.81 and 1.97.
                                           defined in 49 CFR 229.5.                                   TC–128, Grade B normalized steel plate.
                                                                                                                                                            ■ 14. In § 180.515, add paragraph (d) to
                                                                                                         (3) The annular space is to be
                                                                                                                                                            read as follows:
                                           PART 179—SPECIFICATIONS FOR                                evacuated, and the cylindrical portion
                                           TANK CARS                                                  of the outer jacket between heads, or                 § 180.515      Markings.
                                                                                                      between stiffening rings if used, must be             *     *     *     *    *
                                           ■ 9. The authority citation for part 179                   designed to withstand an external
                                           continues to read as follows:                                                                                      (d) The specification marking for DOT
                                                                                                      pressure of 37.5 psig (critical collapsing            113 tank cars built in accordance with
                                             Authority: 49 U.S.C. 5101–5128; 49 CFR                   pressure), as determined by the                       the DOT 113C120W9 specification must
                                           1.81 and 1.97.                                             following formula:                                    display the last numeral of the
                                           ■ 10. In § 179.400–5, revise paragraph                     Pc = [2.6E(t/D)2.5]/[(L/D) ¥ 0.45(t/D)0.5]            specification number (i.e., ‘‘DOT
                                           (b) to read as follows:                                    Where:                                                113C120W9’’).
                                           § 179.400–5       Materials.                               Pc = Critical collapsing pressure (37.5 psig            Issued in Washington, DC, on June 19,
                                                                                                           minimum) in psig;                                2020, under authority delegated in 49 CFR
                                           *     *     *     *    *
                                                                                                      E = modulus of elasticity of jacket material,         1.97.
                                             (b)(1) Any steel casting, steel forging,
                                                                                                           in psi;                                          Howard R. Elliott,
                                           steel structural shape or carbon steel                     t = minimum thickness of jacket material,
                                           plate used to fabricate the outer jacket                                                                         Administrator, Pipeline and Hazardous
                                                                                                           after forming, in inches;
                                           or heads must be as specified in AAR                                                                             Materials Safety Administration.
                                                                                                      D = outside diameter of jacket, in inches;
                                           Specifications for Tank Cars, appendix                     L = distance between stiffening ring centers          [FR Doc. 2020–13604 Filed 7–23–20; 8:45 am]
                                           M.                                                              in inches. (The heads may be considered          BILLING CODE 4910–60–P
jbell on DSKJLSW7X2PROD with RULES3




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